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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                      –Southern Division–



 CONSTANCE COLLINS, et al.,
                                                             Case No. 1:20-cv-01225
 Plaintiffs,

 –v–

 TRI-STATE ZOOLOGICAL PARK OF
 WESTERN MARYLAND, INC., et al.,

 Defendants.


                          EXPERT REPORT OF JASON PRATTE

Background

I submit the following statement and supporting information in regard to the physiological and
psychological welfare of the animals that are or have been exhibited at Tri‐State Zoological Park
of Western Maryland (“Tri‐State”).

A copy of my curriculum vitae is attached as Appendix I. My report is based on nearly 30 years
of experience with animal behavior and welfare, and on my education in animal care and behavior.
I am an animal training, behavior, and welfare consultant for the Association of Zoos and
Aquariums (AZA), Bear Care Group (BCG), the U.S. Department of Agriculture (USDA), the
Global Federation of Animal Sanctuaries (GFAS), and various other animal protection non‐profit
organizations. I received a Bachelor of Science degree in zoology and behavioral psychology from
the University of Alberta and a Masters of Interdisciplinary Studies in zoo and aquarium leadership
from George Mason University.

I have 30 years of experience training both domestic and exotic species. My personal experience
has included every member of the big cat and bear families, canids, small mammals, non-human
primates, hoofstock, birds and reptiles/amphibians. This includes, but is not limited to, daily
husbandry and management, public demonstrations, and advanced medical training.

More specifically, my work has included direct husbandry not limited to cleaning, feeding,
training, enriching, maintaining enclosures/housing, managing breeding programs, and providing
appropriate medical care. I teach industry standard care procedures to new staff and when
consulting with other facilities.



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I am also responsible for implementing the program of veterinary care at an AZA‐accredited
facility and for merging behavioral husbandry with veterinary assessments, treatment plans, and
programs. I have been trained by AZA and American Association of Zoo Veterinarians (AAZV)
specialists in several veterinary techniques, including but not limited to: assessing animals’
medical conditions; medical treatment; intramuscular and subcutaneous injections; claw
maintenance; dental maintenance; palpation; phlebotomy; body condition scoring; injury
maintenance/recovery; anesthesia; and euthanasia. I am responsible for the management of
veterinary staff and regularly evaluate and assess animals to detect any health changes and to
determine when to alert veterinarians and veterinary specialists.

In addition, for more than two decades I have worked with organizations across North America on
improving animal welfare, including private sanctuaries, rehabilitation agencies, traveling
circuses, government institutions, and both accredited and non‐accredited zoos. I teach
comprehensive behavior and welfare assessment techniques both at facilities that have requested
assistance and in online course practicums, and strive to develop a better understanding of
behavior‐based care for animals with their keepers and caregivers. This entails analyzing the
environment that the animals live in, assessing their current (and past) physical, psychological,
and medical condition(s) and then observing behavioral patterns. This information is then
combined into a comprehensive plan to improve the responsiveness to the animals’ needs and
provide improved care for each individual. I have spent time in China, Kenya, Romania, and
Vietnam working directly with animal caregivers from these and surrounding regions to assess
very specific needs for animals in captive situations. I work regularly with international rescue and
welfare agencies Animals Asia and Wildlife SOS on consulting with regard to improving behavior‐
based husbandry practices, particularly in reference to animals they have rescued from illegal
trafficking or other human activities.

Training, behavior, and animal welfare are all inextricably linked to an animal’s overall well‐
being. Much of my experience with behavioral management is rooted in understanding natural
behaviors for animals and how captive facilities can better manage the housing and exhibition of
animals to meet their genetic behavioral predispositions. Failing to meet animals’ needs in captive
environments results in physiological, medical, and behavioral issues. Assessing behavior and
welfare and subsequently advising on best approaches to animal care are an intrinsic part of this
skill set.

I have published numerous papers on animal care, welfare, behavior, and training; a reference list
is included in Appendix I. I am an adjunct professor at the University of Nebraska at Omaha,
where for the past decade I have taught courses and labs in Animal Behavior, as well as the Special
Topics course of my own design, “Animal Welfare and Human Influence.” I have also recently
been accepted as an adjunct professor with Utica College in Utica, New York, where I am working
with the Department of Arts & Sciences to develop an Animal Behavior course and lab. I regularly
attend and host workshops, symposia, and conferences dedicated to improving animal care and
welfare. The papers, presentations, and workshops I have presented are also included in Appendix
I.




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Information Relied Upon

The opinions presented here are based, in part, upon direct observations made during site
inspections of Tri‐State, conducted on March 3, 2018 and on July 19, 2021. The 2018 site
inspection team was comprised of myself, Dr. Kim Haddad, Brittany Peet, Conor O’Croinin, and
the videographer Nic Lockerman. The site inspection lasted approximately 3.5 hours, during which
time I observed the environment at Tri-State and the animals’ behaviors, physical appearance, and
movement. The 2021 site inspection team was comprised of myself, Dr. Haddad, Dr. Laura
Boehler, Brittany Peet, two photographers/videographers, and counsel for Plaintiffs, Adam
Abelson and Zeynep Graves. The 2021 site inspection lasted approximately four hours, during
which time I observed the environment at Tri‐State and the animals’ behaviors, physical
appearance, and movement.

In addition, my opinions are based upon:
    1. USDA inspection reports for Tri‐State;
    2. Defendants’ responses to PETA’s requests for documents;
    3. Defendants’ responses to PETA’s interrogatories;
    4. Deposition transcripts of the Defendants, Defendants’ veterinarians, and Defendants’
        volunteers;
    5. Dr. Gale Duncan’s responses to PETA’s subpoena to produce documents regarding the
        animals at Tri-State (MVS00001–MVS00520);
    6. Dr. Keith Gold’s responses to PETA’s subpoena to produce documents regarding the
        animals at Tri-State (CAH00001–CAH00192);
    7. North Branch Animal Hospital’s response to PETA’s subpoena to produce documents
        regarding the animals at Tri-State (NBA00001–NBA00030);
    8. Space Farms’ response to PETA’s subpoena to produce documents regarding animals
        transferred from Tri-State (SPACE00001–SPACE00016);
    9. Dr. John Timothy Fox’s responses to PETA’s subpoena to produce documents regarding
        the animals at Tri‐State (Fox 000001–Fox 000082);
    10. Declarations of Chris Fontes (ESA-PETA0001152) and Colin Henstock (ESA-
        PETA0001159); and
    11. Photographs and videos of the animals at Tri‐State, which were taken on December 11,
        2014; December 12, 2014; January 28, 2015; March 4, 2015; September 11, 2016; July 22,
        2017; March 3, 2018 (ESA-PETA 0001265‐PETA0001993); and July 19, 2021
        (PETA011537– PETA012105).


In addition, my statements are based, in part, upon the relevant, peer‐reviewed materials that are
deemed reliable and authoritative sources by experts in the fields of captive wildlife care and
animal behavior, and are listed in Appendix II.

Throughout this report, I have included references to AZA standards, which set a baseline for
zoological animal care, as well as Animal Welfare Act (AWA) standards, which are the minimum
standards that animal exhibitors must meet. Similarly, Global Federation of Animal Sanctuaries
(GFAS) standards are applicable and well-recognized industry standards amongst reputable
sanctuaries. The Dangerous Wild Animals Act is a law in the United Kingdom that is referenced

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to illustrate the international scope in recognition of acceptable minimum standards. The
references are included to illustrate that the Defendants are not meeting federal and industry
benchmarks for acceptable animal care. This report will detail how this failure to provide adequate
care results in poor welfare of the animals, and prevents them from engaging in natural behaviors;
substandard living environments, poor quality of surroundings (temperatures, water quality,
ventilation), and lack of knowledge of species’ natural histories contribute to diminished health
and psychological distress.

Citations to published materials and other sources throughout this report are not intended as the
sole support for the conclusions and opinions stated below, but are intended to supplement and
provide additional support for such conclusions and opinions.

Scope of Opinions

I have been retained by counsel for Plaintiffs Constance Collins and People for the Ethical
Treatment of Animals, Inc. (collectively, “Plaintiffs”), to opine on the following issues:

1. Whether, in my opinion as an expert in captive animal behavior and husbandry, the animals at
Tri‐State are, and have been, provided with adequate enrichment, appropriate social grouping,
appropriate caging and housing, a safe and sanitary environment, and appropriate nutrition.

2. The likelihood of unnecessary pain, suffering, injury or death to the animals at Tri‐State as a
result of husbandry practices that do not meet industry standards.

3. Whether the Defendants maintain the animals at issue in accordance with generally accepted
animal husbandry practices.

I have testified as an expert in a hearing on a motion for preliminary injunction in People for the
Ethical Treatment of Animals, Inc. v. Wildlife in Need and Wildlife in Deed, Inc., Case No. 4:17‐
cv‐186 (S.D. Ind. Jan. 24, 2018). I have also testified at a bench trial in People for the Ethical
Treatment of Animals, Inc. v. Tri-State Zoological Park of Western Maryland, Inc., 424 F. Supp.
3d 404 (D. Md. 2019). I am being compensated at a rate of $150.00 per hour, up to a maximum of
$1800.00 per day.

Methodology

To assess the welfare of captive animals, experts in the field of animal welfare observe various
elements of the housing environment, management policies and practices, relevant records of
management and care, and the appearance and behavior of the animals. During any assessment,
including my assessment of the animals at Tri-State, I observe the environment, observe the
animal(s)’ behavior, monitor records, and ask questions of owners/managers/caregivers. I compare
animal behavior and husbandry parameters to daily logs and veterinary records. I carefully
scrutinize the environment for behavioral or environmental clues that are not immediately obvious
upon cursory inspection. I compare the information gathered to industry protocols, such as AZA
Husbandry Manuals, the AWA, and welfare assessment tools utilized by accredited institutions. I
also rely on models and assessment factors from recognized international welfare philosophies

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including: Five Provisions and aligned Five Animal Welfare Aims, Five Domains Model, and Five
Freedoms.

   •   The Five Provisions include the following items, with their associated Animal Welfare
       Aims referenced parenthetically: (1) good nutrition (i.e., to provide ready access to fresh
       water and a diet to maintain full health and vigor) (Aim: Minimize thirst and hunger and
       enable eating to be a pleasurable experience); (2) good environment (i.e., to provide
       shade/shelter or suitable housing, good air quality, and comfortable resting areas) (Aim:
       Minimize discomfort and exposure and promote thermal, physical, and other comforts);
       (3) good health (i.e., to prevent or rapidly diagnose and treat disease and injury, and foster
       good muscle tone, posture, and cardiorespiratory function) (Aim: Minimize breathlessness,
       nausea, pain and other aversive experiences and promote the pleasures of robustness, vigor,
       strength, and well‐coordinated physical activity); (4) appropriate behavior (i.e., to provide
       sufficient space, proper facilities, congenial company, and appropriately varied conditions)
       (Aim: Minimize threats and unpleasant restrictions on behavior and promote engagement
       in rewarding activities); and (5) positive mental experiences (i.e., to provide safe, congenial
       and species‐appropriate opportunities to have pleasurable experiences) (Aim: Promote
       various forms of comfort, pleasure, interest, confidence, and a sense of control). (Mellor
       2016)
   •   The Five Domains model of animal welfare, which is used by the global zoo community,
       looks to four functional domain categories, including nutrition, environment, health, and
       behavior, and examines that they may either positively or negatively affect the animals’
       mental state (the fifth domain), which in turn impacts on its welfare. (Mellor, Hunt et al.
       2015)
   •   The Five Freedoms model of animal welfare similarly looks at (1) the freedom from
       hunger, thirst, and malnutrition (i.e., by providing ready access to fresh water and a diet to
       maintain full health and vigor); (2) the freedom from discomfort (i.e., by providing an
       appropriate environment including shelter and a comfortable resting area); (3) freedom
       from pain, injury, and disease (i.e., by prevention or rapid diagnosis and treatment); (4) the
       freedom to express natural behavior (i.e., by providing sufficient space, proper facilities,
       and company of the animal’s own kind); and (5) the freedom from fear and distress (i.e.,
       by ensuring conditions and treatment which avoid mental suffering).

These methods of assessing welfare of captive animals are generally accepted by experts in the
field of captive animal care. They are understood in this field to be a reliable method for assessing
the adequacy of a facility and the welfare of the animals maintained there.

Under any of these methods, the welfare of the animals at Tri‐State is and has been deficient and,
indeed, is lacking with respect to every single criterion. There is evidence of neglect, suboptimal
husbandry and care, and severe psychological distress. Enclosures and buildings lack complexity,
are not designed to accommodate species-typical behaviors, while the animals are receiving poor
quality and insufficient nutrition to maintain proper health. The impact of suboptimal
environments and care manifests in observable abnormal repetitive behaviors in the animals, the
results of which are visibly present throughout the facility.




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Summary of Opinions

1.      Animals languish in barren environments that lack complexity and specificity towards
exhibiting Species-Typical Behaviors (STBs). Housing for the animals is universally inadequate,
does not meet recognized industry standards, and prevents appropriate expression of species‐
typical behaviors. Numerous safety hazards exist, creating constant risks of injury or death for the
animals. These conditions result in physiological and psychological injury and distress, and can be
fatal.

2.      The animals that the inspection team observed directly, as well as those observed in
recorded photographs and videos, are not experiencing appropriate, specialized husbandry and
veterinary care. There are no current Programs of Veterinary Care (PVCs) for the facility. This
does not meet federal or industry standards. Previous PVCs lacked appropriate knowledge
foundation and were inappropriate for each species. Medical issues are not addressed in a timely
manner, veterinary advice is disregarded, and animals have suffered needlessly as a result. No
appropriate precautions were taken to protect the animals in the facility from the COVID-19 virus
or its variants, not even for species recognized as particularly susceptible. A startlingly high
mortality rate exists for the facility.

3.      The animals at Tri‐State subsist in conditions that do not meet their cognitive or species‐
typical behavioral needs. Several examples exist of animals living in inappropriate social
situations, some for years, conditions which are intentionally maintained. Purported “enrichment”
programs are severely sup-optimal, exist only where dictated as necessary by the AWA, are not
properly monitored/improved, and lack species-specificity. These factors lead to psychological
distress and can result in permanent, irreparable physiological injury and death.

4.     Tri-State’s record-keeping methodologies, including the existing records themselves, do
not meet industry standards. Records regarding critical aspects of health and husbandry are not
kept, others are incomplete or conflicting, and overall do not allow an observer insight into
management practices. There are no current PVCs and examples of the previous PVCs submitted
are sub-optimal, do not meet industry standards, and adversely impact the health and welfare of
every animal on site.

5.      Visitors to the zoo, including volunteers, are exposed to numerous safety risks, including
(but not limited to) on-site physical hazards, risk of injury from animals, and risk of disease or
parasite transmission from (and to) animals. Visitors experience significant misinformation from
Defendants and volunteers, and leave Tri-State with a disproportionately skewed perception of
what appropriate standards of housing, husbandry and care of animals should be, resulting from
the substandard conditions and management.

6.      Overall conditions at Tri‐State do not meet recognized industry standards and have resulted
in injury and death to the animals. Examples of both unintentional and deliberate neglect and
cruelty are present, according to numerous examples of globally recognized industry standards.
These include, but are not limited to: barren exhibits and enclosures that lack complexity and
parameters specific to meeting species-typical needs; numerous hazards in environment, including

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maintenance have clearly been ignored for extensive periods of
time, evidenced by overflowing trash receptacles and general
appearances. This is the first impression for visitors to the
facility and these conditions are pervasive throughout the
grounds. Figures 1 through 4 are just a few examples of
pervasive clutter, neglect, and lack of attention to the
consequences of allowing such an environment to exist.1 These
initial, observable substandard visitor conditions are entirely
symptomatic of the state all of the animal exhibits exist in, Fig. 4: Damaged visitor access
indicative of the poor environments that the animals areas, safety risks. PETA010338
experience.                                                     (Jul. 19, 2021).

Animals are consistently housed in enclosures that do not
meet their species-specific needs. Some enclosures are too small for the species or number of
animals housed, virtually all are barren of any complexity in substrates or environmental
“furniture” for the animals to interact with, and suitable bedding/nesting materials are virtually
nonexistent. A few examples are presented below; these are symptomatic of prevalent issues, and
not the only incidents of occurrence:
      •   Indoor enclosures for the two (solitary) nonhuman
          primates are small, provide minimal space for engaging in
          Species-Typical Behaviors (STBs) if appropriate
          environmental complexity or enrichment were provided
          (see infra at Section 1.2), and when temperatures fall
          below 30 degrees Fahrenheit per year that the animals are
          locked in due to temperatures, lacking in appropriate
          environmental variables (lighting, heat, ventilation).

               o The capuchin, “Dodger,” has a narrow wooden
                 space to live in during the several months of the
                 year when temperatures do not permit outdoor
                 access.2 (Fig. 5.) Natural lighting is not available,
                 and environmental regulation of the building is
                                                                       Fig. 5: Capuchin indoor holding.
                 minimal at best. While adjacent spaces exist in
                                                                       PETA010695 (Jul. 19, 2021).
                 the building for holding animals, it was
1
    Discussed further in Sections 1.3 & 1.4, infra.
2
  According to Ms. Moon, Dodger has access to the outdoor portion of his enclosure year round. Deposition
of Ms. Rella Moon (“Moon Dep.”) 67:4-10, Aug. 10, 2021. However, Mr. Candy says he locks Dodger
indoors when temperatures fall below 30 degrees. 30(b)(6) Deposition of Robert Candy (“Candy 30(b)(6)
Dep.”) 188:19–189:9, Aug. 11, 2021. Industry standards are generally to secure primates indoors when
temperature fall below 45-50 degrees Fahrenheit; these parameters need to be adjusted based on weather
conditions, such as humidity, wind, or precipitation. Lack of appropriate temperature accommodations led
directly to Dodger suffering severe frostbite and having all digits surgically amputated. See Gold Dep., Jul.
22, 2021, Exh. 108 (medical records regarding Dodger’s frostbite and surgical amputation).

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                 indicated in both testimony by Rella Moon 3 and by Mr. Candy during the inspection
                 that other animals are brought inside for the winter, including coatimundis and a
                 skunk. It was not clear how much space is provided each animal, but the indoor
                 holding spaces are essentially dark closets with mesh doors.
                 Other issues, which are examples of problems
                 discussed in further sections, include dirty structures,
                 mesh, shelves and enrichment that have not been
                 properly cleaned or sanitized, inadequate lighting for
                 a diurnal primate, leaking and dirty water bottle,
                 inadequate/inappropriate enrichment for a primate,
                 and clear presence of a free-roaming cat (including a
                 litter box within the holding building) which can lead
                 to parasite and disease transmission. Little to no
                 appropriate ventilation exists in the building, and
                 especially not the individual enclosure(s). The
                 staff/volunteer service area is too small to maintain
                 safe distance from animal(s) to minimize risk of
                 potential COVID-19 transmission. The building is
                 poorly insulated (if at all) and the
                 ambient heating source, a wood Fig. 6 (above) & 7 (below): Squirrel monkey
                 burning stove described as a indoor holding. PETA010367, PETA011569
                 “fireplace,” tended every 3-4 (Jul. 19, 2021).
                 hours,      prevents      consistent
                 temperature/humidity maintenance. 4
             o The squirrel monkey “Spaz” has an
               indoor holding area comprised of two
               small, narrow spaces inside the Reptile
               building (Figs. 6 & 7). Spaz has natural
               lighting coming through the front
               window, but has no means of evading
               observation by people, whether visitors
               or volunteers, when in this space. His
               holding is fully fronted by plexiglass, preventing any sense of concealment for this
               animal. Spaz is also surrounded by natural predators. Squirrel monkeys are natural
               prey of several species of snakes, and primates have been documented to both learn
               and exhibit fear of snakes in infancy. 5 Spaz’ winter holding, where he would be


3
    Moon Dep. 90:15-25, Aug. 10, 2021.
4
    Moon Dep. 61:21–62:14, Aug. 10, 2021.
5
 Lee R. Wolin et al., Monkeys’ Fear of Snakes: A Study of its Basis and Generality, 103 J. GENETIC PSYCH.
207 (1963).

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                 required to spend several months of the year, forces him to live amongst several
                 different snakes, experiencing sight and sound of natural predators daily. This
                 would be a chronic source of psychological distress.
                 Other issues in these photos, which are examples of problems discussed in further
                 sections, include dirty structures, mesh, flooring, shelves and enrichment that have
                 not been properly cleaned or sanitized, inadequate lighting for a diurnal primate
                 during winter months with a reduced photoperiod (less available natural lighting
                 due to later sunrise and earlier sunset), presence of ants on food shelves and walls
                 of indoor enclosure, and inadequate/inappropriate enrichment for a primate. The
                 viewing area is small and places visitors and staff/volunteers well within 6’ of the
                 not only the squirrel monkey, but the kinkajou(s) that are housed in the building,
                 increasing risk of potential COVID-19 transmission. Visitors also have immediate
                 access to all of the reptiles and invertebrates, as no retention barriers exist. The
                 building is poorly insulated (if at all) and the ambient heating source is a wood
                 stove in the basement, tended every 3-4 hours,6 preventing consistent
                 temperature/humidity maintenance. Little to no appropriate ventilation exists in the
                 building, and especially not in the individual enclosure(s). There is also a space
                 where Spaz could come into contact with visitors or staff, increasing the risk of
                 zoonotic disease or parasite transmission significantly. It also provides
                 opportunities for Spaz to be directly offered inappropriate items by visitors. It is
                 not an industry standard to allow public contact with nonhuman primates.
      •   As illustrated in the descriptions above, the two indoor primate exhibits, upon visual
          inspection during both of my site visits, do not meet the minimum standards of care set
          forth by the United States Department of Agriculture (USDA) Animal Welfare Act
          (AWA).7 The substandard conditions contribute to very poor animal welfare (see Welfare
          and Management section, infra at Section 4) by increasing risk of pathogen transmission,
          inhibiting expression of species-typical behaviors (leading to psychological distress; see
          Psychological Well-being section, infra at Section 3), and have led directly to significant
          illness and injury (i.e., Dodger’s severe frostbite).




6
    Moon Dep. 63:8-25, Aug. 10, 2021.
7
  See, e.g., 9 C.F.R. § 3.75(c), (d) (regulatory requirements for nonhuman primate housing facilities
regarding water, power, and enclosure surfaces); id. § 3.76 (regulatory requirements for nonhuman primate
indoor housing facilities).

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              o Both outdoor primate exhibits were readily
                accessible by other animals, including pest
                species, native wildlife, and the innumerable
                free-ranging domestic cat population. Worn and
                splintered wood was visible, protruding and
                loose wires were in immediate proximity. I
                observed Dodger on a platform outside,
                reaching through and actually twisting and
                handling a broken wire that was part of his
                enclosure barrier (Fig. 8). Perching and other
                structures, including ropes, were filthy and in
                such a state that they could not be properly
                sanitized; surfaces and structures had clearly not
                been replaced. Sections of the enclosure
                                                               Fig. 8: Dodger twisting a loose broken
                roof were patched with either tarps or
                worn, clear plastic sheeting that was enclosure wire. PETA010174 (Jul. 19,
                weathered, torn, and clearly ineffective 2021).
                (Fig. 9). Animals could access the plastic,
                risking entanglement or ingestion. These are direct safety issues that can adversely
                impact animal welfare; ingestion of foreign materials can prove toxic to some
                species and result in illness or death, while entanglement can cause injury,
                significant psychological duress, or even prove fatal. 8

              o The outdoor “enclosure” for the various species of turtles and tortoises uses stacked
                cinder blocks as a barrier. 9 There is no evidence of any type of mortar or other
                means of maintaining integrity of the barrier to prevent it from being moved.10
                Visitors or larger animals sharing the area (like the goats or pigs) could dislodge
                one of the blocks. This could allow animals to
                escape; worse, this also constitutes a hazard, as a
                dislodged block could potentially injure or kill
                one of the small reptiles. It is the responsibility of
                caregivers to maintain an environment that is safe
                and free of hazards for the animals.

          o The snakes were housed in enclosures too small for
            their size. Accepted practice for reptile husbandry and
            welfare is that enclosures must permit animals
                                                                    Fig. 9: Torn plastic from roof
                                                                    structure. PETA010771 (Jul. 19,
                                                                    2021).


8
    See id. § 3.80(a) (regulatory requirements for nonhuman primate primary enclosure).
9
    See, e.g., PETA010145 (Jul. 19, 2021).
10
  Candy 30(b)(6) Dep. 209:5–11, Aug. 11, 2021 (testifying that the cinder blocks are not joined by cement
or mortar and that they are just “stacked.”).

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              the ability to stretch to a full rectilinear
              posture, meaning stretch out straight if it
              so chooses.11 None of the current exhibits
              permit the species within to do so. The
              animals are also prevented from engaging
              properly in STBs due to the inappropriate
              environments and furniture provided. A
              few examples include:
                                                             Fig. 10: Insufficient space/resources for two
              ▪   Many snake species are regularly animals. PETA011564 (Jul. 19, 2021).
                  observed and recorded fully
                  submerged in water sources, providing opportunities for thermoregulation and
                  aiding in shedding.12 Many of the water receptacles provided would not allow the
                  animal(s) to immerse or submerge themselves appropriately. (Fig. 10.)

              ▪   Most snake species will seek concealment.
                  Two ball pythons share a small tank, and
                  only one of the hides provided is of
                  adequate size for one animal to hide under.
                  There is also only one source of water
                  and/or light/basking location in the small
                  enclosure for two animals. (Fig. 10.) The
                  Woma python has one small structure that
                  it is unable to tuck its body under (Fig. 11);
                  this would be particularly distressing for
                  this nocturnal species, which is                  Fig. 11: Woma unable to conceal
                  documented as preferring concealment              itself. PETA011563 (Jul. 19, 2021).
                  throughout the day, while hunting its prey
                  in burrows.13




11
     Clifford Warwick et al., Spatial considerations for captive snakes, 30 J. VETERINARY BEHAV. 37 (2019).
12
  See, e.g., Standards for Non-testudine Reptile Sanctuaries, Global Federation of Animal Sanctuaries 5
(June 2013), https://www.sanctuaryfederation.org/wp-content/uploads/2017/09/Non-testudine-Reptile-
StandardsJune2013HA.pdf (“Water features, where species appropriate, are a minimum of 2 x the length
of the largest animal housed. . . . All animals must be able to submerge at the same time without touching
each other.”); Lauri Hess, How to Bathe Your Reptile, PET MD (Dec. 20, 2017), https://www.petmd.com/
reptile/care/how-bathe-your-reptile.
13
     Reptiles Magazine, https://www.reptilesmagazine.com/ (last accessed Sept. 7, 2021).

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          o Multiple animals and species have access to areas at all
            times, and visitors are able to freely access the animals and
            spaces with minimal monitoring by staff/volunteers.
            Insufficient resources exist for the number of animals with
            access to the area; for example, only one tiny, dirty
            pool/wallow exists in the yard housing numerous pigs,
            goats, sheep, tortoises, and a turkey. It was barely large
            enough for the one pig trying to cool down in the heat. 17
            Little to no bedding was visible in any of the outdoor
            spaces or the shelters. (Figs. 19-22, 24.) Nearly every
            feeding area, trough, bowl or receptacle in the “petting”
            area was empty. (Figs. 22, 23, 24.) While the heat Fig. 25: Broken plastic and
            during our inspection kept the yard(s) relatively dry, trash in yard. [PETA010107]
            during my previous visit there were several areas
            where standing water was present, indicating poor
            drainage throughout the facility. In winter conditions,
            the few visible (exposed) heat lamps would provide
            minimal protection from discomfort in inclement
            weather, and walls have large gaps between boards.
            Trash and broken pieces of plastic pipe were scattered
            throughout the animals’ areas. (Fig. 25.) The animals,
            regardless of species, are enduring substandard
            environments and husbandry. The conditions at Tri- Fig. 26: Plastic cover for
            State do not meet industry practices, let alone the Macaws on narrow wooden
            minimum standards outlined in the AWA. 18                    shelf. PETA011643 (Jul. 19,
          o Two macaws were housed in a corn-crib style cage. 2021).
            This exhibit was very clearly not set up for a pair of
            tropical birds. The top half of either a crate, or a cover
            for a small plastic house or cat litter box cover was haphazardly placed on a narrow
            wooden shelf (Fig. 26), which was splintering and deteriorating (Fig. 28). The “shelter”
            was wider than the ledge, allowing the birds even less space to remain concealed or




17
     See, e.g., PETA011200, PETA010923 (Jul. 19, 2021) (Isabell in and adjacent to mud wallow).
18
   See 9 C.F.R. § 3.125(a) (“The facility must be constructed of such material and of such strength as
appropriate for the animals involved. The indoor and outdoor housing facilities shall be structurally sound
and shall be maintained in good repair to protect the animals from injury and to contain the animals.”), id.
§ 3.127(b) (“Natural or artificial shelter appropriate to the local climatic conditions for the species
concerned shall be provided for all animals kept outdoors to afford them protection and to prevent
discomfort to such animals.”); id. § 3.129(a) (“The food shall be wholesome, palatable, and free from
contamination and of sufficient quantity and nutritive value to maintain all animals in good health.”).

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               (which was rusted and placed on old straw). No appropriate
               nest boxes or houses were apparent either inside or outside
               of the building/caging. The birds would be locked inside of
               this building throughout the colder months. No animal
               should be housed in such squalor, (Fig. 32) particularly not
               tropical birds that are genetically predisposed to living in
               forest canopies. The housing conditions for the macaws are
               inappropriate for the species, and are negatively affecting
               the animals’ welfare.
           o As a final example, Tri-State has repurposed a
             disintegrating asphalt basketball court into what Mr. Candy Fig. 30 PETA011646
             considers the (larger) alligators’ outside “exhibit.” During Jul. 19, 2021).
                                       the 2018 site inspection, this area
                                       had a small wooden shed as shelter for the emus that lived on
                                       the hot, inappropriate surface. (Fig. 33.) Now, a sprinkler is
                                       set to constantly soak the end of the court (or at least was
                                       doing so during our 2021 site visit) and provide the alligators,
                                       forced to live on the asphalt with no appropriate substrates,
                                       with some semblance of an “aquatic” environment. The
                                       asphalt is cracked and
                                       visibly deteriorating, with
                                       weeds springing up in
                                        many places. (Fig. 34.)
              Fig. 31 PETA010372
                                        The “pool” created where
              Jul. 19, 2021).
                                        the court has sunk lower
                                        on one end also creates a
             pool of standing water outside of the macaw
             building, which the team had to navigate and dodge
             to inspect the birds’ holding. The asphalt would
             become incredibly hot during the summer months,
             forcing the animals to remain in the shallow, fetid
             water accumulated in the low area. Short of
             constantly added more water to counteract
             evaporation and seepage into the cracks, there is no
             means of cleaning the area, monitoring or addressing Fig. 32 PETA011656 Jul. 19,
             water quality issues, or providing standard reptile 2021).
             husbandry. The “exhibit” is devoid of substrates,
             varying water depths, movement, aeration or temperature, and prevents the animals
             from engaging in appropriate STBs. (Fig. 34.)20 This area was clearly not built with the
             intention of housing animals. It should not be utilized as an exhibit for any species.

20
     See also, e.g., PETA011508 (Jul. 19, 2021) (alligators living on asphalt; stagnant pool).

                                                       18
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                                      The examples provided above are not an exhaustive list or
                                      description of the housing and environmental concerns at Tri-
                                      State. They are symptomatic of the conditions prevalent
                                      throughout the entire facility. Every single animal holding
                                      area is deficient in varying factors. In my professional
                                      opinion, not one animal exhibit or holding area at Tri-State is
                                      appropriate, nor meets industry standards. As just one
                                      representative example, Spaz the squirrel monkey has
                                      inadequate space, minimal complexity, no appropriate social
                                       structure, is housed near natural predators, is exposed to
  Fig. 33: Emus living on asphalt
                                       various pests, endures unsanitary surroundings, lacks
  court. ESA‐PETA0002352 (Mar. 3,
                                       appropriate ventilation, and is regularly exposed to zoonotic
  3018).
                                       diseases (including COVID-19) due to immediate proximity
                                       to humans. These
conditions do not meet minimum AWA standards, nor
industry standards or best care practices. The suboptimal
environments provided the animals are atypical of their
genetic predispositions, prevent proper expression of
species-typical behaviors, and negatively impact the
health and welfare of the animals. No animals should
languish under these conditions.
Further, the observations below were included in my
previous expert report from June 2018. I am providing
this historic perspective to illustrate that these conditions   Fig. 34: Alligators living on asphalt.
have existed previously, and that the environments,             PETA0002352 Jul. 19, 2021).
husbandry and standards of care have not improved.
Historic observations:
        o Facilities and exhibits are in disrepair, from entrance and throughout grounds. Several
          structures are splintered, collapsed, rusted, and overgrown.
        o Clutter, refuse, and abandoned tools/devices were observed throughout facility,
          providing optimal housing for rodent and other pest species, as well as creating fire
          and injury risks.
        o Animals are housed in inappropriate locations, structures, or pens. For example, emus
          were confined on an old asphalt basketball court, complete with standing water and
          jagged plastic pipes sticking up from the ground.
        o Exhibit barriers and perimeter fencing was broken, chewed by pests, or in complete
          disrepair.
        o There was standing water in many animal exhibits, indicative of a clear lack of
          drainage and persisting muddy conditions. This creates pest breeding locations (i.e.,
          mosquitoes) and impairs species‐typical behaviors, while compromising
          thermoregulatory abilities.



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        o Broken, toppled and filthy crates, doghouses, and other structures were throughout the
          zoo, both in and out of animal areas. These structures provide little protection from the
          elements, are not clean or sanitary, as evidenced by the mud and animal waste.
        o Power and extension cords are haphazardly strung around the zoo, across pathways,
          through standing water, and along barriers. This is unreliable, unsafe, and creates a
          risk of fire similar to the 2006 fire at Tri‐State that killed 70‐100 animals, including
          lemurs.
        o Lack of appropriate bedding materials or protection from the elements.
        o Inappropriate, species‐atypical housing and conditions: i.e., porcupine with no
          trees/canopy to rest/hide in; fox enclosure with no outside dens; lack of perching or
          resting options for multiple species; kinkajous living in dark, unventilated area in old
          bird cages.
        o Reptile house symptomatic of ALL issues: animals in fetid, stagnant water; improper
          food choices left spoiling and contaminated on floor; no temperature or humidity
          monitoring or management; atypical grouping with no means of evading other
          animals; lack of proper lighting for ultraviolet and physiological needs; accumulating
          of weeks (or more) of animal waste; evidence of rodent activity; lack of clean, sanitary
          surfaces or environments; no ventilation or insulation; underweight, inactive animals;
          no enrichment or appropriate environmental structures. I also observed a small snake
          in a clear, empty holding container that appeared to be dead. The snake feebly moved
          in response to Mr. Candy banging on a case on the adjacent counter. A squirrel monkey
          was also inappropriately housed with natural predators in the reptile house.
        o Free‐roaming animals, including rabbits, ducks, chickens, peacocks, and cats, with no
          known medical history or records, that have access to all enclosures, potentially
          causing injury, distress, illness, or being killed themselves. 21


1.2. Complexity/Quality
Most of the exhibits are lacking in any type of environmental complexity that would enable
animals to engage in appropriate STBs. In cases where some attempt at furnishings have been
provided, they are of consistently poor quality, and reflective of what Defendants believe is
appropriate, rather than what the animals are genetically predisposed to expect from their
environment. One direct example of this is Dodger the capuchin. While his outdoor enclosure has
one bench, one branch, one dirty crushed barrel, an old Christmas tree lying on the ground, and a
faded children’s play structure, these are what an untrained caregiver has decided are appropriate.
All species of capuchin are recognized as highly arboreal, even resting tucked into branches,
generally descending to the ground only for water or to occasionally forage. 22 Dodger’s
environment should reflect this natural history; both indoor and outdoor enclosures should be filled
with branches, high perching and ledges, and areas where he could feel concealed and safe. The

21
   See Expert Report of J. Pratte (Jun. 8, 2018), ECF No. 99-47 at 79-80, People for the Ethical Treatment
of Animals, Inc. v. Tri-State Zoological Park of Western Maryland, Inc., 424 F. Supp. 3d 404 (D. Md. 2019)
(“PETA v. Tri-State”).
22
   Rainforest Alliance, https://www.rainforest-alliance.org/species/capuchin-monkey/ (last accessed Sept.
2, 2021).

                                                   20
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suitable environments for the animals under their care. It does not appear that any improvements
to the facility or to management plans have been made.
Environmental quality, i.e., ventilation, temperature, humidity, and water quality, is not assessed,
recorded, or adjusted in any means that would be considered meaningful to the different species
housed at Tri-State. With regard to ventilation, I did not observe any system of monitoring or
adjusting air quality in any building or holding area. There were no suitable fans, air exchangers,
or HVAC units to move air in and out of enclosed spaces, nor to provide any type of regular
changeover; It was over ninety degrees on the day of the inspection, and the air and space inside
of the holding building were stuffy and not conditioned or ventilated appropriately. Animals are
locked into spaces that house other species, with accumulated waste, would be exposed to residue
from bleach or other chemicals, 23 or with regular access by humans, and have no regular access to
fresh or exchanged air. When questioned specifically regarding air quality and ventilation for the
macaws during colder months in the area represented in Figure 32, Candy’s response was: “So we
go in there every day. We open up the doors and the fresh air, and it’s constantly monitored.” 24
This is clearly not a sustainable means of improving the air quality for animals, particularly over
extended periods of time (overnight, etc). Further, macaws and other birds can be susceptible to
respiratory issues, such as pneumonia or Aspergillosis.25 Air quality is a significant issue for birds
and all other species, and is not monitored at Tri-State, and in most situations cannot be controlled
or adjusted for improvements. The poor air quality and lack of monitoring do not meet AWA
minimum standards for mammals housed indoors, such as the primates, or for any other mammals
brought inside during colder weather (e.g., skunks and coatimundis). 26
Measuring temperature and humidity is a critical aspect of animal husbandry and accepted as an
industry standard for most species, particularly for species whose natural habitats would be in
warmer regions.27 The primates, macaws and ectotherms (reptiles) at Tri-State should be housed
in environments where their temperature and humidity could be measured and controlled
accordingly. Other mammals brought inside during colder weather (e.g., skunks and coatimundis)
would require similar consideration.
It has been my experience with the Defendants, from both site inspections and deposition
testimony, that temperature and humidity are not understood to be, nor managed as, critical factors

23
     See, e.g., Candy 30(b)(6) Dep. 159:17-19, Aug. 11, 2021; Moon Dep. at 89:14-90:2, Aug. 10, 2021.
24
     Candy 30(b)(6) Dep. 170:14-18, Aug. 11, 2021.
25
     VCA, https://vcahospitals.com/know-your-pet/aspergillosis-in-birds (last accessed Sept. 2, 2021).
26
  See, e.g., 9 C.F.R. § 3.76(b) (“Ventilation. Indoor housing facilities must be sufficiently ventilated at all
times when nonhuman primates are present to provide for their health and well-being and to minimize
odors, drafts, ammonia levels, and moisture condensation. Ventilation must be provided by windows, doors,
vents, fans, or air conditioning. Auxiliary ventilation, such as fans, blowers, or air conditioning, must be
provided when the ambient temperature is 85 °F (29.5 °C) or higher. The relative humidity maintained must
be at a level that ensures the health and well-being of the animals housed, as directed by the attending
veterinarian, in accordance with generally accepted professional and husbandry practices.”).
27
     Monitoring temperature and humidity is also required by the AWA. See e.g., id.

                                                      22
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of animal care.28 While a few thermometers are present on walls inside of the reptile building, no
reliable means of monitoring or adjusting the temperatures exists to provide tangible data on what
the animals are experiencing. 29
Reptiles require specialized temperature and humidity adjustments based on their species, home
range, and environmental expectations. For example, the Woma python pictured in Figure 11
should be provided with a range of temperature spots within its enclosure, from 87-90 degrees on
the “hot side” and 75-80 degrees on the “cool side,” with night ambient temperatures dropping
down to 72 degrees. 30 Tri-State does not provide for the specialized temperature and humidity
needs of each reptile in its care. Indeed, according to deposition testimony, the ambient
temperature in the reptile house is 90 degrees and the temperature inside specific reptile enclosures
is not monitored.31
If temperatures are maintained at 90 degrees, then reptiles have no cooler thermoclines to access,
and the squirrel monkey, who is also housed in the reptile house, is not being cared for according
to minimum standards.32 The poor assessment and management of temperature and humidity
parameters will result in both acute and chronic physical discomfort for the animals. Resulting




28
  See, e.g., Deposition of Robert Candy 151:3‐10, Mar. 16, 2018, PETA v. Tri-State, 424 F. Supp. 3d 404
(D. Md. 2019) (the temperature inside the lemur enclosure is monitored “by feel and checking the water to
make sure it’s not frozen.”).
29
  Deposition of Dr. Gale Duncan (“Duncan Dep.”) 187:8-19, Jun. 30, 2021 (“Q. Did you ever assess the
humidity in any of the reptile enclosures? A. Once or twice but only as far as skin feel, not with any kind
of measuring instrument. Q. How did you assess the humidity based on the skin feel? A. Just basically I
mean obviously it did feel humid or dry to us but we didn’t have any measuring equipment with us.”); Gold
Dep. 125:19–126:9 (consulting veterinarian testimony regarding his lack of knowledge of the actual
temperature in the animals’ enclosures and whether the humidity in the reptile enclosures is monitored or
regulated in any way, and that he did not assess the humidity in the reptile enclosures); Moon Dep. 139:2–
21, Aug. 10, 2021 (testimony regarding the temperature in the reptile house and staff’s admission that the
temperature inside specific reptile enclosures is not monitored); id. 140:4–141:3 (testifying that all reptile
enclosures in the reptile house are kept at the same temperature, that there is no monitoring system for the
humidity in the reptile house, and that the only instruction that Mr. Candy has provided regarding the
temperature in the reptile house is to “make sure that it stays hot in there.”).
30
    See, e.g., Woma Python Caresheet, Reptile Rapture, https://reptilerapture.net/woma-python-
caresheet.html (last accessed Sept. 3, 2021).
31
     Moon Dep. 22:17–23, 139:2–141:3, Aug. 10, 2021.
32
  See 9 C.F.R. § 3.76(a) (“Indoor housing facilities must be sufficiently heated and cooled when necessary
to protect nonhuman primates from temperature extremes and to provide for their health and well-being.
The ambient temperature in the facility must not fall below 45 °F (7.2 °C) for more than 4 consecutive
hours when nonhuman primates are present, and must not rise above 85 °F (29.5 °C) for more than 4
consecutive hours when nonhuman primates are present. The ambient temperature must be maintained at a
level that ensures the health and well-being of the species housed, as directed by the attending veterinarian,
in accordance with generally accepted professional and husbandry practices.”).

                                                     23
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The reticulated python exhibit is the first exhibit visitors see when they arrive at the reptile
building. The floor of the enclosure has visible aggregation of urates/waste, as well as pieces of
shed skin and other detritus. The viewing panes are dirty and have not been cleaned. The overall
level of sanitation is similar to the primate enclosures and many other enclosures on site. These
conditions are not reflective of husbandry best practices or industry standards. 39 Conditions
increase risk of pathogen/parasite transmission, attract pests that may cause injury directly or
through pathogen transmission, and can cause irritation or infection of skin and membranes. Poor
sanitation also negatively impacts other critical aspects
of husbandry such as water quality and ventilation.
“Mud” the kinkajou was transferred out of the reptile
building before the site inspection. According to Tri-
State’s records, Mud was transferred from Tri-State to a
third-party on July 17, 2021.40 Despite having been
transferred two days before Plaintiffs’ site inspection, the
enclosure was left filthy, with fecal material present and
decomposing food.41 The cage was unsanitary, similarly
to my previous visit in 2018. Overall conditions were               Fig. 40: Visibly poor sanitation of
unclean, and contributed to the overall state of                    reptile area(s). PETA011399 (Jul. 19,
substandard sanitation.                                             2021).

Methods of cleaning are regularly reported as some variation of “removing” food and feces, and
“wiping” surfaces by both Rella Moon and Mr. Candy.42 This is insufficient for proper sanitation
for any species. The AWA (for mammals, particularly primates) describes appropriate parameters
for sanitizing enclosures and structures, which are not being met. 43 The filthy, substandard
environment is most definitely not meeting industry standards.



39
  Sian Gildon, Husbandry Guide for Woma (Aspidites ramsayi) (Feb. 2008), https://aszk.org.au/wp-
content/uploads/2020/04/Reptiles.-Woma-2009SG.pdf.
40
     See, e.g., Candy 30(b)(6) Dep. 24:21-24, Aug. 11, 2021.
41
     See, e.g., PETA011539, PETA011544, PETA010828 (Jul. 19, 2021).
42
  See, e.g., Moon Dep. 53:4-16, Aug. 10, 2021 (describing how the squirrel monkey’s enclosure is cleaned);
id. 136:15-25 (describing how a turtle enclosure is cleaned); Candy 30(b)(6) Dep. 128:8–129:1, Aug. 11,
2021 (describing how the macaw water receptacles are filled and serviced); id. 156:16–159:5 (describing
how the capuchin, bobcat, and mountain lion enclosures are/were cleaned).
43
  9 C.F.R. § 3.131(a) (“Excreta shall be removed from primary enclosures as often as necessary to prevent
contamination of the animals contained therein and to minimize disease hazards and to reduce odors. When
enclosures are cleaned by hosing or flushing, adequate measures shall be taken to protect the animals
confined in such enclosures from being directly sprayed with the stream of water or wetted involuntarily.”);
id. § 3.131(b) (“Subsequent to the presence of an animal with an infectious or transmissible disease, cages,
rooms, and hard-surfaced pens or runs shall be sanitized either by washing them with hot water (180 F. at
source) and soap or detergent, as in a mechanical washer, or by washing all soiled surfaces with a detergent
solution followed by a safe and effective disinfectant, or by cleaning all soiled surfaces with saturated live

                                                     26
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With regard to disinfection of animal enclosures, Tri-State has no consistent plan or protocol. For
example, Mr. Candy testified that he “tr[ies] to stay away from the bleaches” but uses bleach in a
“3% mixture.”44 Ms. Moon, on the other hand, describes using a dilution of 1 to 3 for bleach and
water.45 At a 1:3 dilution level, the bleach will cause injury to the animals when improperly rinsed
or monitored.46 Lack of appropriate rinsing (i.e., wiping with a rag) would also leave chemical
residue.
Mr. Candy also describes using vinegar as a cleaner. 47 In addition to the alkaline or acidic residues
causing harm to the animals, use of vinegar may result in toxic interactions with other chemicals. 48
In no circumstance did I observe appropriate equipment, methodologies, or written protocols for
rinsing of chemicals, during either inspection.
The observations below were included in my previous expert report from June 2018. I am
providing this historic perspective to illustrate that these conditions have existed previously, and
that the environments, husbandry and standards of care have not improved.
Historic observations:
          Lack of regular sanitation creates further contamination issues. Hosing or wiping, methods
          described by Mr. Candy and the attending veterinarians, are insufficient to eliminate
          potential pathogens left by spoiled food, pests, and feces/urine. The deteriorating wooden
          surfaces would also absorb food waste, urine, contaminants, and other potential
          pathogenic vectors, and be incredibly difficult to properly sanitize, even if an appropriate
          cleaning program existed. It is standard industry practice for feeding receptacles or
          surfaces to be regularly cleaned and sanitized, using products deemed safe by trained
          veterinary or management staff, with accompanying MSDS [Material Safety Data Sheets]
          information.
          The inspection team visited the kitchen/food prep area, located in the back of the decrepit
          Reptile building. The entire space was filthy and unsanitary. Spoiled and moldy food, both
          packaged and not, was sitting out and kept in the dirty refrigerator. Even the food in the
          fridge was moldy and contaminated. The fridge, sink, counter surfaces, and visible

steam under pressure. Pens or runs using gravel, sand, or dirt, shall be sanitized when necessary as directed
by the attending veterinarian.”).
44
     Candy 30(b)(6) Dep. 159:17-19, Aug. 11, 2021.
45
     Moon Dep. 89:14-23, Aug. 10, 2021.
46
  See, e.g., Is Bleach Toxic? Effects of Chlorine Bleach, Sani Professional, https://saniprofessional.com/is-
bleach-toxic/ (last accessed Sept. 5, 2021) (“When your skin comes into direct contact with bleach you may
experience burning, itchiness, and general discomfort. Long exposure can lead to hyperpigmentation.”).
47
     Candy 30(b)(6) Dep. 159:14–17, Aug. 11, 2021.
48
  Is Bleach Toxic? Effects of Chlorine Bleach, supra note 47 (“When bleach is mixed with other chemicals,
harmful reactions can occur. Specific combinations can create completely toxic, hazardous chemicals. The
following are product combinations that you should never make: . . . Bleach + vinegar = toxic chlorine
gas.”).

                                                     27
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        receptacles were neither clean nor sanitized. The cupboards were dirty and disorganized,
        with expired products kept inside. The small trash can was uncovered and reeked of
        discarded food and other trash. The entire kitchen and food preparation areas were
        unsanitary to the point of encouraging the development and spread of disease, and clearly
        not maintained to any acceptable standards. Any food coming out of this room would be
        exposed to contamination and disease, and of poor and variable quality. . . . Poor quality
        and sanitation standards risk constant harm to the animals, and can result in infection,
        disease and death.49
The entire facility, from the entrance to the very back fields behind exhibits, are full of clutter,
trash, and discarded materials. See, e.g. Figures 41–46 (selection of photos that represent the
pervasive problem).50 Not only do these materials cause a direct safety hazard to animals, visitors,
and staff/volunteers, but they also provide innumerable sites for pest species and native wildlife to
live and feel comfortable moving throughout the facility and between enclosures. Pests and
wildlife are potential vectors of disease and transmission of ectoparasites. They also pose a
separate risk of injury for the collection animals should they come into conflict for space,
resources, etc. The unsanitary conditions and remnants of food will attract and maintain the pest
and wildlife populations within the facility.
The rampant and ubiquitous clutter are a violation of AWA standards, and do not meet industry
standards for husbandry or exhibit/grounds maintenance. 51




49
  Expert Report of J. Pratte (Jun. 8, 2018), ECF No. 99-47 at 70–71, PETA v. Tri-State, 424 F. Supp. 3d
404 (D. Md. 2019).
50
  These photos are also indicative of the historical span of the issue, as conditions are similar to the
conditions during the 2018 inspection.
51
  See 9 C.F.R. § 3.131(c) (“Premises (buildings and grounds) shall be kept clean and in good repair in order
to protect the animals from injury and to facilitate the prescribed husbandry practices set forth in this
subpart. Accumulations of trash shall be placed in designated areas and cleared as necessary to protect the
health of the animals.”); id. § 3.131(d) (“A safe and effective program for the control of insects,
ectoparasites, and avian and mammalian pests shall be established and maintained.”).

                                                    28
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complexity, inappropriate social structure, and inability to express species-typical behaviors will
result in psychological distress (see Psychological Well-being section, infra at Section 3).
2.1.Nutrition and Health Management
There is a complete lack of assessment, monitoring and recording of the physical condition of the
animals at Tri-State. Animals are not weighed, unless they are taken to a veterinary clinic for
treatment, and Body Condition Scores (BCS) are not conducted and assessed.59 Awareness of food
intake of animals appears arbitrary and based on subjective, inconsistent variables, and behavioral
observations that could be indicative of health concerns appear to be noted rarely, and only when
an animal is already experiencing emergent veterinary needs.60
Regular weight monitoring, usually paired with BCS assessments, provide understanding of an
animal’s overall health. Reputable facilities record weights/BCS in order to monitor numerous
factors affecting health, including: growth, physical decline, potential pregnancy, and tracking
quality of life for geriatric individuals. Knowledge of regular weights is critical to properly assess
and adjust nutrition, both for quality and quantity of food items provided. Individual weights are
also invaluable for medical treatment; when immobilizing/anesthetizing an animal, dosage is based
on the animal’s age, weight, metabolism, etc. Similarly, dosages and amounts of medication
provided by veterinarians and caregivers should be based on the actual weight and condition of
the animal. According to the record in this case, animals, including those under veterinary
treatment, were not weighed unless the animal was examined at a clinic. 61
For example, the Himalayan black bears, who are obese and were immobilized by Dr. Keith Gold
for dental surgery, were not weighed before anesthesia or treatment. 62 This is exceedingly
dangerous; exceeding the necessary amount per weight category can result in anesthesia
complications and risk death, insufficient amounts for immobilization puts handlers and vets at
risk during movement or a procedure, and treatments may be less efficacious. This is merely one
example of where Tri-State is lacking in its care parameters. It is considered an industry standard
to have a functional scale on grounds to weigh animals regularly, and record and monitor
physiological data to optimize health care and management.
BCS are also never assessed or reported by staff/volunteers. When reported by attending or
consulting veterinarians, scores do not have any details on the reasoning for the value, and the
values reported are overall inconsistent with standard veterinary and zoological scoring

59
  See, e.g., Candy 30(b)(6) Dep. 196:17–21, Aug. 11, 2021 (“Q. Do you evaluate and document the body
weight, body condition scores, or muscle condition scores for any of the animals? A. I do not document,
but I keep an eye on them just to understand how they’re looking.”).
60
  See, e.g., Moon Dep. 40:9–15, Aug. 10, 2021 (“Q. In 2018, you testified that you didn’t weigh the amount
of food that was provided to the bears. Is that still the case? A. That’s still the case. Q. Do you weigh the
food that is provided to any of the other animals at Tri-State? A. No.”); Tri-State Production 476, 689
(handwritten observations regarding various animals at Tri-State).
61
     See, e.g., Duncan Dep. 67:14–20, June 30, 2021.
62
     Gold Dep. 70:15–17, 71:12–16, July 22, 2021.

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methodologies. Specifically, scores on a 5-point scale are reported by the vets. 63 Current industry
standards and zoological record-keeping systems use a standardized 9-point scale for BCS.
Inconsistency in use of management resources complicates provision of appropriate husbandry
and care.
Tri-State’s failure to assess and record BCS’s for the animals in its collection is atypical of animal
care institutions, and inhibits assessment of health, welfare, and communication with stakeholders
and authorities. Numerous tools exist to aid in assessing weight and body condition for a variety
of species, many of which are readily accessible online or from any large animal veterinarian. Two
examples (one for polar bears and the other for equines) are attached as Appendix III. I provided
these two examples as they are directly applicable to species and physiological issues at Tri-State.
Many animals at Tri-State have been documented to be overweight. 64 The black bears, for
example, are immensely overweight; the first animal I saw on exhibit would score an 8-9 on the
9-point scale. Obesity in mammals results in short- and long-term medical complications,
including, but not limited to:
      •    Liver, kidney, and other internal organ failures
      •    Arthritis and other painful joint and spine conditions
      •    Respiratory distress
      •    Heart disease and reduced circulatory efficiency
      •    Hygromas at joints, the result of repeated joint trauma on hard surfaces that regularly swell
           with fluid
      •    Possible hyperkeratosis—thickening of the skin at joints increasing the risk of infection
      •    Reduced ability to thermoregulate effectively
The obesity and inappropriate body mass and conditions of the animals did not occur overnight.
As none of the animals at Tri-State can be weighed regularly, and no one on staff have been trained
to assess body condition scores (and no records of such exist), it is difficult, if not impossible, for
Mr. Candy or an attending or consulting veterinarian to accurately assess the health of any of the
bears and other species. Regular, recorded weights allow detection of complications or declining
health sooner, and allow for timely medical intervention to be applied. The inability to accurately
monitor the animals’ weights and assess their individual well-being is detrimental to the animals,
and can result in death.
Professional networks also exist within organizations like the Association of Zoos & Aquariums
(AZA), and even via social media groups, to collaborate with colleagues on acquiring resources


63
     See, e.g., Gold Dep., Jul. 22, 2021, Exh. 106 (recording BCS 3/5 for Rocket, arctic fox).
64
  See, e.g., Gold Dep. 152:9-15, 174:15-19, Jul. 15, 2021 (testimony regarding overweight skunk and
coatimundis); Duncan Dep. 135:23–136:4 (testimony regarding overweight pot belly pig, Isabel).

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and learning current trends in best practices. It is an industry standard to not only monitor
physiological health, but to record these observations in a manner easily shared with veterinarians
or colleagues.
The physical condition of many of the animals at Tri-State, both observable in-person and through
review of documents, indicate a myriad of acute and/or chronic health issues that are direct result
of poor husbandry and management, lack of knowledge/training, or lack of timely veterinary
consultation and/or compliance with recommendations. Examples of health issues that are
preventable with proper husbandry and management programs are listed below.
Mr. Candy recognizes that the hoofstock at the facility chew on the wooden structures and that it
is known as “cribbing.”65 Cribbing may be indicative of issues with teeth, but it is also an example
of an Abnormal Repetitive Behavior (ARB). ARBs develop in response to chronic external
stressors, in barren environments that impede expression of STBs, and under conditions of
diminished care/welfare. ARBs that exist without some type of behavioral management program
can evolve into stereotypic behaviors, which become much more “entrenched” in the nervous
system and comprise a disproportionate percentage of an animal’s activity budget. ARBs and
stereotypies are generally indicative of psychological distress. (See Psychological Well-being
section, infra at Section 3.)
In at least one case, this led to a direct, preventable injury. The miniature horse “Cappuccino” was
examined by Dr. Duncan on May 24, 2018 and found underweight with a “wood foreign body
lodged between” her teeth. 66 Provision of appropriate nutrition, a behavioral enrichment plan, and
an overall more complex environment would aid in mitigating this type of behavior. Animals can
be conditioned to voluntarily participate in regular physical or veterinary exams to allow
examination of the mouth and body parts. A skilled caregiver should have noticed behavioral
indicators of a foreign body lodged in an animal’s mouth. This type of injury is likely a direct
consequence of cribbing; the overwhelming evidence illustrating the prevalence of this problem
amongst the animals is clear in Figures 19 & 20.
The miniature horse “Dream” was diagnosed underweight and malnourished by Dr. Duncan.
Dr. Duncan’s records and deposition testimony describe both physiological and social conditions
that were negatively impacting Dream’s ability to properly feed and maintain an appropriate body
condition:
          Q. Under musculoskeletal it says patient is underweight and weak, borderline
          cachectic. Owner reports she loses weight under winter possibly being shoved out
          of the way by larger goats and other horses. Can you describe Dream’s condition
          when you examined her in May 2018?



65
  Candy 30(b)(6) Dep. 146:18-22, Aug. 11, 2021 (“Q. Do any of the animals chew on the fencing? A.
Some crib. It’s called cribbing with the donkey or the horses make crib, horses don’t do it much the donkey,
well, every once in a while, but this just seems to be what he always did.”).
66
     Duncan Dep., June 30, 2021, Exh. 56 at MVS00146.

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          A. So, she was lethargic, depressed, severely underweight and she was packing feed
          I believe over her 200 arcade which is her left upper jaw. 67
Allowing the horse unimpeded access to appropriate food sources would aid in improving her
condition and welfare, which is a simple management provision. Proper husbandry methodologies
and skilled/experienced caregivers would make these adjustments as they are generally accepted
practices. Lack of understanding of proper care parameters, or direct disregard of professional
advice, do not meet industry standards of care for any species.
Other preventable health issues arising from substandard care at Tri-State include, but are not
limited to:
      •   Presence of fleas on numerous species upon examination;68
      •   Injuries that have been unnoticed or left long enough to become infested with maggots; 69
      •   Hair loss (numerous potential causes); 70
      •   Overgrown hooves;
      •   Lesions or injuries on animals likely resulting from suboptimal environment or poor
          management (i.e., inappropriate introductions); 71
Nutrition management at Tri-State does not meet any appropriate industry standards. There are
numerous examples and quotes that can be pulled from Defendants’ testimony and from inspection
notes, but ensuring each animal is fed an appropriate amount based on their age, weight, time of




67
     Id. 98:19–99:6.
68
  See, e.g., id. 82:17-24, June 30, 2021 (testimony regarding fleas on the capuchin monkey, Dodger); id.
201:2-6 (testimony regarding flea allergy dermatitis on domestic cat Slinkey); Gold Dep. 159:20–160:6,
Jul. 15, 2021 (testimony regarding fleas on opossum, Sir Vivor).
69
  Candy 30(b)(6) Dep. 276:6-20, June 24, 2021 (testimony regarding maggots on vaginal area of Japanese
macaque, Ms. Mac); Duncan Dep. 209:24–210:7, June 30, 2021 (testimony regarding maggots present on
domestic cat, Momma White).
70
 See, e.g., Gold Dep. 187:5-20, Jul. 15, 2021 (testimony regarding hair loss on the Bengal cat, Sebastian);
Gold Dep. 38:20–39:6, Jul. 22, 2021 (testimony regarding hair loss on capuchin monkey, Dodger).
71
   See, e.g., Gold Dep. 55:13-17, Jul. 15, 2021 (describing ulcers on the bottom of alligator, Abigail’s feet);
Gold Dep. 21:14–23:5, Jul. 22, 2021 (testimony regarding medical records for the arctic fox, Rocket, who
suffered from a degloving injury); id., Exh. 88 at CAH00127-28 (text messages regarding arctic fox,
Rocket, who “decided to stick his leg through to play with the porcupine” and “[g]ot about 10 quills in his
leg”); Duncan Dep. 46:5-16, June 30, 2021 (describing “large wounds” in dog’s paw pads caused by
“severely overgrown toenails”); Candy 30(b)(6) 134:5–9, June 24, 2021 (discussing coatimundi
“altercation”).

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year, hormonal or reproductive status is an essential component of proper husbandry and nutrition
management.72
An example of the improper nutrition management at Tri-State is underscored by the miniature
horse “Cappuccino.” Cappuccino had been recorded as having given birth to a colt three weeks
prior to the examination where the foreign body was found in her mouth; 73 her diet should have
been increased significantly to compensate for pregnancy and subsequent nursing, and instead she
was significantly underweight.
There are further examples of deficient nutritional management at Tri-State. Quality of the food is
low; this is likelydue to lack of knowledge, lack of funds to purchase appropriate items leading to
a reliance on whatever is donated, or poor choice of products. For example, Mr. Candy testified
that some animals are fed “dark greens,” i.e, “romaine lettuce, . . . a little bit of kale, but not much
spinach.”74
“Dark greens,” defined as: “Swiss chard, kale, bok choy, collards and mustard, beet and turnip
greens are common dark leafy cooking greens, vegetables that are distinguished by their high
concentration of nutrients and pungent flavor,” 75 are recommended for numerous species. Dark
greens are included in animal diets to increase nutrient and mineral intake; romaine lettuce does
not fall into this category. Vegetables fed to the animals are regularly referred to as just
“vegetables” by Mr. Candy, Dr. Gold, and Ms. Moon with no discernment between the widely
varying nutritional components of the different types of vegetables available.
During the 2018 inspection, donated produce and meat were prevalent. It is my understanding that
donated items still comprise a large proportion of the food offered to animals at Tri-State. The
food is of questionable quality; upon entering the food preparation and housing area, an
overpowering odor of decomposing food was immediately noticeable. The building has numerous
gaps allowing rodents to access the area (Figures 47 & 48), but that permit regular air flow through
the building. That the odor of spoilage is so permeated in an area with regular air movement
indicates the regular presence and storage of spoiled foods. Food products are also not tested for
quality, nutrient content, or presence of pathogens. It is an industry standard and generally accepted
practice to regularly submit samples from food sources, including meat (i.e., salmonella) and hay,
to assess quality and content.




72
  Inez Sukuna Januszczak et al., Is Behavioural Enrichment Always a Success? Comparing Food
Presentation Strategies in an Insectivorous Lizard (Plica plica), 183 APP. ANIM. BEHAV. SCI. 95 (2016).
73
     Duncan Dep., June 30, 2021, Exh. 56 at MVS00146.
74
     Candy 30(b)(6) Dep. 123:4-9, Aug. 11, 2021.
75
  Meg Campbell, List of Dark Green Vegetables (Dec. 12, 2018), https://healthyeating.sfgate.com/list-
dark-green-vegetables-3872.html.

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Little to no hay was visible during the 2021 inspection, and animals were clearly hungry and
seeking nourishment (see Environment Section, supra at Section 1). In 2018, I distinctly recall
seeing the hay feeder across from the reptile building containing “hay” that was of such low quality
that it looked to be straw.
Repeatedly throughout her deposition Ms. Moon describes
providing cookies, cake and sweets to several species at
Tri-State.76 This is not an industry standard, and leads to
numerous health issues in animals, including dental
problems, obesity, and diabetes.
Contrary to industry standards and best care practices, Tri-
State does not weigh or regularly assess or monitor food
intake for the individual animals at Tri-State, including for
individuals that are housed in groups, or in enclosures with Fig. 66: Animals required to share
other species. 77 Animals’ social housing is not adjusted to feeding spaces; small horse standing
accommodate behavioral impacts on an individual’s in empty tub waiting for food.
access to proper nutrition. This leads to more dominant PETA010409 (Jul. 19, 2021).
animals/species acquiring more of the resources than
others, resulting in both malnourishment and obesity within the same populations. This type of
situation was described by both Dr. Duncan and Mr. Candy as negatively impactful on the
condition of miniature horse “Dream,” described above. Lack of proper feeding methods for
group-housed animals would impact the emus, macaws, bears, alligators, turtles, tortoises,
hoofstock, ducks, chickens, and even the domestic cats. This is, again, manageable through proper,
generally accepted husbandry practices recognizing the individual needs of each animal.
Seasonal/annual metabolic variation in nutritional requirements is neither understood nor
addressed at Tri-State.78 There are multiple examples of this problem, but two particularly
egregious ones:
     •   The Himalayan black bears will experience seasonal metabolic depression during colder
         months. While bears do not enter a true “hibernation,” the torpor that bears experience
         requires proper management to properly maintain. This requires increasing diets in spring

76
  See, e.g., Moon Dep. 36:16-19, 48:5-10, 85:17-18, Aug. 10, 2021 (testimony regarding cookies, cake,
pie, and other sugary foods that are given to the bears, primates, coatimundis, kinkajous).
77
   See, e.g., id. 40:9-15, Aug. 10, 2021 (“Q. In 2018, you testified that you didn’t weigh the amount of food
that was provided to the bears. Is that still the case? A. That’s still the case. Q. Do you weigh the food that
is provided to any of the other animals at Tri-State? A. No.”); Candy 30(b)(6) Dep. 115:2-5, Aug. 11, 2021
(“Q. Are increases in food quantity implemented to accommodate growth? A. To accommodate growth? I
don’t understand the question.”).
78
  See, e.g., Moon Dep. 40:16–41:2, Aug. 10, 2021 (“Q. Are any changes made to the bear’s diet throughout
the year? A. No. Q. Are any changes made for other species at the zoo? A. No. Q. Different metabolic
requirements throughout the year? A. Not specified by Mr. Candy. Q. Has Mr. Candy ever specified that
certain animals’ diets should change? A. No.”).

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         and summer, providing for a phase of “hyperphagia” (drastic intake of food), followed by
         a dietary decrease, mirroring behavioral signs of a decrease in in appetite, as temperatures
         shift lower and until a suitable den can be found. It is critical to maintain this cycle through
         proper husbandry and nutrition management to allow for proper expression of genetically
         predisposed behaviors. Failing to accommodate for annual/seasonal metabolic fluctuations
         creates chronic physiological and psychological distress. Keeping the bears in an obese
         state, while disregarding their natural history and genetically-expected behavioral
         responses to seasonal variation, does not meet these genetic expectations.
     •   Alligators/reptiles will also experience a torpor in colder temperatures. According to
         Mr. Candy, he decreases food when he brings the alligators and reptiles inside for the
         winter.79This is tremendously problematic, as Mr. Candy and Ms. Moon discuss keeping
         the reptile building temperature “hot” and near 90 degrees (see Environment Section, supra
         at Section 1)—conditions that would not trigger behavioral torpor responses. In a nutshell,
         during colder months animals are housed in groups, in smaller, squalid indoor enclosures,
         forced to compete for diminished food resources and unable to actually experience torpor
         because the ambient temperature does not decrease.
Most animals experience some type of seasonal fluctuation in metabolism annually. Industry
standards and best practices address these needs by adjusting diets and nutrition to match expressed
changes in behavior. The conditions at Tri-State do not meet industry standards. They represent a
distressing lack of knowledge and skill on behalf of the caregivers, and adversely impact the
welfare of the animals. When an animal’s physiology has evolved to fluctuate in response to
environmental changes (temperature, photoperiod, etc), their metabolism alters their physiological
and behavioral responses accordingly. This often results in underfeeding animals who are
hyperphagic, or overfeeding animals experiencing metabolic decline. This impacts how fat and
energy are stored at appropriate times of the year, availability of this energy at others, and
adversely affects expression of species-typical behaviors that correspond to these changes. This
behavioral frustration regularly results in the development of Abnormal Repetitive Behaviors, and
potentially stereotypic behaviors. These are indicators of significant psychological distress (see
Psychological Well-being section, at Section 3). A simplified example is to compare annual
cyclical expectations to our own 24-hour circadian rhythms; when we do not eat at regular or
expected times, or our sleep cycles are disrupted, we feel out of sorts, often ill, and unable to
function or behave normally. The inability to experience appropriate metabolic management while
under human care creates a similar, though vastly more expansive, negative welfare state for these
animals.80 It is my suspicion, based upon my professional experience, that this inadequate


79
  Candy 30(b)(6) Dep. 117:3-11, Aug. 11, 2021 (“Q. How are the alligators’ diets adjusted in the winter?
A. They’re kept indoors. Most alligators they go into – They don’t they can hibernate because we do keep
them indoors. That sort of limits the hibernation process that we still feed them. But we’ll limit – we’ll give
them less during the winter because we still want them to go into a semi-hibernation.”).
80
  Mason, supra note 60; Clifford Warwick et al., Assessing reptile welfare using behavioural criteria, 35
IN PRACTICE 123-131.

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management of the reptiles, coupled with substandard environments and lack of timely vet care
have contributed to the startlingly high reptile mortality rate at Tri-State. (See infra at Section 2.2.)
2.2.Veterinary Care, Compliance, and Mortality
There is a disturbing lack of timeliness in calling for veterinary consultation or advice. Health
issues appear to be either emergent or mandated for Defendants to seek assistance. There are
innumerable examples that span several years and both of the 2018 and 2021 site inspections.
Some of these have proven fatal and have resulted in animals experiencing undue suffering before
death.
A red-footed tortoise died under veterinary care of what was reported as “egg-binding”; the animal
had been experiencing physical distress for an extended period of time and Mr. Candy incorrectly
“diagnosed” the issue as respiratory in nature and chose to apply soaking treatments, as opposed
to seeking professional veterinary examination. It is likely that more timely veterinary intervention
would have decreased the mortality risk, as I have personal experience with many species of
reptiles receiving treatment for this issue.81
The cougar, or mountain lion, “Charlie” suffered over a period of several days before dying, as
Mr. Candy denied recommended treatment, did not secure specialized assistance, and disregarded
the attending veterinarian’s poor prognosis and recommendation of euthanasia to prevent further
pain and suffering.82 That Charlie died in pain was repeatedly supported by Dr. Duncan’s
description of his final breaths as “agonal.” 83 This undue pain, suffering and extremely negative
welfare state should have been properly mitigated by the Defendants.
Mr. Candy also waited for a year and three months to schedule treatment for the bears after one of
PETA’s experts brought the bears’ severe dental disease to his attention. 84 Dental disease does not
develop overnight, is chronic and painful, impairing normal foraging and feeding behaviors. As a
recognized expert in bear husbandry, I can aver that there are significant, permanent health
consequences to dental issues, resulting in undue suffering and decreased welfare for the animals.
These few examples are entirely symptomatic of the animals’ experience at Tri-State.
Compounding the issue of timely reporting and veterinary consultation, Mr. Candy has
demonstrated an alarming refusal to follow prescribed medical treatments or recommendations.
Minimal follow up, if any, is scheduled with veterinary staff to assess success of treatment or the

81
     See Gold Dep. 83:14–86:2, July 15, 2021.
82
     See Duncan Dep. 39:10-41:4, June 30, 2021.
83
     See id. 45:16–46:9.
84
   See, e.g., Gold Dep. 69:17–70:11, Jul. 22, 2021 (“Q. Are you aware that veterinarian Dr. Kim Haddad
brought the bears severe dental disease to Mr. Candy's attention in September 2019? A No. Q. Were you
aware that Tri-State's previous veterinarian Dr. Duncan had brought the bears dental disease to Mr. Candy's
attention sometime before September 2019? A. No. Q. Does it concern you that Mr. Candy waited over a
year and three months to address the bears dental disease? A. Yeah, I think he had trouble getting someone
to help him with it. I don't think Dr. Duncan was willing to do anything with the teeth.”).

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animal’s health. For example, the bears never received any follow-up examination after their dental
surgery.85
During Plaintiffs’ recent site inspection, one of the bears approached the window in the holding
area. I was immediately assaulted by an overpowering foul, abnormal odor when she started
breathing heavily. While there may be a number of causes, there is a high probability it is related
to dental disease and infection, and that the identified health issue is not yet resolved. This should
have been noted by caregivers, recorded, and passed along to a veterinarian. It is an industry
standard to follow up with veterinary staff after administering treatment, and to document recovery
from surgery, injury, etc.
Candy has also chosen to disregard expert medical recommendations for humane euthanasia in
circumstances where an animal was suffering from advanced medical issues. This was a significant
issue that affected the tiger Kumar, and more recently the cougar Charlie, leading to undue
suffering before death.86
The facility’s last attending veterinarian, Dr. Duncan, summarizes the overarching problem with
the Defendants in precisely two words: “chronic noncompliance”:
          Q. Why did you part ways with Tri-State?
          A. Because of the extent of the time commitment required outside of actual physical
          time at the zoo due to chronic noncompliance.
          Q. That was chronic noncompliance with what?
          A. With medical recommendations, veterinarian medical recommendations. 87
“Chronic noncompliance” most definitely does not meet minimum or industry standards regarding
provision of appropriate medical care to the animals.
Tri-State has an incredibly high mortality rate. Defendants characterize this as a result of being a
“rescue” that takes in older or compromised animals from other people. 88 Upon reviewing records
for this litigation, it is professionally shocking at how many animals have died, including, but not
limited to a cougar, bobcats, birds, goats, and a ridiculously high proportion of the reptile
collection. With appropriate husbandry and veterinary care, animals should experience extended
lifespans. It is generally accepted that under reputable human care, without competition for
resources and with provision of appropriate nutrition, freedom from disease, etc, that animals live
significantly longer than in the wild. There are innumerable examples of sudden or untimely deaths

85
  Id. 78:6–9, Jul. 22, 2021 (“Q. Did you ever conduct a follow-up exam on the bears? A Not yet. To
anesthetize these guys, it took weeks to plan.”).
86
  Duncan Dep. 39:13–41:4, June 30, 2021 (testimony regarding Mr. Candy’s decision to decline euthanasia
of Charlie the cougar).
87
     Id. 11:8-15, June 30, 2021.
88
  See, e.g. Candy 30(b)(6) Dep. 186:8-10, June 24, 2021 (“Many of the animals we get at the zoo come to
us in really bad shape and conditions, that's why we rescue with them more.”).

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at Tri-State, countless of which Candy dismisses with uninformative responses, including death
by “old age.”89
Necropsies are not performed unless mandated by an authoritative body or litigation. 90 Not only
are these practices contrary to industry standards, but they are negatively impactful to the well-
being of the animals at Tri-State. A necropsy allows caregivers and veterinary staff to determine
an actual cause of death. This is critical as it shapes our health and management programs, and
ensures that with an understanding of the underlying cause, we are better able to protect the
remaining animals in the collection. Testimony and records identify pathogens such as Coccidia
and Nyctotherus in Tri-State animals, which not only cause significant illness (even death if not
properly treated or an animal’s immune system is depressed), but are highly transmissible to other
individuals and species, and can be zoonotic and infect humans.91 As visitors to Tri-State are able
to get very close to most animals, and in fact interact with many of them, the risk of zoonotic
disease or pathogen transmission cannot be ignored. The same goes for varying other conditions,
ectoparasites and infections. Discovering the cause of illness and death in the animals under human
care by conducting physical necropsy procedures, including collection of samples for pathology,
is standard industry practice.
As previously described, there are minimal preventative care programs in place, if any at all. This
includes increased attention to geriatric animals. For example, aging cats are going to experience
some level of renal disease. It is incumbent upon caregivers to monitor weight, behavior, health,
urination, appetite, etc. to better provide supportive care. Renal disease can be mitigated by
provision of fluids (voluntarily with a training program), adjusting diets to well-researched renal
nutrition plans, and adjusting the environment to accommodate geriatric physiological concerns to
reduce risk of injury or distress. No examples of these type of geriatric husbandry adjustments
exist for any species at Tri-State. As such, as animals get older it is unsurprising that the mortality
rate at Tri-State increases significantly. Best husbandry practices include regular welfare and
quality of life assessments, accurate observations and measurements, timely veterinary
involvement, and understanding of geriatric care.

89
   See, e.g., id. 166:9-17 (“Q. How did Chippy die? A. Old age. Q. What do you mean by old age? A.
Stopped breathing, got old. Q. Do you know anything beyond just he stopped breathing as to with respect
to what caused his actual death? A. All we know is he passed away, laid down, fell asleep, died.”; id.
180:15–19 (“Q. On Exhibit 9 the date of death column for Fred says that he is deceased; is that correct? A.
That's correct. Q. And how did he die? A. He just died.”).
90
  Id. 185:20–17, June 24, 2021 (“Q. . . . [W]hy was a necropsy not done? A. Because usually when animals
die, if they’re upper ages and we have a reasonable expectation that something is wrong, there’s no reason
to do a necropsy. Q. What do you mean by ‘reasonable expectation that something is wrong’? A. When
animal gets up there in age, many animals are pushed very quickly through the age process. Many of the
animals we get at the zoo come to us in really bad shape and conditions, that’s why we rescue with them
more. And we -- you know, the vets tell us that, you know, this is the problems with them. If we have a
reasonable idea of what’s wrong with them and they die, there’s no sense in doing a necropsy just to say,
oh yeah, they died of old age. “Q. Okay. So same – A. So it’s not required”).
91
 Gold Dep. Exhibit 106 at CAH00057 (arctic fox fecal on June 14, 2020 tested positive for Coccidia);
Duncan Dep. 180:4–8 (describing tortoise fecal that tested positive for nyctotherus).

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There is no evidence that the Defendants make any effort to develop progressive programs of
husbandry and care. No PVCs are current for the facility, and previous PVCs were substandard
and unreflective of best practices. 92 Defendants are not part of any professional networks, have not
described interest in professional development, and justify existing conditions versus seeking
improvement. True professionals strive to stay abreast of new research, trends and practices.
One example of progressive care that costs nothing, yet improves the ability to monitor and manage
the animals under human care, is development of a positive reinforcement training program. At its
core, using a reward-based approach allows caregivers to teach animals to voluntarily participate
in their own husbandry and care. In my 2018 expert report, I described specific examples related
to the husbandry of lions, tigers and lemurs. 93 It is currently considered an industry standard in
zoos and sanctuaries to introduce training programs for as many species as possible. Mammals,
birds and reptiles can all benefit from these programs, which allow for improved management and
veterinary access and care.94 A few examples of the benefits of a positive reinforcement training
program are:
      •   Regular observation of physical health and well-being;
      •   Mobility, stiffness, pain assessments;
      •   Examination of various body parts, including feet, wings, eyes, ears, and mouths;
      •   Trimming of hooves, nails, feathers, etc.;
      •   Obtaining regular weights or documenting BCS;
      •   Voluntary injections for anesthesia or vaccinations; and
      •   Voluntary blood collection.
The lack of appropriate records, historically and currently, for regular husbandry practices and
medical histories, does not meet minimum standards of care as outlined in the AWA, and does not
meet industry standards. This includes, but is not limited to:
      •   Acquisition and disposition records;
      •   Medical histories;
      •   Medical treatment records;
      •   Behavioral records;


92
     See Duncan Dep., June 30, 2021, Exh. 42 (program of veterinary care).
93
  Expert Report of J. Pratte (Jun. 8, 2018), ECF No. 99-47 at 29, 58, and 78, PETA v. Tri-State, 424 F.
Supp. 3d 404 (D. Md. 2019).
94
  Bacon, supra note 60; Margaret Whittaker et al., Training techniques to enhance the care and welfare
of nonhuman primates, 15 VETERINARY CLINICS: EXOTIC ANIMAL PRACTICE, 445 (2012).

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      •   Enrichment logs;
      •   Training logs;
      •   Nutritional logs (including seasonal plans, intake, and food left);
      •   Welfare assessments;
      •   Quality of life (including specific records for solitary nonhuman primates).
2.3.COVID-19 Case Study
It has been widely researched and understood that the SARS-CoV-2 infection can affect animals
as well as humans. Cases of cats testing positive have been reported in the United States, India and
other countries.95 Nonhuman primates and mustelids (weasel family) are known to also be very
susceptible.96 Current data shows that other species, including pigs, horses and camelids, can be
affected.97 Concurrent research illustrates that domestic pets, such as dogs and cats, are also at risk
though symptoms may not be respiratory in presentation.98
As a result, it became standard industry practice to mitigate the risk to susceptible species. Most
reputable zoos and sanctuaries quickly developed policies to temporarily suspend attendance
and/or implement protective measures not only for visitors, but for the animals. This included, but
was not limited to, erecting protective barriers, requiring masks for all people (staff, volunteer or
visitor), maintaining social distancing protocols from exhibits, and displaying educational
materials to inform the general public of the risks. While Mr. Candy describes a few of these
precautions, most were for guests, and by his own admission he did not follow them himself. 99
This placed the animals under his care at unnecessary risk, despite widely available information



95
   Dana Hedgpeth, Two tigers at Virginia Zoo test positive for coronavirus, Washington Post (Apr. 14,
2021),       https://www.washingtonpost.com/dc-md-va/2021/04/14/two-tigers-virginia-zoo-test-positive-
covid-19/; Rohini Mohan, Zoo in Chennai loses two lions to Covid-19 but nurses 13 others back to health,
The Straits Times (Sep. 2, 2021), https://www.straitstimes.com/asia/south-asia/zoo-in-chennai-loses-two-
lions-to-covid-19-but-nurses-13-others-back-to-health.
96
  Natasha Daly, Several gorillas test positive for COVID-19 at California zoo—first in the world, National
Geographic (Jan. 11, 2021), https://www.nationalgeographic.com/animals/article/gorillas-san-diego-zoo-
positive-coronavirus; Wilson Wong, Nearly 10,000 minks die after Covid-19 outbreak at Utah fur farms,
NBC News (Oct. 9, 2020), https://www.nbcnews.com/news/us-news/thousands-minks-die-covid-19-utah-
farms-n1242754.
97
  Aparna Nathan, Philadelphia Zoo plans to vaccinate at-risk animals against COVID-19, The Philidelphia
Inquirer, Jul. 16, 2021, https://www.inquirer.com/science/philadelphia-zoo-covid-vaccine-animals-zoetis-
20210716.html.
98
  Grace Goryoka et al., One Health Investigation of SARS-CoV-2 Infection and Seropositivity among Pets
in Households with Confirmed Human COVID-19 Cases — Utah and Wisconsin, 2020 (2021),
https://www.biorxiv.org/content/10.1101/2021.04.11.439379v1.
99
     Candy 30(b)(6) Dep. 209:18–211:13.

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available to the contrary including USDA protocols, AZA initiatives and guidelines for
professionals, and institutional protocols. 100
According to Mr. Candy’s deposition testimony, he did not appear to stay abreast of the research
and best practices affecting the animals under his care. He (and I assume the volunteers) continued
to work around and interact with animals, and allowed visitors full access to the facility and the
animals, with minimal monitoring or protections in place. 101 This does not represent the minimum
standards outlined in the USDA’s Animal Care Tech Note, Guidance for Zoos and Captive
Wildlife Facilities: Protecting Susceptible Animals from SARS-CoV-2 Infection, nor meet current
industry best practices.102
The following observations were included in my previous expert report from June 2018. I am
providing this historic perspective to illustrate that the conditions described above existed
previously, and that the standards of husbandry and medical care have not improved.
Historic observations:
      •   Domestic cats freely roaming the facility exhibited clear signs of physical illness. For
          example, I observed cats suffering from respiratory distress, physical injuries, swollen
          eyes, nasal and ocular discharge.
      •   Clutter, refuse, and abandoned tools/devices were observed throughout facility,
          providing optimal housing for rodent and other pest species, as well as creating fire and
          injury risks.
      •   There was standing water in many animal exhibits, indicative of a clear lack of drainage
          and persisting muddy conditions. This creates pest breeding locations (i.e., mosquitoes)
          and impairs species‐typical behaviors, while compromising thermoregulatory abilities.
      •   Power and extension cords are haphazardly strung around the zoo, across pathways,
          through standing water, and along barriers. This is unreliable, unsafe, and creates a risk
          of fire similar to the 2006 fire at Tri‐State that killed 70‐100 animals, including lemurs.
      •   Lack of appropriate bedding materials or protection from the elements.




100
   Animal Care Tech Note: Guidance for Zoos and Captive Wildlife Facilities: Protecting Susceptible
Animals From SARS-CoV-2 Infection, USDA, https://www.aphis.usda.gov/animal_welfare/downloads/ac-
tech-note-covid-animals.pdf (last accessed Sept. 7, 2021).
Many reputable facilities publicly shared protocols developed to protect both animals and people. I
personally developed and shared phased training protocols, written as guidelines to allow continued
provision of expert husbandry, while maintaining protective protocols. See Appendix VII.
101
      Candy 30(b)(6) Dep. 209:18–211:13.
102
  See Animal Care Tech Note: Guidance for Zoos and Captive Wildlife Facilities: Protecting Susceptible
Animals From SARS-CoV-2 Infection, supra note 102.

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      •   Inappropriate foods offered to animals, including hoofstock with straw in feeders;
          including bedding that they have eaten; exotic canid provided unmonitored, processed
          kibble.
      •   Animals were in poor health and physiological state. Specifically, I observed significantly
          underweight hoofstock, limping animals, overgrown hooves on several animals, and
          lethargic or unresponsive individuals.
      •   Reptile house symptomatic of ALL issues: animals in fetid, stagnant water; improper food
          choices left spoiling and contaminated on floor; no temperature or humidity monitoring
          or management; atypical grouping with no means of evading other animals; lack of
          proper lighting for ultraviolet and physiological needs; accumulating of weeks (or more)
          of animal waste; evidence of rodent activity; lack of clean, sanitary surfaces or
          environments; no ventilation or insulation; underweight, inactive animals; no enrichment
          or appropriate environmental structures. I also observed a small snake in a clear, empty
          holding container that appeared to be dead. The snake feebly moved in response to Mr.
          Candy banging on a case on the adjacent counter. A squirrel monkey was also
          inappropriately housed with natural predators in the reptile house.
      •   Free‐roaming animals, including rabbits, ducks, chickens, peacocks, and cats, with no
          known medical history or records, that have access to all enclosures, potentially causing
          injury, distress, illness, or being killed themselves.
      •   Clear presence of rodent activity and damage throughout facility: access holes chewed
          through wood, feces left on surfaces, paths and holes in ground in and around animal
          exhibits.
      •   Animals exhibiting signs of psychological distress: signs of horses and hoofstock
          “cribbing,” or chewing on edges of structure (a recognized coping behavior; small horse
          banging its head against structure repeatedly for > 15 minutes; animals pacing or
          inactive at atypical times; and a Singing dog continuously whining and vocalizing. 103


3. PSYCHOLOGICAL WELL-BEING
In 2018, I described in detail the issues that negatively impacted the psychological well-being of
the lions, tigers, and ring-tailed lemurs at Tri-State. I detailed the short- and long-term
consequences of lack of caregiver knowledge, substandard environments and care, and overall
poor conditions and neglect. Sadly, though not unexpectedly, these pervasive problems adversely
affect all of the animals in the Defendants’ care. I will narrow my observations to three discussion
points, with the understanding that there are significantly more issues affecting the animals.



103
  Expert Report of J. Pratte (Jun. 8, 2018), ECF No. 99-47 at 79–80, PETA v. Tri-State, 424 F. Supp. 3d
404 (D. Md. 2019).

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3.1. Social:
Tri-State has a documented history of failing to provide appropriate social conditions for its
animals, including by housing animals in atypical social groups that do not meet their genetic
expectations, and in environments that do not support appropriate expression of expected Species-
Typical Behaviors (STB), social or otherwise. 104 Species still housed at Tri-State experiencing the
most severely atypical social environments include, but are not limited to:
           o    Solitary squirrel monkey, Spaz;
           o    Solitary capuchin, Dodger;
           o    New Guinea Singing dog, Cantata;
           o    Arctic fox, Rocket;
           o    Macaws, Scarlet and Jeckyl;
           o    Solitary “boxed” alligator;
           o    Coatimundis, Rusty and Gizmo; and
           o    Asiatic (Himalayan) black bears, Sally and Suzy.
“Spaz” and “Dodger”: The two non-human primates remaining at Tri-State are singly housed. Both
of these species are gregarious, living in not only large social groups of conspecifics (same
species), but recognized to regularly mingle with other primate species while foraging and resting.
Ironically, squirrel monkeys and capuchins are regularly observed socializing in groups together:
           Capuchin and squirrel monkeys spend much time together in the South
           American forests where they coexist. On average they spend about half their
           time together but this can vary from associating for just a few hours to
           spending several days together. Both species take an active role in maintaining
           their association suggesting that both species must benefit. There is extensive
           intermingling of the groups especially during foraging, and both species may
           improve their insect foraging efficiency as more insects are disturbed when
           in association making them easier to find and capture. The squirrel monkeys
           may also benefit by gaining otherwise inaccessible plant food exposed by the
           capuchin monkeys’ destructive foraging habits.105
Dr. Duncan, the previous attending veterinarian, recognized that Dodger was experiencing
significant social deprivation, though her recommendation would have introduced another primate
into the suboptimal environment to experience very poor welfare. One extra animal would not
meet the genetic expectations of extensive social interaction within a large troop.




104
      See, e.g., id.
105
   Leonardi, R., Buchanan-Smith et al., Living Together: Behavior and welfare in single and mixed species
groups of capuchin (Cebus apella) and squirrel monkeys (Saimiri sciureus), 72 AM. J. PRIMATOLOGY 33.

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Defendants regularly describe Mr. Candy’s interactions with the primates, most specifically
Dodger, as a fulfilling their social needs.106 While there is likely some benefit to the monkeys to
have a measure of social interaction with a human being, it cannot replace the appropriate, species-
typical interactions that the animals are evolved to expect. A few examples include:
          o Grooming: social primates spend time
            each day grooming one another. They
            will search through other animals’ fur
            and meticulously remove ectoparasites
            and other foreign items found. (Fig. 67.)
            Not only do Spaz and Dodger not have
            the ability to express this behavior, they
            also do not receive it in turn. Both
            animals have bare spots and patchiness
            of fur. Although there are many
            potential causes of hair loss, appropriate Fig. 67: Social grooming in capuchins.
            diagnostics and observations have not [Smithsonianmag.com]
            been done to try and determine the
            cause. For example, hair loss may be the result of medical issues, self-inflicted as a
            result on an Abnormal Repetitive Behavior or stereotypy (see supra at Section 2.1), or
            it could also be related to the constant presence of insects, pests or other ectoparasites
            (i.e., fleas, mites) documented in the environment that are not appropriately groomed
            away.
          o Foraging: Social nonhuman primates generally forage in groups, both on the ground
            and in the trees/canopy. Not only does this increase group vigilance and awareness of
            predators, but as the group forages together, plants and the environment are disturbed,
            uncovering or disturbing other resources to feed upon. Buchanan-Smith describes
            symbiotic foraging between the two species housed at Tri-State as an example. 107
          o Resting/Safety: An increase in troop size increases a sense of security, as more animals
            are vigilant of predators or other threats, and will call out alarms. This is the basic
            “safety in numbers approach” or the “many eyes” theory. Without an appropriate social
            group, this lack would be a constant source of distress for an arboreal social primate.
            Chronic psychological distress will have significant long-term impacts on an animal’s
            welfare. Dodger and Spaz are left alone for most of their day, and regularly approached

106
   See, e.g., Defendants Tri-State Zoological Park of Western Maryland, Inc. & Animal Park, Care &
Rescue, Inc.’s Supplemental Answers to PETA’s First Set of Interrogatories at 11 (Jun. 27, 2021)
(“Enrichment plans have been provided as to the primates and are followed. If an animal does not have a
written enrichment plan, then there is no formal enrichment for the animal, through feeding, various types
of play devised by the animals themselves, and interaction with zoo volunteers and the public serve as
enrichment.”); see also Dr. Gold Dep, Jul. 22, 2021, Exhs. 108 at CAH00013 (capuchin monkey enrichment
plan includes reference to “continuous people exposure”), 110 at CAH00088 (squirrel monkey enrichment
plan includes reference to “continuous people exposure”).
107
      Buchanan-Smith, supra note 107.

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         by strangers. During Plaintiffs’ July 2021 site inspection, as we approached Dodger’s
         exhibit along the road, he became very agitated and began exhibiting behavioral signs
         of distress. Mr. Candy told the team that “he doesn’t like this many people,” yet Dodger
         is housed immediately adjacent to the visitor path, where people can actually harass or
         bother him easily. With no social support structure, this would be a source of chronic
         distress. As described in the Environment Section (supra at Section 1), Spaz is housed
         in the reptile house. He is regularly exposed to several species of natural predator
         (including snakes and alligators), but has no group support, nor can he escape the
         surroundings to feel safe. This is another source of chronic distress.
       o Breeding: Clearly the Defendants are not expected to replace a conspecific to allow the
         animals to express natural reproductive behaviors, but the animals are incapable of
         expressing them. Regular hormonal cycles and a genetic expectation to be able to
         reproduce and engage in these social behaviors are part of these animals’ expectations
         of their environment. Frustration of inhibition of expressing species-typical behaviors
         creates acute and chronic distress, frustration, and can lead to other more injurious or
         aggressive “displacement” behaviors; behaviors expressed redirected due to lack of
         ability to express the appropriate one in a given situation. Proper management of
         contraceptive options, both physical and chemical, permits animals to engage in normal
         reproductive behaviors without conceiving young. Frustration, boredom, and lack of
         complexity or proper husbandry can lead to development of ARBs and stereotypies.
       o Appropriate communication for a monkey: Above I described just a few behaviors that
         the animals are unable to engage in with only periodic human company. In general,
         human companionship cannot effectively replace interaction with conspecifics since
         the animals are incapable of appropriately expressing their behaviors. If one capuchin
         is irritated with another within the troop, it has numerous other options: leave and
         socialize with someone else; leave the area and find another behavior to engage in;
         provide warning signals of distress and follow up with physical responses if signals are
         ignored, etc. At Tri-State, the animals cannot leave their substandard enclosures to
         evade predators, visitors, or staff/volunteers should they choose. They have minimal
         locations to hide, and the lack of complexity in the enclosures does not provide
         appropriate locations, such as branches hidden in a canopy. Regardless, Mr. Candy, the
         volunteers, and the visitors are unlikely to respond to primate signs of distress, and the
         animals cannot engage in either “fight or flight” responses.
Denying primates (and other species) the opportunity to interact socially with conspecifics, and
instead assuming intermittent human contact is an appropriate alternative, interferes with normal
behavioral and neural development. This results in animals developing behavioral repertoires that
are in constant conflict with their natural instincts, creating psychological distress and resulting in
permanent neural problems. Most animals would not normally choose to interact with humans,
and have not socially evolved to have a human caregiver replace its innate genetic expectations.
These housing conditions are atypical for the species, and do not permit the animals to engage in
the full range of complex social behaviors that they have evolved to express. The inability to
exhibit prosocial behaviors would frustrate an individual, and in cases where the animals were not

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socially compatible (with none of the caregivers or attending veterinarians trained to recognize
species-specific behaviors), the inability to escape from an incompatible cage mate would be just
as frustrating. Inappropriate social management and species-atypical housing regularly result in
development of asocial and undesirable behaviors. These often include aggression, displacement,
and injurious ARBs or stereotypical behaviors, which impede appropriate behavioral expression
by rerouting neural pathways and preventing proper environmental interactions. 108 Acute and
chronic distress have deleterious consequences on the animals, and demonstrate ongoing
interference with normal behavioral patterns (including, but not limited to: marking, grooming,
resting, foraging, vigilance) in a manner likely to result in continued chronic distress.
The Defendants repeatedly attempt to justify the solitary living conditions of the two primates as
a result of age, being raised as pets, and because they would purportedly suffer trauma from
transferring to a reputable zoo or sanctuary. 109 These arguments are red herrings. I have assisted
colleagues in the planned transfer and re-homing of numerous primates (and other species) to
accredited facilities during the past year alone. More specifically, my colleague and I assisted with
intake of several solitary, hand-reared “pet” primates that were seized by local animal control
officers. These included a ring-tailed lemur, capuchins, a squirrel money, and two or three other
species less commonly found in the pet trade. Each animal was quarantined, provided a full
medical examination, and then transferred and successfully introduced into an appropriate social
group at a reputable facility, regardless of age. We were also successful in introducing aging
individuals whose social companions had either passed away or transferred for breeding
recommendations. Three geriatric male monkeys were successfully housed together in one
department, while four aging male lemurs were introduced appropriately in another (both teams
affectionately referred to the groups as “the grumpy old men”). Appropriate knowledge, skill and
networking are the keystones to success with novel approaches like this; these aspects of
management are sorely lacking at Tri-State, and the animals endure poor welfare as a result.
Specifically, in regard to nonhuman primates, Defendants do not meet minimum AWA standards,
nor generally accepted best practices or industry standards.110

108
   Michael R. Foy et al., Behavioral stress impairs long-term potentiation in rodent hippocampus, 48
BEHAV. & NEURAL BIOLOGY 138 (1987); William S. Gilmer et al., Early experience and depressive
disorders: human and non-human primate studies, 75 J. AFFECTIVE DISORDERS 97 (2003); Laurence
Miller, Compounding of discriminative stimuli from the same and different sensory modalities, 16 J.
EXPERIMENTAL ANALYSIS OF BEHAV. 337 (1971).
109
   See, e.g., Gold Dep. 45:19–46:6 (“Q. Did you recommend that Mr. Candy keep Dodger in isolation? A.
No. That was never a recommendation. He's a pet though, so he couldn't be with other capuchins, you know,
he would not know what to do with another capuchin. And they would definitely fight. So he could not
have been housed with another capuchin, but having primates, human, nonhuman, that’s not always a good
idea.”).
110
    9 C.F.R. § 3.81 (“Dealers, exhibitors, and research facilities must develop, document, and follow an
appropriate plan for environment enhancement adequate to promote the psychological well-being of
nonhuman primates. The plan must be in accordance with the currently accepted professional standards as
cited in appropriate professional journals or reference guides, and as directed by the attending veterinarian.
This plan must be made available to APHIS upon request, and, in the case of research facilities, to officials
of any pertinent funding agency. The plan, at a minimum, must address each of the following: (a) Social

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The substandard social conditions at Tri-State also impact a number of other animals. Below are a
few short examples intended to illustrate the scope of the problem:
          o New Guinea Singing dog: While individual New Guinea Singing Dogs may hunt alone,
            they will defend territory as mated pairs. Both parents are involved in rearing of young,
            and regularly interact with offspring to teach proper socialization and hunting
            techniques.111 The Singing Dog at Tri-State is housed in isolation, denied any ability to
            express genetically-expected species-typical social interactions with conspecifics. This
            results in both acute and chronic psychological distress.
          o Arctic fox: Arctic fox live in families composed of a breeding pair, often with
            additional adults, and resultant offspring. Breeding individuals remained together
            within their territories even during periods of diminished food resources.112 The Arctic
            fox at Tri-State is housed in isolation, denied any ability to express genetically-
            expected species-typical social interactions with conspecifics. This results in both acute
            and chronic psychological distress.
          o Macaws: Macaws are incredibly gregarious animals, which form pairs as adults and
            then join large flocks ranging from 30-100 members. This natural history is why parrots
            make poor pets, as the environment does not meet expected complexity or social
            needs.113 The two macaws currently housed at TriState, along with others previously
            documented as part of the collection, are not housed in appropriate social groups and
            consequently denied any ability to express a wide range of genetically-expected
            species-typical social interactions with conspecifics. This results in both acute and
            chronic psychological distress.
          o American alligators: American alligators are social animals, particularly younger ones
            that remain close as a beneficial defense against potential predators (similar to primates
            and macaws).114 The American alligator housed in isolation at Tri-State is unable to
            retreat to a group of similarly aged or sized conspecifics. The animal is also
            encompassed by the enclosure housing several other larger alligators, which would
            constitute a threat of injury or loss of resources to a smaller animal. The smaller

grouping. The environment enhancement plan must include specific provisions to address the social needs
of nonhuman primates of species known to exist in social groups in nature. Such specific provisions must
be in accordance with currently accepted professional standards, as cited in appropriate professional
journals or reference guides, and as directed by the attending veterinarian.”); see also, Ass’n of Zoos &
Aquariums, Colobus Monkey (Colobus) Care Manual at 17 (2012) ( “Careful consideration should be
given to ensure that animal group structures and sizes meet the social, physical, and psychological
well-being of the animals and facilitate species-appropriate behaviors.”).
111
   Singing Dog, Canis hallstromi, San Diego Zoo, https://animals.sandiegozoo.org/animals/singing-dog
(last accessed Sept. 6, 2021).
112
   Olav Strand, Social Organization and Parental Behavior in the Arctic Fox, 81 J. MAMMALOGY 223
(2000).
113
      Macaw, Animals Network, https://animals.net/macaw/ (last accessed Sept. 6, 2021).
114
   Alligator mississippiensis, University of Michigan, Museum of Zoology, https://animaldiversity.org/
accounts/Alligator_mississippiensis/ (last accessed Sept. 6, 2021).

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            alligator’s inability to merge with a larger social group and feel protected would result
            in both acute and chronic psychological distress.
        o   Coatimundis: Female coatimundis live in social groups consisting of 4 to 20
            individuals. Males are solitary except during breeding season; currently, Tri-State
            houses two males together. 115 I have read descriptions of and observed a few different
            permutations of housing at Tri-State for coatimundis, and none of them matched the
            description above. In fact, one animal was introduced to the group and subsequently
            injured.116 The description of the introduction did not match generally accepted best
            practices for any species, which would include a quarantine period for medical
            assessment and then a gradual introduction process, using barriers and “howdies” to
            mitigate interactions as social behaviors are observed/recorded. Inappropriate social
            management leads to psychological distress, but can also result in direct physical injury
            or death.
        o   Sulcata tortoises: Sulcata tortoises are generally solitary animals, with males fighting
            one another for access to females and resources. 117 Animals will physically ram one
            another, risking injury to other animals/species, or to themselves in a substandard
            environment containing physical hazards. Sulcatas are documented as burrowers,
            digging and retreating into deep burrows when in distress. The animals at Tri-State
            cannot evade one another, regularly compete with one another for space and resources,
            as well as the other species housed within the same area. Constant interactions and an
            inability to remove themselves from sources of conflict or distress would cause both
            acute and chronic psychological distress.
        o   Kinkajous: Kinkajous may spend large proportion of time alone, but regularly join
            social groups to engage in natural foraging, grooming, and resting behaviors.118
            Kinkajous at Tri-State are and were housed in small, isolated cages in a dark area of
            the poorly maintained reptile building. This cannot meet any of the species social (or
            overall behavioral) needs. The kinkajous housed at Tri-State, along with others
            previously documented as part of the collection, have not been housed in appropriate
            social groups and consequently denied any ability to express a wide range of
            genetically-expected species-typical social interactions with conspecifics. This
            inappropriate social management would result in both acute and chronic psychological
            distress.
        o   Asiatic (Himalayan) black bears: Himalayan black bears are generally solitary, except
            during breeding seasons and when rearing young, when cubs will remain with her for

115
      White-Nosed Coati, Smithsonian’s National Zoo & Conservation                    Biology   Institute,
https://nationalzoo.si.edu/animals/white-nosed-coati (last accessed Sept. 6, 2021).
116
   Candy 30(b)(6) Dep. 134:5–9 (coatimundi, Monty, had an “aterlcation with one of the other
coatimundis”).
117
    Centrochelys sulcata, Maryland Zoo, https://www.marylandzoo.org/animal/sulcata-tortoise/ (last
accessed Sept. 6, 2021).
118
  Kinkajou, Potos flavus, San Diego Zoo, https://animals.sandiegozoo.org/animals/kinkajou (last accessed
Sept. 6, 2021).

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comprehensive enrichment programs for all species under human care.121 These programs are
based on each species’ natural history and behavioral expectations, as well as individual animal
needs and specific situations recognized as potentially causing distress. Programs are to be
managed by qualified, knowledgeable individuals, including goal planning, assessment of
enrichment goals, and recording enrichment items/activities.
The animals at Tri-State
are not provided with
comprehensive
enrichment programs.122
Provision                of
environmental enrichment
is an industry standard,
allowing the animals to
express a wide range of
species-typical behaviors.
These programs involve
planning and setting
behavioral        goals,
implementing                    Fig. 70: 2018 substandard, non‐
                                                                         Fig. 69: Substandard, non‐
appropriate enrichment          comprehensive enrichment plan.
                                                                         comprehensive enrichment
options, assessing the          Duncan Exh. 4, Program of
                                                                         plan. [CAH00088].
success      of     the         Veterinary Care signed by Dr.
enrichment in reaching          Duncan on April. 16, 2018.


           accordance with the instructions of the attending veterinarian. Nonhuman primates requiring
           special attention are the following:
                   (1) Infants and young juveniles;
                   (2) Those that show signs of being in psychological distress through behavior or
                   appearance;
                   (3) Those used in research for which the Committee-approved protocol requires
                   restricted activity;
                   (4) Individually housed nonhuman primates that are unable to see and hear nonhuman
                   primates of their own or compatible species.
(emphases added); see also Ass’n of Zoos & Aquariums, Colobus Monkey (Colobus) Care Manual at § 8.2
(2012). Although the Environmental Enrichment section was written for Colobus monkeys, it represents
the basis of the industry standards and expectations for enrichment programs regardless of species.
121
      Januszczak, supra note 74; Staley, supra note 60.
122
   Defendants Tri-State Zoological Park of Western Maryland, Inc. & Animal Park, Care & Rescue, Inc.’s
Supplemental Answers to PETA’s First Set of Interrogatories at 11 (Jun. 27, 2021) (“Enrichment plans
have been provided as to the primates and are followed. If an animal does not have a written enrichment
plan, then there is no formal enrichment for the animal, through feeding, various types of play devised by
the animals themselves, and interaction with zoo volunteers and the public serve as enrichment.”).

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behavioral goals, and then restructuring the program based on regular assessments. The entire
process is well-documented and evolves with the animals’ needs, and is based on advancements
in animal husbandry and welfare science. There is not currently a PVC for environmental
enrichment at Tri-State, and no written programs or enrichment goals for any of the other species.
The primate enrichment documents provided during discovery (see, e.g., Fig. 69), ostensibly
approved by Dr. Keith Gold, are utterly inadequate for the capuchin and squirrel monkey (or any
species), and do not meet any of the provisions of a successful program. 123 The plans do not
substantively change or evolve over time, do not demonstrate an understanding of the natural
behaviors of the species or set measurable goals, are not assessed or recorded, and are insufficient
in allowing the animals to do anything other than eat, sleep, or occasionally “play.” 124 It is
particularly suboptimal for any species of primate, which are recognized as possessing complex
cognitive and learning abilities. These documents are also remarkably similar to the primate
enrichment plan produced for inspection in 2018 (Fig. 70). It is evident that the program is not
comprehensive, but it is also not improving or evolving based on current research and best
practices. Despite available resources and industry standards, enrichment programs do not exist
for any species at Tri-State besides the nonhuman primates, which are inadequate at best.
Examples of appropriate approved enrichment lists and records for primates, cats and bears are
attached in Appendix IV. Inadequate environmental enrichment leads to acute and chronic
frustration and distress, as it fails to meet their complex cognitive/intellectual needs and animals
cannot express an appropriate range of species-typical behaviors. My observations, from two site
inspections and from reviewing photos and records, are that enrichment at Tri-State is comprised
of one of two options: either old plastic or stuffed toys and barrels that have not been cleaned and
are clearly weathered, having lost even the element of novelty long ago; or human interaction. This
paucity of enriching items, which should be novel and designed to elicit species-typical behaviors,
applies to all of the animals at Tri-State, including the primates, carnivores, “farm animals”,
reptiles and birds. As discussed above, human interactions cannot appropriately replace
conspecific social interactions, and should not be assumed to be “enriching” without an
appropriate, objective evaluation of what an animal is communicating (by comparison to an
ethogram), and when an animal is unable to engage in species-typical “fight-or flight” responses
if they become distressed. At no point should “public interaction” be considered appropriate
enrichment, due to the safety risks (i.e., injury, zoonotic disease) of unmonitored interactions, and
potential psychological distress when animals are unable to evade contact with people unversed in
animal behavior. Animals of all species become frustrated, bored, and even depressed when unable
to engage in challenging cognitive and species-typical behaviors, and consequently can develop
symptoms of psychological distress (see infra at Section 3.3). Undesirable consequences can
include apathy, lethargy, displaced aggression, ARBs/stereotypic behaviors, and impaired learning
and coping with environmental stimuli. The inability to express an expanse of complex behaviors
leads to both psychological distress and physiological injury, and significantly disrupts normal

123
  Gold Dep., Jul. 22, 2021, Exhs. 108 at CAH00013 (capuchin monkey enrichment plan), 110 at
CAH00088 (squirrel monkey enrichment plan).
124
   See, e.g., Gold Dep. 41:12–42:17, 44:2-10, 63:1-17, Jul. 22, 2021; see also Candy 30(b)(6), 134:20–
135:17, Aug. 11, 2021 (testimony regarding assessment, testing, and implementation of primate enrichment
plan).

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species-typical behavioral patterns. It is considered an industry standard to provide species-
appropriate enrichment and to monitor the success of programs by analyzing animals’ behavior,
and subsequently adjust goals and programs as necessary. This is a continuous, fluid process, 125
and one that does not exist for any species at Tri-State.

The lack of environmental complexity and provision of appropriate enrichment programs are
indicative of poor animal welfare and neglect on the part of Mr. Candy, the responsible attending
veterinarians, and the volunteers at Tri-State. These psychological issues are compounded by the
inadequate behavioral environment and lack of caregiver knowledge and skill. Mr. Candy has
historically adhered to the stance that the management program at the zoo is appropriate, when in
fact his inexperience and lack of knowledge and training are routinely used as a shield and excuse
for provision of suboptimal care:

          [Q.] How do you assess the enrichment plan is working? . . .

          A. Enrichment is just basically -- there is no set standard on whether something is
          good or not. . . . For example, there is nothing that even talks about the
          psychological wellbeing of everything. Things are just assumed. The only way you
          can judge something is if the animal is healthy or if the animal is happy as much as
          you can tell. They're active. They’re eating. They’re not losing weight. They’re
          moving around. They’re not lethargic. That’s about the only way you can tell if
          they’re good. 126

None of the information stated above is accurate, and demonstrates further evidence of
Defendants’ ignorance of basic aspects of industry standards. There are innumerable tools
available for assessing enrichment programs, animal welfare and psychological well-being (see
Section 3.3., supra). Whether this statement was made from true belief or solely in defense of the
recurring complaints against the Defendants, it is symptomatic of the conditions the animals are
suffering daily. The animals should be removed and sent to an accredited, reputable facility where
they could receive trained, species-specific care, pursuant with industry standards. 127 Even Tri-
State’s former attending veterinarian, Dr. Duncan, agrees that the animals in Mr. Candy’s care
would be better off at reputable facilities. 128




125
  Bacon, supra note 60; Debra L. Forthman et al., The Role of Applied Behavior Analysis in Zoo
Management: Today and Tomorrow, 25 J. APPLIED BEHAV. 647 (1992).
126
      Candy Dep. 285:20–286:15, Mar. 16, 2018, PETA v. Tri-State, 424 F. Supp. 3d 404 (D. Md. 2019).
127
   Foy, supra note 110; Christopher R. Pryce et al., Long-term effects of early-life environmental
manipulations in rodents and primates: Potential animal models in depression research, NEUROSCI.
BIOBEHAV. REV. (Apr. 25, 2005); L. Michael Romero, Physiological stress in ecology: lessons from
biomedical research, 19 TRENDS IN ECOLOGY & EVOLUTION 249 (2004); Harvey Wolinsky, Effects of
Androgen Treatment on the Male Rat Aorta, 51 J. CLINICAL INVESTIGATION 2552 (1972).
128
   Duncan Dep. 224:4-14 (“Q. Do you think the animals in Mr. Candy’s care would be better off at a
reputable facility that has the resources and staff to properly care for the animals? A. Yes. Q. And why is

                                                    57
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Allowing the animals to languish in small, barren spaces without appropriate enrichment programs
is harmful to their psychological well-being. It significantly interferes with engaging in species-
typical behaviors and results in psychological distress and permanent physiological harm. These
conditions fail to meet minimum AWA standardsand industry standards.
3.3. Psychological welfare:
I have described the substandard, barren environments that the animals at Tri-State live in. (See
Environment Section, supra at Section 1). In my opinion, these conditions create an environment
that causes chronic distress that, when paired with lack of
caregiver knowledge and “chronic noncompliance” regarding
health and medical issues, result in neglect, psychological
distress, and suppressed physiological/immune responses. The
presence of pests, cats, wildlife, pathogens, and ectoparasites
constantly harasses the animals, who are unable to evade any
noxious or disturbing external stimuli. The animals are in close
proximity to, and often forced to interact with, staff/volunteers
and visitors. In the Environment and Health Sections, supra at
Sections 1 and 2, I described these substandard conditions and
observable physiological consequences, while alluding to
psychological distress.
I have seen ample evidence, historically and recently, of the
physiological distress that animals at Tri-State are experiencing.         Fig. 71: One of many, many
In 2018, this included observable behaviors in the lion, tigers, and       examples of “cribbing.”
ring-tailed lemurs.129                                                     PETA011330 (Jul. 19, 2021.

It is evident to me, through review of documents and from the
2021 site inspection, that evidence persists of chronic psychological distress amongst the Tri-State
animal collection. Recent examples include, but are not limited to:
      o Both of the nonhuman primates exhibit signs of chronic hair loss on their bodies. 130
        Defendants have attributed this to advanced age, and possible medical issues that have not
        been tested for. It is my professional belief, based on extensive experience caring for
        primates and in assessing individual animal welfare, that while environmental variables
        and medical concerns described previously may contribute to hair loss, there is a significant


that? A. Because of the lack of preventative veterinary care, the lack of compliance, mostly the chronic
noncompliance that I experienced while I was the attending veterinarian.”).
129
   See Expert Report of J. Pratte (Jun. 8, 2018), ECF No. 99-47 at 25–26, PETA v. Tri-State, 424 F. Supp.
3d 404 (D. Md. 2019) (opining on psychological injury of the lion); id. at 55 (opinion on psychological
injury of tigers); id. at 74–75 (opinion on psychological injury of lemurs). See Appendix IV for an example
of an appropriate, industry standard example of a felid enrichment program.
  See, e.g., Gold Dep. 39:1-6, Jul. 22, 2021 (describing Dodger’s hair loss); Gold Dep., Jul. 22, 2021, Exh.
130

110 at CAH00086 (medical record documenting squirrel monkey, Spaz’s hair loss).

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         chance that the Spaz (squirrel monkey) and Dodger (capuchin) are exhibiting signs of
         psychological distress.131 Self-mutilation, more specifically “hair-plucking,” and over-
         grooming (even via rubbing) are recognized as ARBs/stereotypical behaviors in many
         species, primates included. 132 The monkeys both suffer social deprivation, lack
         appropriately complex environments and comprehensive enrichment programs, and are
         frustrated in expression of species-typical behaviors.
         “Cribbing:” Figures 19, 20 and 71, provide a few examples of evidence of this ubiquitous
         behavior, and the extent to which it has occurred. The hoofstock, in particular the donkey
         and horses, engage in chewing of wooden structures. This may have a physiological
         component, such as dental issues or hunger, but as with self-mutilation can become a
         repetitive behavior, indicative of psychological distress. I noted extensive cribbing during
         my first visit to Tri-State (see “Historic observations,” infra), and the severity of
         occurrences has only increased. Like with the lemur Bandit, an ARB has resulted in health
         complications; one of the miniature horses was discovered with wood lodged between her
         teeth, and was malnourished and underweight, unable to feed properly (see Health Section,
         supra at Section 2).

      o Also noted below, I also observed another miniature horse banging its head against the side
        of a barn repeatedly, for an extended period of time. This is clearly an atypical behavior,
        and a visible sign of distress.

      o The Asiatic [Himalayan] black bears are obese, live in deplorable conditions, and have
        suffered significant painful medical issues. Bear species that are exhibiting signs of
        emotional distress are documented to exhibit ARBs and stereotypies, which become visible
        and noticeable even to visitors. “Pacing” is the most easily recognized sign of
        psychological distress in bears; I have reviewed footage of the bears repeatedly walking
        back and forth at the front of the enclosure. 133 As seen in video PETA0003461 from July
        22, 2017, between the 15-17 second marks, the bear can be observed turning around to
        pace back in the opposite direction, and the animal rears up briefly and tosses her head in


131
    See, e.g., Duncan Dep. 83:9-16 (“Q. So, you said you observed Dodger scratching at himself and you
actually observed fleas. Did you observe [Dodger] pulling his hair? A. Yes. Q. Picking at his skin? A. I
would say picking at ectoparasites, yes.”); Colin Henstock Decl., ECF No. 99-38 ¶ 7, PETA v. Tri-State,
424 F. Supp. 3d 404 (D. Md. 2019) (“When the [squirrel] monkey started rapidly scratching the end of the
log, I noticed that it appeared that he had hair loss along his thighs, back, and tail. The monkey repeatedly
bit at his arms and thighs, and appeared to pull hair out with his teeth. The monkey also pulled at the hair
along his lower back”); Connie Collins Decl., ECF No. 99-5 at ¶ 9, PETA v. Tri-State, 424 F. Supp. 3d 404
(D. Md. 2019) (“I observed a singly-housed monkey scratching, pulling, and picking at his or her
stomach.”).
132
     BMC - Self-injurious Behavior Scoring System, National Primate Research Centers,
https://nprcresearch.org/primate/behavioral-management/self-injury-scoring.php (last accessed Sept, 6,
2021).
133
   See ESA - PETA0003461 (Jul. 22, 2017); ESA - PETA0003463 (Jul. 22, 2017); ESA - PETA0004346
at 7:51:00 (Sept. 22, 2019).

                                                     59
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          the air.134 This “head tossing” behavior is well-documented, and I have personally observed
          many times with different bear species, to signify that the pacing is not only an ARB, but
          a fully developed stereotypic behavior; it is indicative of significant psychological distress.
          There is also a distinct worn path inside the barriers of the bear exhibit. 135 In my experience,
          this is further evidence of a repetitive locomotor walking or pacing path. Bears will also
          exhibit “oral stereotypies,” that may include, but are not limited to, sucking on body parts,
          tongue-flicking, water or air-biting, and chewing on inappropriate structures.

          The bears at Tri-State have been observed chewing on the bars of their enclosure on
          multiple occasions.136 It is probable that the bar chewing stereotypy began as a means of
          soothing the oral pain that the animals were experiencing, though it was evident even to
          Tri-State’s former veterinarian (possessing minimal bear knowledge or experience) that
          the behavior was atypical and concerning. 137 Weight and age likely precluded more active
          expressions of distress, such as extended or recurring bouts of pacing, but the evidence
          existed nonetheless. Bears are also recognized as highly intelligent and complex animals,
          requiring engaging environments and comprehensive enrichment programs. An excellent
          example of a program designed specifically for rescued Asiatic black bears is attached in
          Appendix IV. The poor environmental conditions, lack of appropriate enrichment
          program, and chronic medical issues have resulted in psychological distress. The bears are
          not provided care that meets AWA minimum nor industry standards.

       o “Diva” the wolf exhibits a stereotypic “pacing” behavior in the large exhibit that previously
         housed the lioness Peka. As we approached the exhibit during the inspection, Diva paced
         within her enclosure, which Mr. Candy attributed to the presence of the inspection team.
         A volunteer familiar with Diva entered the enclosure in an attempt to calm the animal
         down. Wolves are widely recognized and accepted as a social species, one that benefits
         from regular expression of species-typical social behaviors and conspecific interactions. 138
         Diva is housed alone, with minimal appropriate enrichment visible that would encourage
         STBs. Her holding spaces are barren and do not provide the feel of a “den” or natural cover,
         and the only visible water source was dirty. Diva’s environment and management are not
         reflective of industry standards of care for the species, and consequently it is unsurprising
         that she exhibits a stereotypic behavior. This behavior has been reported on several
         occasions, by visitors to the facility and (as with the bears) the previous attending
         veterinarian.

134
      ESA - PETA0003461 (Jul. 22, 2017).
135
      See, e.g., ESA - PETA0003461 (Jul. 22, 2017); ESA - PETA0003463 (Jul. 22, 2017).
136
   Duncan Dep. 70:24–71:9, June 30, 2021 (“Q. You said you discussed chewing on bars and you
observed the bears chewing the bars of the fence of their enclosure? A. Correct. Q. And did you observe
that multiple times? A. Yes, at every instance that I performed a visual examination on the bears.”).
137
  Id. 230:19–231:3 (testimony regarding veterinary experience with species of animals at Tri-State); Id.,
Exh. 43 at MVS00109 (veterinary records noting abnormalities in bears).
138
   Randall Lockwood, An Ethological Analysis of Social Structure and Affiliation in Captive Wolves
(1976) (Ph.D. dissertation, Washington University of St. Louis), https://www.proquest.com/openview/
d5b2fd541164ecc6f38bb003454be9d9/1?pq-origsite=gscholar&cbl=18750&diss=y.

                                                     60
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          o    “Q. Her psychological well-being was evaluated? A. Yes, because she was exhibiting
              significant stereotypic behaviors, ie, she was constantly pacing.” 139

           Diva is not experiencing species-appropriate housing, husbandry, social conditions, or
           enrichment designed to elicit STBs. Diva exhibits stereotypic behaviors indicative of
           psychological distress, and in my professional opinion is experiencing very poor welfare.

It is generally accepted knowledge in animal welfare science that Abnormal Repetitive Behaviors
and stereotypies are rooted in a normal, species-typical behavior that would be expected from an
animal.140 For example, pacing behaviors generally develop in species that would spend significant
time walking to forage or mark territory, or over-grooming behaviors in those that engage in
grooming themselves or conspecifics. It is also critical to recognize that the ABSENCE of species-
typical behaviors, particularly under circumstances where an observer would expect to notice
them, is a recognized sign of psychological distress.141 This can develop to the level of “learned
helplessness,” where an animal is essentially experiencing a state where they are unable to change
their environment or the consequences of their actions, and so essentially “give up.” This is often
associated with prey species that would normally “freeze” or hide when distressed, such as deer or
small reptiles. It is a well-documented phenomenon in dogs rescued from terrible conditions. 142 It
can be fatal, as an animal eventually stops exhibiting even basic behaviors such as eating and
drinking.

Understanding the natural history of the animals under our care is an essential component of proper
husbandry. The Defendants are clearly lacking in the appropriate knowledge and skills to provide
care meeting minimum and industry standards. This is evident in the lack of environmental
complexity, proper nutrition and feeding methods, and permitting expression of species-typical
behaviors. Appendix V contains an example of a big cat ethogram. An ethogram is an objective
catalogue of behaviors recognized in a specific species. Industry standards for behavioral
management entail researching the natural history and expected behavioral repertoire of species
under human care, and then designing habitats, nutrition, training and enrichment programs
accordingly. There is no evidence that Mr. Candy, the veterinarians, nor the volunteers have
researched nor applied these care parameters with the collection. Using the provided ethogram as
an example, it would have aided in creating cougar, serval, Bengal cat, and bobcat management
programs. Frustrating the expression of a wide range of species-typical behaviors results in
psychological distress, evident in many Tri-State animals. Not only is it an industry standard to
apply this approach to the care of each species, but it is also a minimum AWA standard. 143



139
      Duncan Dep. 61:14-18, June 30, 2021.
140
      Mason, supra note 60.
141
      Januszczak, supra note 74; Warwick, supra note 82.
142
  Franklin D. McMillan, Psychological Characteristics of Rescued Puppy Mill and Hoarded Dogs, NAVC
Conference 2013, https://www.vetfolio.com/learn/article/psychological-characteristics-of-rescued-puppy-
mill-and-hoarded-dogs.
143
   See 9 C.F.R. § 3.128 (“Enclosures shall be constructed and maintained so as to provide sufficient space
to allow each animal to make normal postural and social adjustments with adequate freedom of movement.

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The observations above are not an exhaustive list of the psychological neglect and trauma that
these animals endure daily. However, they do indicate very poor animal welfare and neglect on
the part of Tri-State. These psychological issues are compounded by the suboptimal behavioral
environment. The animals cannot remove themselves from these situations, nor can they remove
the distressing stimuli, leading to behavioral expressions of distress described above. Animals that
experience substandard living conditions and neglect regularly develop behavioral concerns such
as extreme aggression to cage-mates and human caretakers, diminished expression of STBs
(including reproductive), and demonstrate a significant increase in solitary or socially
inappropriate behaviors. 144 This may include the male llama demonstrating what Dr. Duncan
describes as “berserker male llama syndrome”; 145 during our recent site inspection I observed the
llama rearing up in response to one of the team’s videographers, reacting both suddenly
aggressively. This is a danger to staff and volunteers, but more so to visitors unaware of the
possible behavioral response to their presence, and who may be too close to avoid injury. I also
distinctly remember examining the top beam of the fence after the incident, and noting that it is
comprised of two separate boards, which could easily allow the llama’s leg to become trapped and
injured, even broken. It is the responsibility of an expert caregiver to recognize these types of
behavioral concerns, and to mitigate or address them with appropriate management programs.

Enduring chronic neglect (e.g., through nutritional, social or environmental deprivation) leads to
long-term depressive traits and impaired coping skills. Acute and chronic psychological distress
result in permanent changes to the brain, nervous and endocrine systems (i.e., the amygdala).
Chronically elevated levels of stress hormones, such as glucocorticosteroids, can lead to
hypertension, respiratory and cardiac distress, and cause suppression of the immune system. The
mammalian brain will also experience atrophy of the hippocampus, which affects learning and
retention of information (LTP). Animals are incapable of learning in circumstances in which they
are stressed or traumatized, as the more primitive amygdala in the brain (responsible for fight,
flight, etc.), which changes permanently as a result of stress, will override learning or
conditioning.146 This means that animals that endure chronic psychological distress experience
physical changes, and permanently endure impaired learning and memory retention, as well as
adaptive and coping abilities. 147 The cumulative effects of distress will likely shorten these
animals’ lives and, in severe cases, lead to myopathy, injury, or even death.




Inadequate space may be indicated by evidence of malnutrition, poor condition, debility, stress, or
abnormal behavior patterns.”) (emphasis added).
144
   Angela Meder, Effects of hand-rearing on the behavioral development of infant and juvenile gorillas
(Gorilla g. gorilla), DEV. PSYCHOBIOLOGY (May 1989); Jill D. Mellen, Effects of early rearing experience
on subsequent adult sexual behavior using domestic cats (Felis catus) as a model for exotic small felids
(2005), ZOO BIOLOGY (1992).
145
      Duncan Dep. 164:20–165:9, June 30, 2021.
146
   Heather Bacon, Veterinary care, behaviour and rehabilitation of traumatised bears, Advancing Bear
Care (2015).
147
      Pryce, supra note 129.

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The following observations, which were included in my June 2018 report, are included here to
illustrate that the conditions described above were previously documented, and that standards of
husbandry and medical care have not improved.
Historic observations:
       o Lack of any species‐appropriate enrichment in exhibits that was not a filthy children’s toy
         or recycled human food container.
       o Inappropriate, species‐atypical housing and conditions: i.e., porcupine with no
         trees/canopy to rest/hide in; fox enclosure with no outside dens; lack of perching or resting
         options for multiple species; kinkajous living in dark, unventilated area in old bird cages.
       o Reptile house symptomatic of ALL issues: animals in fetid, stagnant water; improper food
         choices left spoiling and contaminated on floor; no temperature or humidity monitoring or
         management; atypical grouping with no means of evading other animals; lack of proper
         lighting for ultraviolet and physiological needs; accumulating of weeks (or more) of animal
         waste; evidence of rodent activity; lack of clean, sanitary surfaces or environments; no
         ventilation or insulation; underweight, inactive animals; no enrichment or appropriate
         environmental structures. I also observed a small snake in a clear, empty holding container
         that appeared to be dead. The snake feebly moved in response to Mr. Candy banging on a
         case on the adjacent counter. A squirrel monkey was also inappropriately housed with
         natural predators in the reptile house.
       o Inappropriate social housing resulting in chronic psychological distress and impairment
         of specie typical behaviors: solitary Squirrel monkey (large troop), solitary Capuchin
         (large troop), solitary Singing dog (pair with mate, family structure).
       o Animals exhibiting signs of psychological distress: signs of horses and hoofstock
         “cribbing,” or chewing on edges of structure (a recognized coping behavior; small horse
         banging its head against structure repeatedly for > 15 minutes; animals pacing or inactive
         at atypical times; and a Singing dog continuously whining and vocalizing.
       o I also observed inappropriate and unnecessary human contact, including Mr. Candy
         reaching both arms into the cougar cage and an apparent volunteer disturbing and then
         poking/petting clearly distressed/agitated kinkajous. 148



4. WELFARE & MANAGEMENT
Appropriate management of species and individuals is based on a progressive understanding of
said species; their natural history, ecology, behavior, social structure, etc. 149 With this development
of personal knowledge and skill should come a willingness to network with the larger community
of caregivers, keeping abreast of modern trends, practices and resources, while maintainong



148
  Expert Report of J. Pratte (Jun. 8, 2018), ECF No. 99-47 at 70-80, PETA v. Tri-State, 424 F. Supp. 3d
404 (D. Md. 2019).
149
      Id.; Warwick, supra note 82.

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contact with individuals whose expertise in specific aspects of husbandry or clinical care will be
of benefit.
It is my professional opinion that the animals at the Tri-State facility are enduring reduced,
negative welfare states. I have observed no evidence that Defendants possess the necessary
understanding of the basic genetic expectations and husbandry needs of each species/animal, nor
that staff/volunteers attempt to learn about modern best practices or apply current research to their
methodologies. In the previous three Sections, examples of poor environment, lack of appropriate
nutrition and medical care, and evidence of psychological distress were presented. Many of the
enclosures at Tri-State are small, barren environments that do not meet species physiological needs
or industry standards, such as snakes that do not have the ability to hide, choose appropriate
thermal zones, or engage in normal postural adjustments such as stretching out.150 Food is of poor
quality and/or quantity, and diets are not measured and adjusted to meet species’ and individual’s
needs. Little to no attention is paid to species-typical foraging and feeding mechanisms,
understanding of which (and subsequently adjusting management to meet) would increase both
physiological and psychological health. It is the industry standard in modern zoos to incorporate
natural history into improving management programs.151 Clear evidence of Abnormal Repetitive
Behaviors and stereotypic responses exist; while these types of issues are not exclusive to Tri-
State, Defendants show no recognition of these signs of psychological distress, present no dialogue
on potential causes and mitigation goals, nor do they adjust existing management and care
practices when presented with recurring problems. Essential components of generally accepted
animal care practices include assessing and recording behaviors (both typical and atypical) to aid
in assessing health and well-being,152 researching the potential causes of identified signs of
physical or mental distress,153 and then networking and applying potential solutions or mitigating
factors to improve the animal(s)’ experience (which is further measured to gauge success).154
Animals under appropriate stewardship should not endure severe physical distress (Kumar the
tiger, Charlie the cougar) and/or psychological distress (bar-chewing in the black bears) that result
in very poor individual welfare or death. Nor should it require the intervention of external agencies
or organizations attempting to improve the conditions and welfare of animals housed under human
care. If animal suffering is evident to a consultant with (self-professed) minimal experience with




150
      Warwick, supra note 11; Warwick, supra note 82.
151
   Bacon, supra note 60; Cecilie R. Skovlund et al., A Critical Review of Animal-Based Welfare Indicators
for Polar Bears (Ursus maritimus) in Zoos: Identification and Evidence of Validity, 30 ANIM. WELFARE 1
(2021).
152
   Forthman, supra note 127; Paul E. Rose et al., Measuring Welfare in Captive Flamingos: Activity
Patterns and Exhibit Usage in Zoo-Housed Birds, 205 APPLIED ANIMAL BEHAV. SCI. 115 (2018).
153
      Mason, supra note 60.
154
   Parvene Farhoody, Behavior Analysis, The Science of Training, 15 VET. CLIN. EXOTIC ANIM. 361
(2012); Bacon, supra note 60; Zoos Victoria, Zoos Victoria Animal Welfare Code (2018).

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a species, a professional caregiver familiar with industry standards should have noticed and sought
relief long before.155
Industry standards include maintenance of appropriate records addressing the various aspects of
animal husbandry::156
           •   accurate reporting and recording of data and animal records so that it can be readily
               accessed and analyzed; and
           •   regular monitoring of management practices and animal welfare through the use of a
               range of assessment tools.157
The records described above provide the ability to track changes over time (such as a decline in
appetite, health, etc.), rather than rely on subjective, anecdotal recollections. Review of annual and
historic variations aids in improved management of nutrition, seasonality changes, and behavioral
management.158 Transparency and communication for reporting bodies and stakeholders is more
easily facilitated and managed. Reputable zoological facilities maintain records on applicable
aspects of animal care, including, but not limited to:
           •   Acquisition/disposition;
           •   Reproduction;
           •   Veterinary history (including treatment logs);
           •   Nutrition (often including consumption logs);
           •   Behavioral observations (examples below not exhaustive);
                  o Exhibit use
                  o Expression of (of lack of) STBs
                  o Social interactions
                  o Changes or anomalies (physical or psychological)
                  o Seasonal adjustments
                  o Response to medical care
           •   Enrichment provision and assessment;
           •   Operant conditioning (training);
           •   Exhibit and grounds maintenance;
           •   Pest control;
           •   Safety;
           •   Educational impact (number of guests, programs conducted);

155
   See Duncan Dep. 71:10-12, June 30, 2021 (“Would you agree that their dental disease was obvious and
plainly visible in September 2019? A. Yes. Q. And if Tri-State was visually inspecting the bears or
monitoring them in any meaningful way they would have noticed on their own the bear's condition prior to
PETA’s site inspection in September of 2019? A. Correct. id. at 77:5–8 (“Q. Would you agree that the bears
would have been suffering unnecessarily during that period? A. Yes.”).
156
      Skovlund, supra note 154.
157
      Zoos Victoria, supra note 157.
158
      Farhoody, supra note 157.

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           •   Conservation projects and impact; and
           •   Animal welfare.
I have not reviewed records or logs that demonstrate Defendants maintain any type of timely,
current observations or notes. The only consistent records provided were from veterinary
providers, with no correlating facility documents; even these veterinary records were often
incorrect or incomplete. 159 Other records provided for review are inconsistent, missing specific
information, outdated, or even retroactively altered. 160 The lack of appropriate record-keeping and
systems of managing both the facility and the animal collection does not meet minimum AWA
standards in many cases, and does not meet industry standards..

Despite the challenges in reviewing historical records, management protocols and practices, there
exists a framework of understanding that permits an observer to make informed observations on
the conditions of the facility and well-being of the animals. Current science and stewardship
methodologies employ a variety of tools to assess individual animal welfare. Molly Staley et al.
(2018) define animal welfare as a “multifaceted concept that refers to an animal’s collective
physical, mental, and emotional states and is measured on a continuum from very poor to very
good.”161 The role of a caregiver and manager in a facility that remains current with best practices
is to always strive to maintain “very good” or positive welfare states/scores for animals under
human care. This not only creates conditions for animals to thrive, but also to meet modern zoo
aims of conservation, research and education. 162

The Association of Zoos & Aquariums (AZA), following the progressive philosophies and efforts
of organizations such as Zoos Victoria, have defined industry standards, while providing templates
for objective assessment.

           •   AZA Accreditation Standard 1.5.0. The institution must have a process for
               assessing animal welfare and wellness.

               Explanation: This process should be both proactive and reactive, transparent
               to stakeholders, and include staff or consultants knowledgeable in assessing
               quality of life for animals showing signs of physical or mental distress or
               decline. The process should also include a mechanism to identify and evaluate


159
   See, e.g., Gold Dep. 94:5-10, Jul. 22, 2021 (“Q. Did you assess [Rico’s] body condition score? A. I did
a physical on him, his body condition score was good. Q. Why wasn’t it recorded? A. Because these are
basic notes, just so I know what I was looking at when I went there.”) & Exh. 116 (Animal Record for the
parrot, Rico); Id. 78:19–79:15 (testimony regarding error on bear vaccination record).
160
   Compare, e.g., Duncan Dep., Exh. 52, June 30, 2021 with Candy 30(b)(6) Dep., Exh. 137, Aug. 11, 2021
(acquisition info retroactively altered); compare, e.g., Program of Veterinary Care, Vet Visits (Tri-State
Production 000267) (noting exam date as December 16, 2021) with Gold Dep., Jul. 22, 2021, Exh. 113 at
CAH00071 (noting exam date as December 13,2021); see also, e.g., Duncan Dep., Exh. 55, June 30, 2021
(disposition information missing).
161
      Staley, supra note 60.
162
      Rose, supra note 155.

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               the welfare/wellness impacts of significant life events or changes in the
               animal’s environment as identified by the individual institution. Examples of
               life events/changes could include construction events, unusual weather events,
               noise intrusion, change in housing, or changes in animals exhibited with or
               nearby, etc. Animal welfare/wellness refers to an animal’s collective physical
               and mental states over a period of time, and is measured on a continuum from
               good to poor.163
Recognizing that not all facilities will achieve accreditation with organizations such as AZA or the
Global Federation of Animal Sanctuaries (GFAS), it is currently an accepted industry standard to
research, develop and apply a system of measuring and recording animal welfare. Should a facility
not have the background or resources to develop a program specific to their facility and needs,
many examples currently exist online and amidst professional networks and organizations that can
easily be modified or applied to current management practices. I developed one such assessment
tool (see Appendix VI) and have readily shared it with other professionals and facilities (both
accredited and non-) to aid in improving animal welfare in their respective institutions.

Welfare assessment involves examining the enclosures and environments for species-typical
suitability,164 examining management practices in regard to what caregivers provide (“inputs”),
and then measuring behavioral responses to environmental and managerial adjustments to assess
improvement (“outputs”). 165 Other aspects of animal care that are considered in welfare
assessments include, but are not limited to:

           •   Nutritional needs and natural foraging/feeding strategies; 166
           •   Environmental appropriateness, including space, complexity, and structures allowing
               species-typical behaviors (STBs);167
           •   Individual health and quality of experience;168
           •   Provision of and response to enrichment programs;169
           •   Provision of and response to operant conditioning programs; 170
           •   Psychological well-being, including documentation of atypical STBs and ARBs, and
               management programs to address distress. 171


163
   The Accreditation Standards & Related Policies, Ass’n of Zoos & Aquariums, (2021), https://assets.
speakcdn.com/assets/2332/aza-accreditation-standards.pdf.
164
      Forthman, supra note 127.
165
      Rose, supra note 155; Skovlund, supra note 154.
166
      Januszczak, supra note 74.
167
      Bacon, supra note 60; Staley, supra note 60.
168
      Staley, supra note 60.
169
      Bacon, supra note 60; Staley, supra note 60.
170
      Whittaker, supra note 96.
171
      Bacon, supra note 60; Mason, supra note 60.

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The observations and expert opinions rendered in this report follow the principles and applications
of current animal welfare science. Understanding and use of these tools, and the philosophies and
ethics behind them, are hallmarks of industry best practices.

           For animals under professionally managed care, it is not only our ethical
           responsibility, but also our scientific imperative, to continue to advance animal
           welfare science and improve best management practices. 172

Throughout my in-person site inspections of Tri-State and review of extensive documents across
several years, I have not observed any understanding of the concept of individual animal welfare.
Nor have I examined any evidence of management or husbandry practices that indicate awareness
of even the guiding principles. While Mr. Candy appears to care about the animals at the facility,
he has not demonstrated any knowledge or skill in appropriately caring for the animals.
Consequently, it is my professional opinion that the animals at Tri-State, individually and as a
collection, are experiencing “very poor” welfare. This does not meet minimum AWA or industry
standards..

The following observations were included in my previous expert report from June 2018. I am
providing historic perspective to illustrate that the animals previously experienced, and continue
to endure, “very poor” welfare.
Historic observations:
       •   Animals were in poor health and physiological state. Specifically, I observed significantly
           underweight hoofstock, limping animals, overgrown hooves on several animals, and
           lethargic or unresponsive individuals.
       •   Inappropriate, species‐atypical housing and conditions: i.e., porcupine with no
           trees/canopy to rest/hide in; fox enclosure with no outside dens; lack of perching or resting
           options for multiple species; kinkajous living in dark, unventilated area in old bird
           cages.213
       •   Reptile house symptomatic of ALL issues (Figures 18 and 19): animals in fetid, stagnant
           water; improper food choices left spoiling and contaminated on floor; no temperature or
           humidity monitoring or management; atypical grouping with no means of evading other
           animals; lack of proper lighting for ultraviolet and physiological needs; accumulating of
           weeks (or more) of animal waste; evidence of rodent activity; lack of clean, sanitary
           surfaces or environments; no ventilation or insulation; underweight, inactive animals; no
           enrichment or appropriate environmental structures.214 I also observed a small snake in
           a clear, empty holding container that appeared to be dead. The snake feebly moved in
           response to Mr. Candy banging on a case on the adjacent counter. A squirrel monkey was
           also inappropriately housed with natural predators in the reptile house.
       •   Inappropriate social housing resulting in chronic psychological distress and impairment
           of species typical behaviors: solitary Squirrel monkey (large troop), solitary Capuchin
           (large troop), solitary Singing dog (pair with mate, family structure).



172
      Staley, supra note 60.

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       •   Animals exhibiting signs of psychological distress: signs of horses and hoofstock
           “cribbing,” or chewing on edges of structure (a recognized coping behavior; Figures 16
           and 20); small horse banging its head against structure repeatedly for > 15 minutes;
           animals pacing or inactive at atypical times; and a Singing dog continuously whining and
           vocalizing.
       •   I also observed inappropriate and unnecessary human contact, including Mr. Candy
           reaching both arms into the cougar cage (Figure 21) and an apparent volunteer disturbing
           and then poking/petting clearly distressed/agitated kinkajous.173




5. SUMMARY
In my professional opinion, Defendants do not possess the background, experience, or resources
to properly care for the animals at Tri-State.174
With regard to Tri-State’s lack of resources, its current consulting veterinarian testified that his
office “probably gave [Mr. Candy]” a discount on veterinary bills because Mr. Candy “doesn’t
have a lot of resources,” and “he can use all the help he can get.” 175 Despite Dr. Gold’s admirable
attempts to reduce the financial impact on Mr. Candy, this does not improve the experience or
welfare of the animals, particularly in light of Mr. Candy’s history of “chronically declin[ing]
intervention and . . . delayed treatment” for animals, including preventative care measures such as
vaccination and parasite screening, medications and medical procedures, diagnostics, and
euthanasia.176
Mr. Candy defends his personal methodologies and “expertise,” though he chooses to remain
separate from professional networks that exist to provide support to animal caregivers and
managers. Husbandry and welfare should not be compromised due to lack of understanding. 177
I feel a professional imperative to briefly discuss one final topic. From arrival at the Tri-State
roadside facility (Fig. 1), the visitor experience is one of disrepair, clutter, and barren conditions.
Buildings are dilapidated, and signs and graphics faded and worn. Animals that do not represent
healthy versions of their species/breed are visible everywhere, and exhibits are run-down, lacking

173
   Expert Report of J. Pratte (Jun. 8, 2018), ECF No. 99-47 at 80, PETA v. Tri-State, 424 F. Supp. 3d 404
(D. Md. 2019).
174
   See, e.g., Duncan Dep. 224:4-8, June 30, 2021 (“Q. Do you think the animals in Mr. Candy’s care would
be better off at a reputable facility that has the resources and staff to properly care for the animals? A.
Yes.”).
175
   Gold Dep. 104:16–105:6, Jul. 22, 2021 (“Q. And what do you mean by trying to help the guy out? A.
He doesn't have a lot of resources, so, you know, we try to give as many breaks as possible, but, you know,
drugs and stuff are expensive. So people that need extra help, we try to help as much as possible. Q. Did
Mr. Candy – A. . . . [W]e probably gave him a discount because he can use all the help he can get.”).
176
      See, e.g., Duncan Dep. 11:6–15, 13:5–20, 43:11–25, 51:9–14, 55:17–20, 56:11–22, June 30, 2021.
177
      Januszczak, supra note 74.

                                                    69
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Pursuant to 28 U.S.C. § 1746, I, Jason Pratte declare under penalty of perjury that the foregoing is
true and correct.

EXECUTED on this 10th day of September 2021.




                                              __________________________

                                              Jason Pratte




                                                71
                                                                    APPENDIX
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Jason Pratte, M.A.
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Utica, NY 13501
(404)788-4788
jaypratte@gmail.com

Education

2008- 2011            George Mason University                                          Washington, D.C.
M.A., Interdisciplinary Studies Department, Association of Zoos and Aquariums Zoo and Aquarium
Leadership program, Collection Management focus.

1989- 1994            University of Alberta                                            Edmonton, Alberta
B.S., Major in Zoology, Minor in Behavioral Psychology

Professional Positions
2021 – Present       Utica Zoo                                                        Utica, NY
Director of Animal Care, Conservation & Education
    Senior executive manager, providing full institutional coverage when Executive Director is absent.
    Develop and implement progressive behavioral management and care programs for zoo.
    Master and Strategic planning. Exhibit design and restructuring.
    Institutional budget planning and management.
    Emergency Response Team leader; evolve program to exceed AZA guidelines, plan/implement drills.
    Development and implementation of wellness assessment standards and measurement tools.
    Develop advanced and progressive medical training programs with veterinary staff for both institutions.
    Develop public training demonstrations and interactive animal programs.
    Develop/manage institutional training program: skill development, assessment, record-keeping.
    Foundation donor and VIP tours and demonstrations.
    Collaborate with Utica College, guiding senior Animal Behavior students through research methods to
       solve behavioral concerns within collection.
    Develop/implement AZA training, enrichment and welfare philosophies and assessment protocols.
    AZA Animal Welfare Committee IR.


2010 – 2021            Omaha’s Henry Doorly Zoo and Aquarium                          Omaha, NE
Behavioral Husbandry & Welfare Manager
    Acting Director as requested or required when senior management absent.
    Develop and implement progressive behavioral management and care programs for zoo and satellite
       safari park facility.
    Master and Strategic planning. Exhibit design and restructuring.
    Budget planning and management.
    Emergency Response Team leader; evolve program to exceed AZA guidelines, plan/implement drills.
    Development and implementation of wellness assessment standards and measurement tools.
    Develop advanced and progressive medical training programs with veterinary staff for both institutions.
    Develop public training demonstrations and interactive animal programs.
    Develop/manage institutional training program: skill development, assessment, record-keeping.
    Foundation donor and VIP tours and demonstrations.
    Collaborate with University of Nebraska, Omaha service learning program, guiding senior Animal
       Behavior students through research methods to solve behavioral concerns within collection.
    Develop/implement AZA training, enrichment and welfare philosophies and assessment protocols for
       zoo, aquarium and wildlife safari park.
    AZA Animal Welfare Committee IR.
             Case 1:20-cv-01225-PX Document 71-25 Filed 12/20/21 Page 73 of 180
2014 - present        University of Nebraska Omaha                                      Omaha, NE
Adjunct Professor
    Animal Behavior. Primary instructor; Spring session, 2016. Co-instructor for Fall Animal Behavior lab,
       responsible for choosing, assigning and monitoring appropriate Service Learning projects that will
       benefit both Zoo and students.
    Animal Welfare & Human Influence. Primary instructor; Spring session, 2013 - 2019. Developed and
       taught course in conjunction with Dr. Rosemary Strasser.

2003 - 2010         Zoo Atlanta                                                         Atlanta, Georgia
Program Animals Manager (07-10)
     Daily husbandry of diverse animal collection, including collection planning and acquisitions.
     Training and enrichment program management.
     Developed animal handling protocols and manual for staff and volunteers.
     Public shows, education programs, keeper talks/encounters.
     Staff and volunteer management, scheduling.
     Media and public relations representative for zoo.
     Emergency Response planning and evaluation.

Giant Panda Keeper II (03-04) Keeper III (05-07)
    Program management of adult giant pandas and cub(s).
    Research and data collection.
    Managed operant conditioning program (husbandry and medical).
    Exhibit enhancement and design.
    Conducting educational programs.
    Developed training program at Panda Research Base in Chengdu, China.
    Coordination of A.I., pregnancy, and successful panda birth and rearing.

1999 – 2003         Dallas Zoo                                                         Dallas, Texas
Senior Mammal Keeper
    Daily care and maintenance wide range of taxa.
    Management of Tiger & Mandrill training programs.
    AAZK chapter vice-president.; co-chair for 2004 AAZK Conference.
    Co-chair Enrichment Approval Committee.
    Emergency Weapons Team member/Safety Officer.
    Supervising volunteers; mentoring entry-level staff.

1998 - 1999         Little Rock Zoo                                                    L. Rock, Arkansas
Carnivore Keeper
    Daily care and maintenance of several species in various taxa.
    Operant conditioning for numerous species.
    Enclosure design; environmental enrichment.
    Supervised volunteers and swing keepers.
    Explorer post advisor; active AAZK member.
    Emergency Response Team leader.
    Hand rearing.

1996 – 1997         Calgary Zoo                                                   Calgary, Alberta
Seasonal Zookeeper
    Daily husbandry (carnivores, primates, hoofstock, invertebrates).
    Supervision of zoo labourers, volunteers, docents.
    Education programs for visitors and VIPs.
    Developed operant conditioning and enrichment programs for numerous species.
              Case 1:20-cv-01225-PX Document 71-25 Filed 12/20/21 Page 74 of 180
1994 – 1996        Contract Animal Trainer                                         Vancouver, B.C.
Contract Work; Canadian Film Industry
    Operant conditioning (specializing in carnivores) for film and television.
    Daily husbandry of captive exotics.
    Handling and restraint of dangerous species.
    Supervision and safety of personnel on film sites.

1992 – 1994          Al Oeming’s Polar Park                                        Edmonton, Alberta
Head Keeper – Park Manager
    Daily husbandry (extensive carnivore, hoofstock and bird experience).
    Hand-rearing (wolverines, bobcats, porcupine, various ungulates).
    Operant conditioning for behavioural husbandry.
    Managed wolverine and cheetah breeding programs.
    Supervised, hired, trained, & scheduled personnel
    Initiated and coordinated volunteer program.
    Conducted park tours and conservation lectures.
    Responsible for all media and public relations.
    Liaised with gov’t agencies on CITES & SSP projects.

Awards and Honors
   2011 American Association of Zookeepers Excellence in Journalism Award for publication “Training
     Bears for Voluntary Blood Collection”
   2016 Director’s Award from the Omaha Henry Doorly Zoo & Aquarium for successfully hosting the
     international Advancing Bear Care conference in Omaha, NE.

Professional Certification and Training
    Critical Incident Stress Management Certification (Initial and Advanced)
    FEMA Certification: Incident Command [ICS-100, 200, 700]
    Aquatic Animal Welfare Certificate: The Aquarium Vet, 2020
    Optimal Welfare of Aging Animals: Animal Behavior Concepts, San Francisco, 2016

Papers at Professional Conferences
    Creating Habitats from a Whole Lotta Nothin'. Proceedings, AAZK National Conference, 1999.
    Training Three Juvenile Indochinese Tigers from Scratch. Proceedings, AAZK National
      Conference, 2001.
    Free Trip to Africa. Proceedings, AAZK National Conference 2002.
    Expanding our Career Horizons: A Panda Department’s Journey. Proceedings, AAZK National
      Conference, 2004.
    Teaching Operant Conditioning Methods and Training Program Management in China. Proceedings,
      AAZK National Conference, 2006.
    Formation of a Critical Incident Stress Management Team at the Dallas Zoo. Proceedings, AAZK
      National Conference, 2006.
    Giant Pandas and Research: Spatial Memory Recall and Training Methods. Proceedings, AAZK
      National Conference, 2007.
    Training Bears for Voluntary Blood Collection. Advancing Bear Care, San Francisco, CA, 2009.
    Basic Bear Training Techniques. Advancing Bear Care, Banff, Alberta, Canada, 2011.
    Xenoglossy: What are they really hearing? Advancing Bear Care, New Jersey, 2013.
    Bärle’s Story: A Model of Behavior-based Husbandry. Capstone address, Advancing Bear Care,
      Omaha, 2016.
    Finding Common Ground in Animal Law. Capstone address with Brittany Peet, Director of CALE,
      Advancing Bear Care, Scotland, 2019.
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Conferences and Symposia
   National Behavioral Husbandry Committee member since 2001. Worked with committee to present
      training and husbandry workshops at the national conferences in 2001, 2002, 2004, 2006, 2007.
   Bear “Training 101” workshops at international Advancing Bear Care conferences in 2007, 2009, 2011.
   Advancing Bear Care conference, Pomona, CA, 2007: Goal and training program planning workshop
      for bear managers in China.
   Advancing Bear Care conference, San Francisco, CA, 2009: Voluntary bear blood collection training
      workshop.
   Advancing Bear Care conference, Banff, Alberta, 2011: Management of giant pandas; focus group.
   Advancing Bear Care conference, New Jersey, 2013. Advanced operant conditioning techniques and
      program management.
   USDA “Lions, Tigers and Bears” Symposium, Kansas City, MO, July, 2014. Using Operant Conditioning
      Techniques for Long-Term Behavioral Management.
   Advancing Bear Care workshop, Brasov, Romania, October, 2014. Training 101; Comprehending
      Learning; Practicum at Brasov Zoo.
   Advancing Bear Care workshop, Hanoi, Vietnam, October/November, 2015. Training 101;
      Comprehending Learning; Practicums at Hanoi Zoo & Animals Asia Sanctuary at Tam Dao.
   Advancing Bear Care conference, Omaha, Nebraska, 2016. Presented lectures on Behavior-based
      Husbandry, Operant Learning, and Advanced Welfare Practices.
   Zoos and Aquariums as Welfare Centres: Ethical Dimensions and Global Commitment, Detroit, MI, May
      2017. WAZA and CZAW invitation-only International Welfare Symposium.
   ISZAW 3rd International Symposium on Zoo Animal Welfare, Chicago, IL, October 8-10, 2017.
   Advancing Bear Care workshop, Agra, India. December 2018. Behavior-based Husbandry Techniques;
      Operant Conditioning and Program Management; Practicum-Wildlife SOS Agra Bear Rescue Facility.
   Advancing Bear Care conference, Scotland, 2019. Presented lectures on Behavior-based Husbandry,
      Operant Learning, and Advanced Welfare Practices, Animal Law collaborations.

Courses Taught
   Animal Welfare & Human Influence. Spring session, 2013-2019. University of Nebraska, Omaha.
      Developed and taught course in conjunction with Dr. Rosemary Strasser.
   Animal Behavior. Spring session, 2016. Co-instructor for Fall session Animal Behavior lab, Fall 2016.
   Captive Wildlife Management. Spring session, 2014-2018. Guest lectures on Operant Conditioning
      Techniques and Zoological Case Studies for Dr. Heather Bacon at the University of Edinburgh.

Student Presentations at Local Conferences
    Peterson, M. & Kube, E. (April 2011). Predictors of Ear Clasping Behavior in Western Lowland Gorilla.
      [poster] UNO Research & Creative Activity Fair
    Bruns, K. (April 2012). Zebra Shark Training. [poster] Omaha Metropolitan Science Fair

Peer-Reviewed Publications
    It’s What They Do. The Shape of Enrichment, Vol.12, No.4, November 2003

   Options for Training Side Presentation in Large Canids and Felids. Animal Keeper’s Forum, Vol. 30,
   No. 9, September 2003. P 390-391.

   The Four Faces of Operant Conditioning. AAZK Animal Keeper’s Forum, Vol. 34, No. 11, November
   2004.

   Don’t Shoot the Keeper: A Practical Guide to Training Your Co-workers. Pratte and Binney, AAZK
   Animal Keeper’s Forum, January 2005.

   Tools of the Trade: Variety is the Spice of Life. AAZK Animal Keeper’s Forum, Vol. 32, No. 6, July 2005.

   Teaching Operant Conditioning Methods and Training Program Management in China. AAZK Animal
   Keeper’s Forum, October 2006. P 420-426.
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   Formation of a Critical Incident Stress Management Team at the Dallas Zoo. Fitzgerald et al. Special edition
   on Crisis Management in Zoos. Animal Keepers’ Forum, Vol. 34, No. 11/12, Nov/Dec. 2007. P 502-505.

   Making a Connection with Keeper Talks. Pratte and Cavarra, AAZK Animal Keeper’s Forum, February 2007. P
   80-84.

   Proper Use of Cues. AAZK Animal Keeper’s Forum, Vol. 36, No. 9. September 2009. P 376-379.

   Spatial Memory Recall in the Giant Panda (Ailuropoda melanoleuca). Perdue, et al. Journal of Comparative
   Psychology, Vol 123, No.3, 2009. P 275-279.

   Training Bears for Voluntary Blood Collection. AAZK Animal Keeper’s Forum, Vol. 37, No. 6. June 2010. P
   281-288.

   When Maintenance Doesn’t Require a Work Order. Pratte and Kezer, AAZK Animal Keeper’s Forum, Vol
   38, No 1, January 2011. P 18-20.

   Ideas to Help New Training Programs. AAZK Animal Keeper’s Forum, Vol 39, No 3, March 2012. P 139-141.

   Ideas to Help New Training Programs (Part 2). AAZK Animal Keeper’s Forum, Vol 39, No 6, June 2012. P
   282-286.

Invited Lectures and Presentations
     2005: Invited to Chengdu Base of Giant Panda Breeding and Research in China. Taught
       advanced operant conditioning methods and development of a behavioral husbandry program.
     2008: Georgia Tech. Career opportunities for students with zoological degrees.
     2009: Georgia State University. Collaboration between educational, medical and zoological institutions.
     Spring 2012: Omaha Rotary. Training, Enrichment and Research at Omaha’s Henry Doorly Zoo.
     Spring 2012: University of Nebraska Omaha. Animal Behavior course; Communication & Behavior.
     Fall 2012: Omaha Women’s Network. Behavior, training methods and applications for managers.
     USDA “Lions, Tigers and Bears” Symposium, July, 2014. Using Operant Conditioning Techniques for
       Long-Term Behavioral Management. Invited as keynote speaker by APHIS, USDA and HSUS.
     Summer 2015: Mutual of Omaha. Communication and Management; Reinforcement Methods Applied
       to a Business Model.
     Spring 2016: Turpentine Creek Wildlife Refuge. Invited as a team leader to develop facility-wide training
       programs. Two-day workshop/presentation for staff.
     Spring 2016: Nebraska Humane Society. Advanced Operant Conditioning Techniques and Program
       Management. Case studies from a comparative zoological perspective. Invited by the Director of
       Behavior and Training.
     December 2018: Wildlife SOS. Training and enrichment workshop at Manikdoh Leopard Center in
       India. Aided in staff skill development and development of long-term program goals.

Professional Affiliations
    Member American Association of Zookeepers, National and Chapter. Past VP and Secretary.
    Professional member Association of Zoos and Aquariums.
    President and founding director of the Bear Care Group.
    Big Cat Sanctuary Alliance: Advisory Committee- Animal Husbandry

Professional Service
    Column editor and contributor for Animal Keeper’s Forum “Training Tales”.
    Professional animal welfare and behavior consultant for USDA and numerous NGOs.Recognized
      expert witness in Animal Husbandry, Animal Behavior, and Animal Welfare in multiple US Federal court
      circuits. Collaboration as same with State Attorney General offices.
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Community Service
   Active volunteer and board member with Mid-America Rottweiler Rescue (currently vice-president)
    and Midwest Dog Rescue Network in Nebraska and Iowa. Foster provider, intake/home assessor,
    and behavior consultant.
   FETCH volunteer and training advisor for Nebraska Humane Society and Midlands Humane
    Society. Behavior consultant for both organizations; French bulldog and Rottweiler foster.
   2015: Published a comprehensive adoption manual in three sections for the European NGO Love
    Underdogs; Adoption Handbook, Training Handbook, and Nutritional Guidelines.
   2009: Drafted an animal behavior and aggression-management manual for Atlanta Fulton County
    Humane Society. Conducted personality and behavioral assessments on new intake animals.
   2002: Worked with municipal juvenile detention facility on reward and recognition incentives for
    participation in the institution’s dog training rehabilitation program.
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                                                                                               jaypratte@gmail.com
Omaha’s Henry Doorly Zoo & Aquarium
w/ Lee G. Simmons Conservation Park & Wildlife Safari                                          2010 – Present

          •   Leading 16 Animal Care areas & Animal Health department in progressive husbandry, management and
              welfare assessment/development for the zoo, aquarium, and satellite safari park facilities.
          •   Acting Director as requested or required; lead all zoo departments (including PR, Guest Services,
              Grounds) and manage daily operations.
          •   Budget planning and management for Animal Care department; capital budgets for exhibit design.
          •   Work with executive leadership and board of directors to plan and meet annual goals.
          •   Master (10 and 20 yr) and Strategic (5 yr) planning and goal setting; exhibit design and development.
          •   Collection and C2S2 planning and management.
          •   Personnel leadership: Coordinator, 16 supervisors >100 FT/PT animal care staff; >30 Docent volunteers.
          •   Emergency Response Team leader, including AZA compliance and drill planning.
          •   FEMA Certification: Incident Command: ICS-100 (Incident Command System); ICS-200 (ICS for Initial
              Action Incident); ICS-700 (National Incident Management System).

Association of Zoos & Aquariums, George Mason University                                       2008 – 2011

          •   Completed MAIS degree in AZA Zoo & Aquarium Leadership Science: Focus on Collection Planning.
                 o SSP Management, Leadership Skills, Non-Profit Management.
                 o Professional media training.
                 o Fundraising and capital planning.

Bear Care Group                                                                                2007 – Present

          •   Founding board member of international non-profit; held Treasurer, Secretary and Vice-President roles.
          •   Current President, since 2014. Lead seven directors, >20 volunteers.
          •   Plan and lead international workshops and conferences in progressive bear management practices.
          •   Liaise with global NGO’s and legislative bodies (including OSHA, USDA, CITES).
          •   Engage donors and sponsors; develop fundraising and grant programs.

University of Nebraska at Omaha                                                                2010 – Present

          •   Develop curriculum/materials; instruction of classes and labs at senior level.
          •   Coordination of Service Learning Program.
          •   Designing and managing animal care departments’ behavioral research projects.

American Association of Zookeepers                                                             1999 – Present

          •   Behavioral Husbandry Committee leader 2002 – 2016; currently editor of professional journal.
          •   Grants Committee 2006 – 2016; developed qualitative applicant assessment tool.

Mid-America Rottweiler Rescue                                                                  2011 – Present

          •   Invited to Board of Directors, current Vice-President.
          •   Lead a diverse team of ten directors and >50 volunteers in improving fundraising and education efforts.
          •   Plan and host annual fundraising and outreach event.
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                                                                                                    jaypratte@gmail.com
Zoo Atlanta                                                                                         2003 – 2010

            •   Personnel management; nine FT staff, three PT, >75 interns/volunteers.
            •   Coordinated Docent and Volunteer programs; developed institutional Program Animal Manual.
            •   Emergency Response Team leader.
            •   Liaised with Ministry of Recreation in China.
            •   Institutional media representative.

Dallas Zoo                                                                                          1999 – 2003

            •   Department leadership: ExxonMobil Tiger Habitat, Primate Place, Lemur Plaza.
            •   Critical Incident Stress Management Certification (Initial and Advanced).
            •   ERT and Emergency Weapons Team leader.

Related Training
            •   Managing Millennials.
            •   Addressing Harassment in the Workplace.
            •   Personality Profiles and Compatibility.
            •   Zoo ERT and Municipal Response Training.
            •   Active Shooter Response.
            •   Gallup© Strengths Insight assessment [below].

Gallup© StrengthsFinder 2.0 Report
Input:   People who are especially talented in the Input theme have a craving to know more. Often they like to collect
and archive all kinds of information. “It’s very likely that you might yearn to acquire certain types of knowledge and/or
master specific skills; your hard work prepares you to move forward with particular projects,
assignments, or action plans.”

Individualization:          People who are especially talented in the Individualization theme are intrigued with the unique
qualities of each person. They have a gift for figuring out how people who are different can work
together productively. “Driven by your talents, you may be able to mix and match certain people’s talents, skills,
knowledge, experiences, educational levels, and/or ages. Maybe you gain some insights about the ways particular
individuals respond to one another when they are facing challenges or solving problems.”

Strategic:      People who are especially talented in the Strategic theme create alternative ways to proceed. Faced with
any given scenario, they can quickly spot the relevant patterns and issues. “It’s very likely that you might easily detect
unusual configurations or spot new trends in data or factual information. Because of your strengths, you can reconfigure
factual information or data in ways that reveal trends, raise issues, identify opportunities, or offer solutions.”

Achiever:      People who are especially talented in the Achiever theme have a great deal of stamina and work hard.
They take great satisfaction from being busy and productive. “Because of your strengths, you are quite determined to
enhance your talents rather than waste time worrying about your limitations. You often experience bursts of rapid growth
each time you can use your talents, knowledge, and/or skills.”

Responsibility:         People who are especially talented in the Responsibility theme take psychological ownership of
what they say they will do. They are committed to stable values such as honesty and loyalty. “By nature, you conduct
yourself in an exceptionally mature and orderly fashion. Many individuals regard you as an expert in your field. They
probably notice you are organized, reliable, dependable, and efficient. When people acknowledge these traits, you are
motivated to use them on a daily basis.”
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                                                                                                 jaypratte@gmail.com
Lewa Wildlife Conservancy                                                                     2001 – Present

         •     Annual fundraising through the American Association of Zookeeper’s “Bowling for Rhinos”
         •     Participation in community-based conservation
         •     Care and support of injured or orphaned wildlife
         •     Training in Conservancy security and tracking measures
         •     Conservation assessment and goal discussions with Lewa and Il Ngwesi leaders
         •     Training in community development: water access/retention, schools, medical centers, fiscal and grant
               allocation programs, sourcing local cultural industry
         •     Eco-tour planning, support and leadership
         •     Advocacy and education in North America

Wildlife SOS                                                                                  2007 – Present

         •     Annual fundraising through OHDZA grant programs, product sales and the Bear Care Group
         •     Participation in community-based conservation
         •     Care and support of injured or orphaned wildlife; participate in wildlife rescue
         •     Conservation assessment and goal discussions for:
                   o Bears
                   o Elephants
                   o Leopards
                   o Tigers
         •     Conference and workshop presentations in North America and India to aid in regional and staff
               professional development
         •     Site visitation and grant proposals for Ramdurg – Daroji Sloth Bear Habitat Restoration Project
         •     Site visitation and staff training at Agra and Bennerghatta bear rescue sanctuaries and Manikdoh
               leopard rescue center
         •     Advocacy and education in North America

Animals Asia                                                                                  2007 – Present

         •     Annual fundraising through OHDZA grant programs and the Bear Care Group
         •     Participation in community-based conservation addressing bear bile farms and dog meat issues
         •     Conference and workshop presentations in North America and Vietnam to aid in regional and staff
               professional development
         •     Site visitation and staff training at Chengdu and Vietnam sanctuaries
         •     Advocacy and education in North America

Chengdu Research Base of Giant Panda Breeding                                                 2003 – 2010

         •     Site visitation and staff training
         •     Professional development courses for base staff, taught in Chengdu and North America
         •     Breeding and AI procedures with giant pandas
         •     Research on maternal care, operant learning, and spatial memory
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Hauser Bears / Love Underdogs                                                             2007-Present

        •   Development of annual grant to support professional development in field of bear care
        •   Published columns and documents for newsletters and stakeholders addressing feral dog issues
            throughout Romania
        •   Site visitation and staff training in Romania
        •   Management of sponsorships for Advancing Bear Care conferences

Bear Care Group                                                                           2007 – Present

        •   Build and maintain collaborative efforts; create and present professional development programs;
            support welfare and conservation initiatives of:
                o Libearty Bear Sanctuary Zarnesti, Romania
                o Polar Bears International
                o The Winton Foundation
                o IFAW
                o Four Paws International
                o Bornean Sun Bear Conservation Centre in Sandakan, Sabah
                o Spectacled Bears Conservation Society, Peru
                o Northern Lights Wildlife Society, British Columbia
                o Woodlands Wildlife Refuge, New Jersey

American Association of Zookeepers                                                        1999 – Present

        •   Build and maintain collaborative efforts; create and present professional development programs;
            support conservation initiatives of:
                o Lewa Wildlife Conservancy in Kenya, Africa
                o International Rhino Foundation
                o Action for Cheetahs in Kenya, Africa
                o Ujung Kulon National Park in Java, Indonesia
                o Bukit Barisan Selatan National Park in Sumatra, Indonesia
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                           中国黑熊救护中心图片库
                       非食物类趣味物品&草场固定设施




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Version:   4
Updated:   October 2012 by Mei Lun Mui
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Macaque enrichment 猕猴趣味物品

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         All other toys – refer to bear enrichment photographs   其他玩具— 参照熊用趣味物品图片



Toy contacts   玩具联系人
          o    Aussie dog           澳斯狗狗用品                                                  59
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Novel enrichment: non-natural items – Balls
大号球-无孔                                     中号球-无孔                                   小号球-无孔




Ball large – no holes     CODE: NNB001     Ball medium – no holes CODE: NNB002      Ball small – no holes   CODE: NNB003

大号球-有孔                                     小号球-有孔




Ball large – with holes   CODE: NNB001.1   Ball small – with holes CODE: NNB003.1


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Novel enrichment: non-natural items – Balls
光滑球-无孔                                        光滑球-有孔




Boomer ball no holes   CODE: NNB004           Boomer ball with holes   CODE: NNB004

带环的食球                                         带环的食球




Food ball with ring    CODE: NNB005           Food ball with ring      CODE: NNB005
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Novel enrichment: non-natural items – Balls
有带子的球                                     串联彩色塑料球




Ball with thong            CODE: NNB006   Ping’s pearls        CODE: NNB007

河马球（大）




Hippo ball (large)   CODE: NNB008

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Novel enrichment: non-natural items – Balls

带管子的球                                         带管子的球




Fum tube ball               CODE: NNB009      Fum tube ball




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Novel enrichment: non-natural items – Kongs
橡胶球-红                                        橡胶球-红




Kong – red            CODE: NNK001            Kong - red

橡胶球-黑                                         橡胶球组合（转运笼专用）




Kong – black          CODE: NNK002            Kong combination (TC’s only)
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Novel enrichment: non-natural items - Feeder tubes
黑色喂食筒（垂直）                                     黑色喂食筒（垂直）




Black feeder tube (vertical)   CODE: NNF001   Black feeder tube (vertical)

黑色喂食筒（水平）                                     黑色喂食筒（水平）




Black feeder tube (horizontal) CODE: NNF002   Black feeder tube (H)

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Novel enrichment: non-natural items - Feeder tubes

蓝色喂食筒（小）                                黄色喂食筒（大）




Blue feeder tube (S)   CODE: NNF003     Yellow feeder tube (L) CODE: NNF004

PPR 喂食筒（大）                              PPR 喂食筒（大）




PVC feeder tube (L)    CODE: NNF005     PVC feeder tube (L)

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Novel enrichment: non-natural items – Tyres
轮胎（中）                                                    轮胎（中）




Tyre (medium)                           CODE: NNT001     Tyre (medium)




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Novel enrichment: non-natural items – Tyres

轮胎（大）                                   轮胎（大）




Tyre (Large)     CODE: NNT002           Tyre (Large)




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Novel enrichment: non-natural items – Tyres

卡车轮胎（巨大）                                                  卡车轮胎（巨大）




Truck tyre (giant)                CODE: NNT003           Truck tyre (giant)




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Novel enrichment: non-natural items – Tyres

轮胎组合




Tyre combination                   CODE: NNT004




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Novel enrichment: non-natural items – Drums

蓝色桶（大号有孔）                                           蓝色桶（大号无孔）




Drum (Large with holes)            CODE: NND001      Drum (Large no holes)              CODE: NND001.1




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Novel enrichment: non-natural items – Drums


白色塑料汽油桶（没有使用）                                             白色塑料汽油桶（没有使用）




White plastic cannister                  CODE: NND002     White plastic cannister                   CODE: NND002




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Novel enrichment: non-natural items – fire hose toys

消防带条形玩具                                                    消防带方形玩具




Firehose browse hanger             CODE: NNH001           Firehose cube                 CODE: NNH002




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Novel enrichment: non-natural items – Miscellaneous

噪音玩具                                                  PPR 梯形玩具（转运笼专用）




Noise toy                            CODE: NNM001     PVC ladder (TC only) CODE: NNM002

浮枕（有带子&无带子）                                           浮枕（有带子）




Floating pillow (with & without thong) CODE: NNM003   Floating pillows (with thong)

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Novel enrichment: non-natural items – Miscellaneous

交通三角锥                                                                       蹦极带




Traffic cone                                              CODE: NNM004      Bungee (fum tube ball attached) CODE: NNM005




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Novel enrichment: non-natural items – Miscellaneous

趣味网兜




Nylon net              CODE: NNM006            Nylon net        CODE: NNM006


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Novel enrichment: non-natural items – Miscellaneous

金属盆（草场）                                                               金属盆（舍内）




Metal pool (enclosure)                         CODE: NNM006           Metal pool (den)      CODE: NNM007




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Novel enrichment: natural items – Bamboo & wood
趣味粗竹筒                                            趣味粗竹筒（悬挂）                     竹制旋转玩具（固定）




Bamboo feeder tube         CODE: NBW001          Bamboo feeder hanging         Bamboo spinning toy (fixed) CODE: NBW003

竹制组合玩具（悬挂）                                 竹制组合玩具（悬挂）                          竹制梯形玩具




Bamboo toys (hanging) CODE: NBW004        Bamboo toys (hanging)          Bamboo Ladder CODE: NBW002

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Novel enrichment: natural items – Bamboo & wood
秋千（竹制）                                                          秋千（木制）




Swing (bamboo)                        CODE: NBW005              Swing (wood)      CODE: NBW005
吊床（竹制）




Hammock (bamboo)       CODE: NBW006

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Novel enrichment: natural items – Bamboo & wood

趣味圆木                                           趣味圆木




Log Treat              CODE: NBW007            Log treat




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Novel enrichment: natural items – Bamboo & wood
大号悬挂圆木                              大号悬挂圆木




Large hanging log CODE: NBW008      Large hanging log

悬挂园木玩具                              悬挂圆木玩具




Hanging log toy      CODE: NBW009   Hanging log toy
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Novel enrichment: natural items – Miscellaneous
麻袋（松）                                                 麻袋（悬挂）




Hessian Sack (loose)         CODE: NMH001            Hessian sack (hanging)

绳球                                                  天然扫把（高粱）




Rope toy                     CODE: NMR001            Natural broom (straw)        CODE: NMB001
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Environmental enrichment – enclosure fixtures

攀爬架                                                         攀爬架（带草的斜坡）




A-frame platform                         CODE: EEA001           A-frame platform (with grass ramp)




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Environmental enrichment – enclosure fixtures

攀爬架（带水泥支撑柱）                                           棕熊攀爬架




A-frame platform (with concrete support post)             Brown bear platform                 CODE: EEA002




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Environmental enrichment – enclosure fixtures
三脚架（单）                                                   三脚架（双）




Play structure (single)            CODE: EEP001           Play structure (double)             CODE: EEP001.1

三脚架（小）




Play structure (small)             CODE: EEP001.2
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Environmental enrichment – enclosure fixtures

A 字架                                                                  A 字架




Teepee                                   CODE: EET001                 Teepee




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Environmental enrichment – enclosure fixtures
大型水泥洞（带圆木堆）                                             大型水泥洞（带草）




Concrete tunnel large (w log pile) CODE: EEC001         Concrete tunnel large (w grass)
超大型水泥洞（带石头堆）




Concrete tunnel super large (w boulders) CODE: EEC002

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Environmental enrichment – enclosure fixtures

小型水泥洞，水平                                                  水泥洞，垂直




Concrete tunnel small horizontal   CODE: EEC003           Concrete tunnel vertical   CODE: EEC003.1




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Environmental enrichment – enclosure fixtures

消防带吊床                                                     消防带吊床




Fire hose hammock                  CODE: EEH001           Fire hose hammock




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Environmental enrichment – enclosure fixtures
木桌                                                   木桌




Table                        CODE: EEW001            Table


平台（带迷宫）                                              迷宫（带平台）




Table (in maze)              CODE: EEW002            Maze (w table)               CODE: EEW003

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Environmental enrichment – enclosure fixtures




金属篮子                                                       金属篮子




Metal basket                             CODE: EEB001     Metal basket




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Environmental enrichment – enclosure fixtures


               金属 A 字架，用于悬挂大型圆木




               Metal A-Frame for large hanging log                                CODE: EEM001




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Environmental enrichment – enclosure fixtures

直立树杈                                   直立树桩                                 直立树桩（有孔）




Standing tree (forked)   CODE: EES001 Standing tree                         Standing tree (with holes)



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Environmental enrichment – enclosure fixtures

            直立树桩（带趣味品）




            Standing tree (with enrichment)



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Environmental enrichment – enclosure fixtures

树排                                                   树排




Tree wall                    CODE: EES002            Tree wall




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Environmental enrichment – enclosure fixtures

人工树                                人工树




Artificial tree   CODE: EES003     Artificial tree




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Environmental enrichment – enclosure fixtures

跷跷板




See-saw structure                  CODE: EES004




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Environmental enrichment – enclosure fixtures

圆木堆（在水泥洞上）                                     圆木堆




Log pile (on concrete tunnel)   CODE: EEL001   Log pile

圆木堆




Log pile
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Environmental enrichment – enclosure fixtures
旱坑                                                        旱坑




Digging pit                              CODE: EED001     Digging pit




Digging pit
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Environmental enrichment – enclosure fixtures - Pools
游泳池




Pool                                     CODE: EEP001




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Environmental enrichment – den enrichment

消防带吊床（舍内）




Fire hose hammock      CODE: EED001




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Macaque enrichment - Balls
彩色喂食球                                          彩色喂食球




Colourful feeder ball        CODE: MEB001      Colourful feeder ball        CODE: MEB002

喂食方块                                           中号球




Feeder cube                  CODE: MEB003      Medium ball                  CODE: MEB004
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Macaque enrichment - Balls

按摩球                                                        带绳的彩色塑料球




Massage ball                       CODE: MEB005           Colourful rope ball                 CODE: MEB006




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Macaque enrichment - Kongs
黑色橡胶球（中）                                 迷你橡胶球




Black kong (M)   CODE: NNK002            Mini kong                    CODE: NNK003
橄榄球状橡胶球




Footie kong      CODE: NNK004
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Macaque enrichment - Drums
大桶                                                        大桶，猴子饲料槽




Drum                         CODE: MED001                 Large drum – monkey crib     CODE: MED002




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Macaque enrichment - Miscellaneous

镜子                                                         镜子




Mirror                             CODE: MEM001           Mirror




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Macaque enrichment - Miscellaneous

毛绒玩具




Stuffed toy                        CODE: MES001




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Macaque enrichment - Miscellaneous

竹秋千




Bamboo swing                 CODE: MEN001

竹篮                                                  绳网




Bamboo basket                CODE: MEN002            Rope net                     CODE: MEN003
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Macaque enrichment - Miscellaneous

拖把头觅食玩具                         障碍插销喂食器-大号                     障碍插销喂食器-小号




Mop head forager CODE: MEM002   Wooden peg bamboo feeder - Large (above left) and Small (above middle and right).
                                                                                               CODE: MEW001 (Large), MEW002 (Small)


旋转漏食喂食器 1




Twisting bamboo feeder 1                                           CODE: MET001
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Macaque enrichment – Miscellaneous

托盘旋转喂食器 1




Twisting wooden block feeder 1                                 CODE: MEB001


                                             旋转滑动喂食器 1




                                             Hanging sliding bamboo feeder 1                            CODE: MEH001


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Macaque enrichment – Miscellaneous

障碍插销滑动喂食器                              扫把头觅食板




Pegs & Slide bamboo feeder 1           Broom head foraging board
CODE: MEP001                           CODE: MEB002




                                                 旋转漏食喂食器 2




                                                 Twisting bamboo feeder 2                               CODE: MET002


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Macaque enrichment – Miscellaneous




Foraging box with various substates and textures inside.
装有多种填充物和材料的觅食盒子。
CODE: MEF001




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Macaque enrichment – Miscellaneous

竹筒




Bamboo pots                                                                      CODE：MEM003



纸卷




Kitchen rolls                                                                     CODE: MEM004



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Macaque enrichment – Miscellaneous

纸包裹




Paper parcel                                                                CODE: MEM005


芭蕉叶包裹




Banana leaf parcels                                                         CODE: MEM006



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Macaque enrichment – Miscellaneous

杂志卷




Rolled up magazines                                                        CODE: MEM007



报纸卷




Newspaper parcels            CODE: MEM008
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Macaque enrichment – Miscellaneous
多层盒子




Layered boxes                                                                 CODE: MEM009

塑料容器




Plastic container                                              CODE: MEM010

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Macaque enrichment – Miscellaneous
水果包




Fruit pack                                                                  CODE: MEM011



熏香（放草场外）




Incense stick (outside of enclosure)                                          CODE: MEM012



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Macaque enrichment – Miscellaneous
熊毛




Bear fur                                                                    CODE: MEM013


旋转圆木




Spinning log                                                                CODE: MEM014




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Macaque enrichment – Miscellaneous
旧布




Rags                                                                        CODE: MEM015



衣服




Clothes                                                                            CODE: MEM016



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Macaque enrichment – Miscellaneous
雨靴




Gum boots                                                                   CODE: MEM017



金属碗




Metal bowl                                                                   CODE: MEM018



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Macaque enrichment – Miscellaneous

塑料桶




Bucket                                               CODE: MEM021



悬挂勺子                          悬挂 CD




Hanging spoons CODE: MEM022   Hanging CDs                           CODE: MEM023

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Macaque enrichment – Miscellaneous
泡泡浴




Bubble bath                                                                        CODE: MEM024


冲水管喷水到盆中                                                   澡盆漂浮玩具




Hose pipe sprayed into pool           CODE: MEM025       Bath with floating toys                  CODE: MEM026


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Macaque enrichment – Miscellaneous
碎纸屑




Shredded paper                                                                 CODE: MEM027



悬挂竹梯




Hanging bamboo ladder                                                       CODE: MEM028



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Aussie dog
澳斯狗狗用品
Contact: Joe Parsons - aussiedog@aussiedog.com.au

http://www.aussiedog.com.au




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Kong
橡胶球
Contact: Gill Maltby (UK office) gmaltby@animalsasia.org

http://www.kongcompany.com/




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                                                                               ENRICHMENT



Boomer ball
光滑球
Contact: Gill Maltby (UK office) gmaltby@animalsasia.org




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Otto Environmental
欧托环保用品
http://www.ottoenvironmental.com/




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Nylabone products
洁牙骨用品
http://www.nylabone.com/




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Enrichment lists and logs
Example 1: Tiger & African Lion Approved Enrichment List from AZA Accredited facility, 2011.
Exhibit Enrichment
      Visual barriers for privacy & for stalking: logs, trees, live vegetation, termite mounds,
       mounds of dirt, large rocks - areas which are visible to the zoo visitors but allows the
       animals to feel hidden and secure
      Trees/logs/stumps: natural or artificial - rub or scratch on
      Natural substrates to provide digging opportunities or for scattering or hiding food:
       mulch, sand, soil, moss, leaves, hay
      Water features: pool, misters, sprinklers
      Plants/herbs for visual barriers
      Heat/cold/mist: heated rocks, cooler or misting systems
      Natural holes or dens
      Rotation of exhibit furniture
      Training devices such as squeeze cages, stations
Dietary Enrichment
*Food taken from Commissary (outside of normal diet) must have prior approval from Curator.
      Live prey: feeder fish, mealworms, crickets, wax worms
      Carcass foods, cut to appropriate size to avoid chocking: chicken, rabbit, rats, mice, fish,
       guinea pigs, quail, chicken necks
      Deer, elk from hunter donations (must be approved by management & frozen at least
       30 days)
      Bones: shank bones
      Hides from rabbit, deer, elk
      Varied feeding schedules and several feedings per day (regular diet)
      Brush pile feeder: food items hidden in piles of branches, leaves, mulch
      Meat & blood trails
      Blood, fish, meat frozen popsicles (ice cube or cup size)
      Melons, gourds, pumpkins to provide different textures
      Hard Boiled Eggs only (chicken)
      Browse
      Mealworm or cricket dispensers (PVC pipe dispensers)
Social Enrichment
      Training for husbandry, medical, & management behaviors
      Keeper interaction (protected contact)
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      Keeper talks for zoo patrons
      Recorded vocalizations of same species or prey species
Novel Enrichment
      Animal Scents: fur, feathers (must be frozen for 30 days) substrates from prey species
       exhibits, urine, feces (current feces test must be negative)
      ALL spices, herbs, extracts, perfumes, colognes, body sprays, hunting lures, & aromatic
       oils purchased or donated must be approved by the Veterinarian, Zoo Keeper III, &
       General Curator
      Extracts
           o Vanilla, Peppermint, Mint, Spearmint
           o Almond, Clove, Nutmeg
           o Blueberry, Cherry, Lemon, Lime, Mango, Orange, Pineapple
           o Cinnamon, Coconut, Ginger, Strawberry
           o Lavender, Rose, Violet, Wintergreen
      Spices/Herbs
           o Alfalfa, Dill Seed/Weed, Parsley, Fennel, Peppermint, Basil, Bay Leaves
           o Sage, Rosemary, Sandalwood, Green Tea, Cilantro
           o Cilantro, Lemon Grass, Mints, Tarragon, Thyme
           o Cinnamon, Pumpkin Spice, Nutmeg, Bitter/Sweet Orange
           o Curry, Cumin, Ginger, Clover, Oregano
           o Blackberry, Black Walnut, Caraway, Cayenne, Chili, Chili Flakes, Chili Powder,
               Chipotle, Cilantro Leaf, Curry Leaf, Green Pepper
           o Hibiscus, Honeysuckle, Dogwood, Turmeric
           o Catnip, Chamomile, Lavender, Allspice, Bitter Melon
      Perfumes, Colognes, & Body Sprays
      Hunting Lure Scents
           o Doe urine (estrus & non-estrus)
           o Buck urine
           o Dominant buck urine
      Aromatic oils
           o Eucalyptus, Peppermint, Sandalwood. Tarragon, Spruce
           o Lavender, Rosemary, Tea Tree, Chamomile, Rosewood
           o Geranium, Sage, Basil, Orange, Rose, Oregano, Thyme, Tuberose
           o Allspice, Bay, Bitter Orange, Cardamom, Catnip, Turmeric
           o Honeysuckle, Celery Seed, Cilantro, Fennel, Jasmine, Geranium, Ginger
           o Vanilla, Hibiscus, Dogwood
           o Grapefruit, Lemon, Lemongrass, Mandarin, Nutmeg, Sweet Orange
      Large Cat proof Boomer Balls®, Jungle Balls®, spools, weebles, sway n play, balls with
       holes drilled throughout to create food dispensers
      Manufactured zoo toys
      Barrels (white or blue) (remove when they become torn or punctured)
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      Barrel lids or piece of wood hanging from tree
      Cardboard: boxes, paper towel tubes, carpet tubes, cereal boxes with treats hidden inside
      Grain bags, paper bags
      Tires (no steel belts)
      Small blue barrels
      Attachments: chain, natural rope, bungee cord to hang objects (cover with firehose)
      Pine cones, palm fronds, bamboo tubes
      Brush piles
      Christmas trees
      Antlers
      Auditory: nature sounds, sounds from same species or prey species, radio
Safety Considerations
      Toilet paper and tissue paper is not approved for any animals.
      Animals can become entangled in ropes and hanging apparatus or extremities may be
       caught.
      Animals may fall while trying to reach enrichment placed high in the enclosure.
      Dietary enrichment can lead to tooth decay, obesity, allergic reactions, impaction,
       diarrhea, choking or aggression from cage mates.
      Items, or pieces of them, may be toxic or hazardous if ingested.
      Objects, if broken, can produce sharp edges that can cut animals.
      Social or mixed species exhibits can lead to injury or death due to aggression or
       harassment by cage mates.
      Plants or parts of plants may be toxic to animals – when in doubt consult toxic plant
       resources.
      Training sessions may put a keeper in a compromised situation if a safe and appropriate
       set up is not present.
      Dietary enrichment may result in the animal not eating important nutritional components
       of its regular diet. When offering food items as enrichment, do a weight exchange with
       the regular diet. Remove items from the diet to compensate for the extra food
       enrichment.
      Parasites may be transmitted through enrichment items if not properly cleaned and
       disinfected.
      Be aware of previous day’s enrichment, check logs daily. Some enrichment items given
       too often may cause health problems or injuries.
      Also enrichment items that are left with an animal for more than 5 days are no longer
       enrichment. Rotate items frequently.
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Example 2: Ring-tailed lemur Approved Enrichment List from AZA Accredited facility, 2016.
Sensory: Auditory, Visual, Tactile, Olfactory
Animal Hair
Antlers
Audio recordings
Bells
Bird caller (electric/manual)
Bubbles/Bubble machine
Bullroar
Calculator tape
Chalk drawings/Rock art
Crickets in escape proof container
Deer/Elk hides (see Hide Protocol)
Diluted essential oils
Diluted extracts
Disco ball (outside of exhibit)
Feathers
Feces (see approved list)
Finger paints
Game caller
Goldfish
Hand held/box fan (outside of exhibit)
Lava lamp (outside of exhibit)
Looky Lou Mirror (from Otto Environmental)
Mirror (baby, stainless or floor length)
Mirror mobile (outside of exhibit)
Mirror toys
Misters
Orange peels
Owl call
Perfume tester pages
Perfumes/Lotions/Sprays
Pinwheels (outside of exhibit)
Plexiglass shield
Rainmaker stick (outside of exhibit)
Remote control car (outside of exhibit)
Scented cardboard tube
Snake sheds
Snow
Spices/Herbs
Squirrel call
Sun catcher (outside of exhibit)
Tea rub (stimulant free)
T.P.
TV
Urine
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Videos
Wiggly Giggly Ball & Sound stick
Window treatments (on outside of glass; paper, paint, stickers, etc.)

Foods and Feeding
20 gallon blue barrel
5 gallon bucket puzzle feeder
Acrylic drain pipe puzzle feeder
Almond feeder
Anthropoidea
Apple sauce feeder
Astrotube
Aussie FUM tube (sm)
Aussie hanging food ball
Bamboo jello sticks
Banana feeder
Blue barrel feeder (Coke syrup barrel)
Boomer ball with holes
Browse Feeder
Browse hanger
Burlap bags
Cardboard boxes
Cardboard tubes
Challenger ball
Coco treat bowls
Coconut feeders
Crazy ball
Egg cartons
Feeding tree
Flintstone Feeder
Football Feeder
Foraging Board w/ Astroturf
Foraging tub
Goodie logs (wood)
Greens feeder
Havaball
Healthy edibles
Jell-O (in some type of device)
Keg (by Kracor)
Kong feeder
Kool Aid (in some type of device)
Lixit Step ‘N Dine
Lollipop Holder/Goodie log
Magazines
Mealworm barbell
Mesh feeders
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Milk crates
Milk Crate Marvel
Nasturtium seeds (planted)
Nectar feeder
OJ containers
Paper bags
Paper Wads
Peanut feeder
Phonebooks
Pillowcases
Piñatas w/ food
Pine cones
Plastic bottles
Plastic cup cage door feeder
Plastic ferret logs
Plexiglass shield
Plex-sol C container puzzle feeders
Polypropylene feeding device
PVC cap puzzle
PVC feeders
Raisin boards
Ring toy feeder
Spool metal puzzle feeder
Stuffed eggs
Sway and Play (from Otto Environmental)
Teeter Totter Feeder
Tennis ball feeders
Tires (10”)
T-Feeder
Treat logs
Tricky treat ball puzzle feeder

Manipulative Items/Toys
Aussie Swinging Bungee Ball
Beaded chime
Blankets/clothes/towels
Bobbin
Boomer balls
Boxes and other cardboard items
Burlap bags
Busy ball
Busy box
Carpet squares (outside of exhibit)
Chain
Chalk
Challenger ball
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Challenger ball on chain
Coke or bread trays
Coconut shells
Colored buckets
Colorful wooden bird toys
Crazy ball
Egg carton
Ferret ball
Fire hose
Football
Grapevine ball (watch holes- monitor closely for entanglement)
Hamster Ball
Healthy Edibles
Heavy Plexi bird toys
Hol-ee Mol-ee
Holee Roller
Hula Hoops (ball and staples removed – see originating approval
form)
Jingle ball
Jolly ball
Klinkerball
Kong toys
Laundry baskets
Lid Stacker
Metal puzzle toy
Misc. plastic containers/cups
Misc. toys
Newspaper
Paper bags
Paper towels
Phone books/Magazines
Piñatas
Pine cones without food
Pipe bells
Plexi bird toys
Polyprop. Feeder
PVC rattle with mirrors
Rope tugs
Shallow black tubs
Small boomer balls
Socks
Spools
Sticks
Teaser ball
Tennis Balls
Tires (10”)
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Traffic cone
Triangle Rattle S/S (watch holes- monitor closely for
entanglement)
T-shirts
Tug-n-Toss Jolly ball
Tupperware
Various sizes of tubs
VHS holders
Water cooler bottle
Wiffle ball
Wiggly giggly toys
Wooden chime
Zoy

Physical Environment: visual barriers, climbing structures, substrates, rest/sleep areas
20” boomer
½ barrel swing
Access to new area/enclosure
Ali’s Windmill Apparatus (sm)
Artificial vines
Aussie Swinging Bungee Ball (sm)
Auto misting
Bamboo visual barriers
Black plastic corrugated drain pipe
Box to crawl thru (LG)
Branches, stumps, etc.
Bungee (with constant supervision)
Bungee or Swing Perch
Burlap hammocks (trim strings)
Camouflage barrel
Cardboard tube swing
Coke barrel beds
Excelsior
Ferret logs
Fire hose
Firehose triangle swing
Firehose hammocks
Garbage cans
Hanging barrel tunnel
Hanging bridge
Heat Lamp
Kiddie Pool
Leaf litter
Log swing
New area/enclosure
Peat moss
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Peek a boo window covering w/ flaps
Platform log swing
Primahedron
PVC log
PVC swing
PVC to crawl thru
Rope ladder
Rotate vine arrangement
Sheets
Shredded paper
Small Cola syrup barrel
Snow
Sod
Sonotube swing
Sphagnum moss
Swings
T perch swing
Tee Pee
Toilet paper exhibit (watch ingestion)
Tub or raft to float in pond
U Bungee swing
Varied cage furniture
Varied substrate: Grass hay, straw, bark chips, wood shavings, dirt, sand, shredded paper, etc.
Visual barriers (camo, sheets, hula skirt, etc.- outside exhibit only)
Behavioral/Social
Animal masks
Animal pinwheels (outside of exhibit)
Approved Training Programs
Artificial snake
Goldfish in bowl
Plastic Dendrobatids
Predator decoy
Puppet
Remote control toys
Stuffed animal puppet (outside of exhibit)
Stuffed animals (outside of exhibit)
Tail wagger
Visual access to artificial animals (stuffed animals, flamingos, and
decoys)
Visual access to DAF animals
Weasel ball
Window walker
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Big cat ethogram example. (Stanton, L.A., et al. “A standardized ethogram for the felidae: A tool for behavioral
researchers.” Applied Animal Behavior Science. April 2015.)

Table 1:




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Table 2:




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Table 3:




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Animal Care Department Essential Training
Everything on the list below was approved by the veterinary staff. Any caveats or recommendations have
been added in blue. Please respect these guidelines, recognizing that the goal is minimizing the risk to our
animals and each other.
    Reduce training session duration and frequency to the minimum that is necessary to teach/maintain
     these behaviors; remember that the point of reducing interactions is to minimize the time that the
     animal and keeper have the potential of sharing respiratory particles within 6 feet of each other.
    Weights no more than once per week unless requested by vets.
    Sessions greater than 6’ away from an animal are fine.
    Ensure hands are thoroughly washed both before and after handling the food and the training
     session and all proper PPE is worn.
Hoofstock:

       Giraffe (Female, 0.1): Blood draw training with the yearling giraffe Zoe. She has just recently allowed us to
        “touch” and “”stick” which will be important for pre ship blood draws when she moves to Tulsa. That move
        might actually happen this fall.
       Giraffe hoof care is also considered an essential behavior by vets.
       Indian rhino (1.1 and 1.0 calf): Continue training work that supports their ability to provide all the Indian rhinos
        their West Nile and rabies vaccinations.

Elephants:
    Essential for elephants:
    Foot care
    Routine blood screening
    Rectal access
    Tethers?
    Oral meds?
    trunk wash?
   The question marks are things that the team considers necessary for EEHV monitoring and treatment and in
   progress right now. Note ‐ These are considered essential behaviors for our elephants for EEHV monitoring and
   treatment by the veterinary staff.

       We will keep a maximum distance for stationing and can limit who works with each elephant if that would be
        helpful to be able to continue shaping behaviors? >6’ distance (using targets, etc) with PPE and sessions can
        proceed.

Cats/Bears:
       Lion (0.1): Continue injection training for weekly allergy medication.
       Recommendation for periodic weights to be obtained on all animals; ensure sloth bears are weighed (no more
        than 1x/week) to assess health and welfare.

Apes:
       Sulawesi Macaque: needs daily training for insulin injection.
       Gorilla: will continue to need daily training for daily eye drop administration.
       Gorilla: we will continue work for loop recorder, though it is a mastered behavior and we only do the readings
        on a monthly basis. (Practice sessions permissible no more than 1x/week.)
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      All gorillas should have periodic training for wound examination. (Maximum 1x/day per animal.)
      Supervisor requests that Orangutan training with appropriate PPE continue (all animals). Training is deemed
       essential as keeper interaction is a primary social reinforcer and believed to be an integral part of the animals’
       daily routine. (Maximum 1x/day per animal. Please focus on only medically related behaviors during sessions.)
      Additional PM shift for a second training session for orangutan juveniles specifically; they are managed
       individually and require/thrive on daily interaction with keepers.
Adventure Trails:
      Prairie dogs (0.2): Regular weights needed while monitoring quality of life to assess welfare.
      Goats: Voluntary hooftrims on all goats reduce the time and stress involved in the regular/necessary
       procedure. Sessions are brief and occur during normal husbandry routine.
      Cheetah (2.0): Continue protected‐contact training with appropriate PPE to monitor abnormal foot pads and
       maintain injection training for voluntary immobilization. Holding building does not permit interactions greater
       than 6’ distant (outdoor space is lined with hotwire to discourage them from climbing the barrier).
           o Note: Please minimize time spent in holding building to the minimum that is necessary to complete
                daily husbandry care +/‐ training session to decrease exposure time between keepers and cats.
      Supervisor deems protected‐contact training is critical for maintaining relationships with animals; if routine
       reinforcing opportunities are removed, they may regress significantly and not be able to perform their specific
       ambassador roles in the future. (Maximum 1x/day per animal. Please focus on only medically related
       behaviors during sessions.)


WKP:
      Sugar Gliders: Wake up Cue, Station, Box – 2x Daily ‐ Medication receiving
      Chinchilla: Wake up Cue, Home Station, Crate – 1x/Week – Obtain weight and access to home during deep
       cleaning
      Chinchilla: Wake up Cue, Crate, Scale – 1x/Week – Obtain weight and access to home during deep cleaning
      Chinchilla: Wake up Cue, Home Station, Crate, Scale – 1x/Week – Obtain weight and access to home during
       deep cleaning
      North American Porcupine: Wake up Cue, Target, Scale, Crate, present body vertically on enclosure door –
       1x/Week – Obtain weight, assess body condition (currently on desired weight loss trend), access to home during
       deep cleaning
      Degu: Wake up, Tube ‐ 1x/Week ‐ Obtain weight and access to home during deep cleaning
      Degu: Crate ‐ 1x/Week ‐ Obtain weights and access to home during deep cleaning
      Spiny Mice: Wake up, Tube – 1x/week ‐ Obtain weight and access to home during deep cleaning
      Hedgehog: Picking up with gloved hand for transfer into transport/weighing container – 1x/week – Obtain
       weight and access to home during deep cleaning


Sea Lions:
      Eye care
      Ultrasound training

Madagascar:
      1.2 fossa: injection training
      Black lemur (protective contact) 19542: crate training for upcoming immobilization
      RT lemur 15557: target, touch, saline injection; depo injection every 45 days
      RR lemur 25126, 24240: target, touch, saline injection; depo injection every 45 days
      Aye aye 20263: target, touch, manipulate/disinfect chronic facial abscess
      Aye aye 25714: target, touch, ultrasound training
      Monthly weights on all lemurs ‐ target, station on scale; diagnosis illness, social dynamic changes, and/or
       potential diet alteration.
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         Mouse lemurs: monthly ivermectin dose; hand caught 1st of each month.

Jungle:
Area managers confirm that staff wear proper PPE at all times in the entire department. All of this training is critical to
their daily husbandry, welfare and health assessment and psychological enhancement. If eliminated, the staff would not
be able to properly care for them.
     ASC Otter (2.1): ultrasound, X‐ray, desensitize for injection, front paw presentation, scale, and abdominal
        palpation.
     WH Gibbon family (2.2): training squeeze crate for upcoming physical, side for injection, hand and feet
        presentation, weights and body presentations.
     WH Gibbon: daily Boost drink from syringe, temp with temp gun, body presentations and weights.
     Pot‐bellied pig: weights, desensitize for injection, scratch down for footwork, and harness.
     Indian crested porcupine: target, desensitize for injection, and weights.
     Spotted‐neck Otter (2.1): body presentations, desensitize for injection, station, target, and weights.
     De Brazza (1.0), Diana (1.0) Wolf’s (1.0) Wolf’s (0.1): body presentations, desensitize for injection, hand and
        feet presentation, target and training squeeze crate.
     Tapirs (2.2): body presentations, mouth, sit and lay down, weights, desensitize for injection, and protected
        contact scratch down sessions including foot work. (Use washed/disinfected fabric or rubber gloves
        [work/kitchen‐type, etc] when actually touching the animals. Make sure these gloves are disinfected after
        each training session.)
     Francois Langur (1.2.2): ultrasound, body presentations, hands and feet, weights, training squeeze crate, and
        desensitize for injection.
     Grey Gibbon: body presentations, hands and feet, weights, training squeeze crate, and desensitize for injection.
     Pygmy hippos (1.2): weights, mouth and desensitize for injection.
     Brown headed spider monkey (1.1): body presentations, hands and feet, weights, and training squeeze crate.
     Saki monkey (0.2): training crate and weights.
     Squirrel monkeys (1.1): training crate and weights.
     Giant elephant shrews (1.1): weights

Dome Mammals:
         Scale training to obtain weekly/monthly weights for all mammal species; these animals are generally housed in
          mixed species exhibits and groups. Regular weights are essential to assessing appropriate nutritional intake,
          health and welfare.
         0.1 ocelot, 0.1 fossa, 1.1 klipspringer, 1.1 coati, 1.0 bat‐eared fox, 1.0 bobcat, 1.0 two‐toed sloth, 1.0 black‐
          footed cat, 0.5 beavers: injection training.
         0.1 springhaas, 0.1 two‐toed sloth, 0.1 pygmy slow loris, 0.5 beavers: ultrasound training
         1.1 owl monkeys, 2.0 bushbabies, 2.1 black‐footed cats, 1.1 pottos, 1.1 pygmy slow lorises, 1.3 prehensile‐
          tailed porcupines, 1.0 brush‐tailed porcupine, 0.0.10 dwarf mongoose, 1.0 yellow‐footed rock wallaby, 3.0
          tammar wallabies, 4.3 meerkats: crate training
         4.0 collared peccaries: hooftrim training




AZA Accredited Institutions:
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Below is a list of AZA accredited institutions that, at the time this document was drafted, are still managing mammal
training programs, with appropriate PPE precautions (similar to primates; a few including eye masks). Curators and staff
are making area decisions together; some are prioritizing behavioral goals as essential, but still training mammals.

Cincinnati

Great Plains Zoo

Lincoln Zoo

Disney

Columbus

Minnesota

Atlanta

Miami

Blank Park

Oakland
